CASE 0:24-cv-01097-DTS   Doc. 83   Filed 12/26/24   Page 1 of 62




                     Exhibit T


                     Redacted
CASE
 CASE0:24-cv-01097-DTS
      0:24-cv-01097-DTS Doc.
                        Doc. 29-1
                             83 Filed
                                  Filed 12/26/24
                                        10/01/24 Page
                                                  Page22ofof62
                                                             62

       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                                  Page 1
                 UNITED STATES DISTRICT COURT
                    DISTRICT OF MINNESOTA

   - - - - - - - - - - - - - - - - - - - - - - - -
    Michelle Simha, as
    Trustee for the
    Next-of-Kin of Noah
    Leopold,
                                Civil File No.
                Plaintiff,      24-CV-01097-JRT-DTS

        vs.

    Mayo Clinic,

                   Defendant.

   - - - - - - - - - - - - - - - - - - - - - - - -

            DEPOSITION OF MAURICIO VILLAVICENCIO
                   Volume I, Pages 1 - 153
                         August 14, 2024


        (The following is the deposition of Mauricio
   Villavicencio, taken pursuant to Notice of
   Taking Deposition, via video, at Mayo Clinic,
   Legal Department, 100 Second Street SW,
   Rochester, Minnesota, commencing at
   approximately 1:15 p.m., August 14, 2024.)




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     CASE
      CASE0:24-cv-01097-DTS
           0:24-cv-01097-DTS Doc.
                             Doc. 29-1
                                  83 Filed
                                       Filed 12/26/24
                                             10/01/24 Page
                                                       Page33ofof62
                                                                  62

                   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER
                                                        Page 2                                                    Page 4
 1   APPEARANCES:                                                   1                 PROCEEDINGS
 2     On Behalf of the Plaintiff:
 3       Brandon Thompson                                           2             THE VIDEOGRAPHER: We're on the record.
         Bibeane Metsch-Garcia (via Zoom)                           3      Today is August 14th, 2024. The time is 1:15
 4       CIRESI CONLIN LLP
         225 South Sixth Street                                     4      p.m. Today's case caption is Simha versus Mayo
 5       Suite 4600                                                 5      Clinic. The witness for today's deposition is
         Minneapolis, Minnesota 55402
 6                                                                  6      Mauricio Villavicencio.
       On Behalf of the Defendant:                                  7             At this time the court reporter will
 7
         Andrew Brantingham                                         8      swear the witness.
 8       DORSEY & WHITNEY LLP                                       9             (Witness sworn.)
         50 South Sixth Street
 9       Suite 1500                                                10             MR. BRANTINGHAM: Brandon, I'm sorry,
         Minneapolis, Minnesota 55402                              11      before you proceed, can I just --
10
     ALSO PRESENT:                                                 12             I just want to put on the record that
11                                                                 13      I -- that I provided the emails to you --
       Ron Huber, Videographer
12     Anna C. Messerly, Ciresi Conlin                             14             MR. THOMPSON: Oh, sure.
       Maggie Palmisano, Ciresi Conlin (via Zoom)                  15             MR. BRANTINGHAM: -- that I believe
13     Sheri Peterson, Mayo Clinic
       Michelle Simha (via Zoom)                                   16      completes the production of responsive emails
14     Norman Leopold (via Zoom)                                   17      from Dr. Villavicencio. Obviously we'll talk
       Karen Leopold (via Zoom)
15     Jenna Shulman (via Zoom)                                    18      about anything about that further, I just wanted
16                                                                 19      to put it on the record --
17
18                                                                 20             MR. THOMPSON: Sounds good.
19                                                                 21             MR. BRANTINGHAM: -- lest I forget when
20
21                                                                 22      it happened.
22                                                                 23             MR. THOMPSON: Sounds good.
23
24                                                                 24             MR. BRANTINGHAM: Please proceed.
25                                                                 25                MAURICIO VILLAVICENCIO,


                                                        Page 3                                                    Page 5
 1                EXAMINATION INDEX                                 1            called as a witness, being first duly
 2      WITNESS            EXAMINED BY     PAGE                     2            sworn, was examined and testified as
 3      Dr. Villavicencio Mr. Thompson   5                          3            follows:
 4                   Mr. Brantingham 125
                                                                    4                   EXAMINATION
 5                   Mr. Thompson    130
 6                                                                  5      BY MR. THOMPSON:
                      EXHIBIT INDEX                                 6         Q. All right. Doctor, have you ever had
 7                                                                  7      your deposition taken before?
        EXHIBIT              DESCRIPTION                PAGE        8         A. No.
 8                                                                  9         Q. So just a couple of quick ground rules
        1      OPTN Guidance for Donor and 129
                                                                   10      to make sure that we get on the same page and we
 9             Recipient Information Sharing,
               Mayo_Leopold_0024837 to '4844                       11      get a nice, clean record.
10                                                                 12            Number one, try to keep your voice up.
11                                                                 13      You're a little bit of a soft talker so far. It
12                                                                 14      makes the court reporter's job easier if you can
13                                                                 15      speak as loudly as you can. Okay?
14
15                                                                 16         A. Sure.
16                                                                 17         Q. Let's try really hard not to talk over
17                                                                 18      one another. I'm bad about that, as we've
18                                                                 19      established over the course of the last few
19                                                                 20      days, but I'm going to try hard not to talk over
20                                                                 21      you and you try hard not to talk to over me.
21
22                                                                 22      Okay?
23                                                                 23         A. Sounds good.
24                                                                 24         Q. Verbal responses like yeses and nos are
25                                                                 25      really good; shakes of the head and nods and


                                                                                            2 (Pages 2 to 5)
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     CASE
      CASE0:24-cv-01097-DTS
           0:24-cv-01097-DTS Doc.
                             Doc. 29-1
                                  83 Filed
                                       Filed 12/26/24
                                             10/01/24 Page
                                                       Page44ofof62
                                                                  62

                                              Page 6                                                 Page 8
 1     grunts or uh-huhs and huh-uhs are not good          1          What are the most important survival
 2     because they're hard to take over on the            2   metrics to you as the director of the program
 3     transcript. So make sure you respond verbally.      3   here?
 4     Okay?                                               4      A. Ninety-day survival as in the surgical
 5        A. Okay.                                         5   side, but it matters to me most what happens in
 6        Q. If any of my questions are in any way         6   the long run. For example, in the last
 7     unclear, will you promise to let me know so I       7   scientific registry of transplant recipients we
 8     can rephrase my question and make sure you and I    8   have the highest survival three year of follow-
 9     are on the same page?                               9   up in the country.
10        A. Sure.                                        10      Q. Are you talking about for heart or
11        Q. All right. You're the director of the        11   lung?
12     heart/lung transplant program here at Mayo; is     12      A. For heart.
13     that right?                                        13      Q. Where does --
14        A. Yes, sir.                                    14          When you say "we," are you talking just
15        Q. Tell me a little bit about the               15   about Rochester, or are you talking about
16     transplant program.                                16   Jacksonville, Arizona, and Rochester together?
17        A. Well the lung transplant program has         17      A. Rochester only.
18     been very successful in the recent years since I   18      Q. All right. So where does Mayo
19     came and we have achieve great results and we      19   Rochester rank in terms of one-year survival
20     have transplanted way more people than was         20   statistics for heart transplant?
21     before maintaining excellent outcomes, so we're    21      A. Average in the nation.
22     kind of proud in terms of clinical experience      22      Q. Average.
23     per year. We count the experience per year.        23      A. Uh-huh.
24     We're around 10th in the nation for volume.        24      Q. Do you know why that is?
25        Q. For lungs or hearts?                         25      A. It's around 90 percent, 90, 92 percent

                                              Page 7                                                 Page 9
 1        A. For -- for both.                              1   at a year.
 2        Q. What year's statistic are you using           2       Q. No. Sorry.
 3     there that you're 10th in the nation in volume?     3         Do you have an idea of why Mayo is just
 4        A. 2023, 2024. So I have managed to boost        4   average when it comes to one-year survival?
 5     the program since I arrived 2021. Before we         5       A. Because we have excellent outcomes, so,
 6     were like 40 in the nation, --                      6   you know, there's half of the country that's
 7        Q. And there --                                  7   below us.
 8        A. -- something like that.                       8       Q. Sure. But there's also half of the
 9        Q. I'm sorry.                                    9   country that's above you.
10           There again you're talking about             10       A. Yeah. But you could filter your
11     volume, number of transplants.                     11   results to get them better and do low-risk
12        A. Number of transplant and outcomes.           12   patients and not transplant anybody.
13        Q. So when a transplant program is being        13       Q. So with --
14     evaluated, --                                      14       A. So it's excellent results, sir.
15        A. Uh-huh.                                      15       Q. With respect to volume, when we talk
16        Q. -- number of transplants is an               16   about volume being an important metric, we're
17     important metric and outcomes is an important      17   talking getting the volume numbers up. Right?
18     metric; right?                                     18       A. Yeah. So that people don't die from
19        A. Yes, sir.                                    19   heart failure.
20        Q. When we're talking about outcomes,           20       Q. Sure. Where does Mayo --
21     we're talking about the one-year survival          21         You said 10th in the nation in volume?
22     outcomes?                                          22       A. Yes, sir.
23        A. That's one of the metrics. There are         23       Q. Just for heart.
24     several metrics.                                   24       A. Yes.
25        Q. What is --                                   25       Q. And that's just --


                                                                               3 (Pages 6 to 9)
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                                       Thompson Decl. Ex. T
     CASE
      CASE0:24-cv-01097-DTS
           0:24-cv-01097-DTS Doc.
                             Doc. 29-1
                                  83 Filed
                                       Filed 12/26/24
                                             10/01/24 Page
                                                       Page55ofof62
                                                                  62

                                            Page 10                                                 Page 12
 1         A. Not for lung, too.                           1      Q. Was the EXPAND trial funded by
 2         Q. Let's stick just with heart. Okay?           2   TransMedics?
 3         A. Okay.                                        3      A. Yes.
 4         Q. I'm going to focus --                        4      Q. Is that the only research study you've
 5         A. I haven't say anything about lung, but       5   been involved in that was funded by TransMedics?
 6     you asked me.                                       6      A. No, I -- I --
 7         Q. I'm going to focus really specifically       7         In heart -- we're talking about heart
 8     on heart transplant --                              8   only again --
 9         A. Uh-huh.                                      9      Q. Yes.
10         Q. -- for purposes of our discussions          10      A. -- on this case, so in the -- then
11     today.                                             11   the -- the postmarket-approval registry is
12            So your testimony is that with respect      12   funded and mandated by the FDA. I'm the
13     to the heart transplant program, Mayo Rochester    13   principal investigator here at the Mayo Clinic
14     is 10th in the nation in volume.                   14   for that.
15         A. Correct.                                    15      Q. You're the principal investigator you
16         Q. Where was it when you started here when     16   said?
17     you took over the program?                         17      A. Yes.
18         A. Thirty, 40, somewhere in there.             18      Q. How much money does TransMedics provide
19         Q. I -- I assume that you're proud of the      19   to Mayo for that?
20     fact that you've increased the numbers of          20      A. I don't -- I don't know exactly. It's
21     transplants?                                       21   minimal enough to, you know, maintain the
22         A. Yeah. Proud of the fact of saving           22   record.
23     lives by heart transplantation.                    23      Q. More than a hundred thousand dollars?
24         Q. My question was: Are you proud of the       24      A. I don't know.
25     fact that Mayo's volume numbers have gone up?      25      Q. What other --


                                            Page 11                                                 Page 13
 1         A. I answered your question. I'm proud of       1         You mentioned something about lung.
 2     the fact that when we increased the volume, save    2   Have you had involvement with TransMedics for
 3     heart-failure patients from death.                  3   lung as well?
 4         Q. Tell me about your involvement with          4      A. Yeah. I participated in the EXPAND
 5     TransMedics.                                        5   trial. So in the case in the Mass General I was
 6         A. I -- I start using TransMedics during        6   the co-investigator -- co-investigator for the
 7     the clinical trials at the Massachusetts General    7   EXPAND trial, but in the -- the lung side I was
 8     Hospital in Boston when I was a -- an attending     8   the principal investigator for the EXPAND
 9     heart transplant surgeon at the Mass General        9   trial in -- for, you know, this, you know, FDA-
10     Hospital.                                          10   regulated trial.
11         Q. That was your first involvement with        11      Q. And so both of those were funded
12     TransMedics?                                       12   exclusively by TransMedics.
13         A. Yes. I'm not sure 2015, maybe the end       13      A. Yes.
14     of, because I started September 2015. For sure     14      Q. Have you ever met the CEO of
15     I would say in 2016, eight years ago.              15   TransMedics?
16         Q. And so back then your involvement with      16      A. Yes.
17     TransMedics was being involved in the PROCEED      17      Q. How many times?
18     trial?                                             18      A. Several times.
19         A. No. I was the --                            19      Q. More than ten?
20            In the EXPAND trial. The PRO -- the         20      A. Probably. I don't know. I don't count
21     PROCEED trial had already been done.               21   how many times I meet people.
22         Q. That's right. That was doctors mostly       22      Q. Okay.
23     at UCLA?                                           23      A. Maybe 30 times.
24         A. Yeah, UCLA, some people in Europe,          24      Q. Thirty times.
25     Columbia.                                          25      A. Maybe. I don't know. I don't count


                                                                            4 (Pages 10 to 13)
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     CASE
      CASE0:24-cv-01097-DTS
           0:24-cv-01097-DTS Doc.
                             Doc. 29-1
                                  83 Filed
                                       Filed 12/26/24
                                             10/01/24 Page
                                                       Page66ofof62
                                                                  62

                                           Page 14                                                 Page 16
 1     them. I'm guessing.                                 1          Because I'm -- I didn't find it
 2        Q. Have you ever traveled on a -- and had        2   interesting and I didn't have trip days.
 3     that funded in any way by TransMedics?              3       Q. Didn't have what?
 4        A. Yeah. I have traveled to the                  4       A. Trip days.
 5     investigative meetings I think twice.               5       Q. Trip days. Got it.
 6        Q. Where were those meetings?                    6       A. So like the time that I can get out
 7        A. One was in -- in Saint Thomas and one         7   of -- of the Mayo Clinic.
 8     was in Boston, not very long travel from home.      8       Q. Yep. Got it.
 9        Q. TransMedics funded a meeting in Saint         9          When TransMedics flew you to the Virgin
10     Thomas, the Virgin Islands?                        10   Islands and the Bahamas, did they fly you first
11        A. Yes, sir.                                    11   class or coach?
12        Q. And paid for you to travel there?            12       A. Coach.
13        A. Yes.                                         13       Q. You got to fix that for the next time.
14        Q. Any --                                       14          Do you have stock in TransMedics?
15        A. Oh, and there was one in the --              15       A. No.
16            So there's two, that one and there's        16       Q. Do you know -- well you --
17     one in -- I think they did one in the -- in        17          I assume you know that one of the
18     Nassau, I think in Bahamas.                        18   things that the SRTR tracks is selectivity
19        Q. In the Bahamas.                              19   statistics.
20        A. Uh-huh.                                      20       A. No.
21        Q. Got it.                                      21       Q. Are you aware of that?
22            And TransMedics paid for you to go          22       A. No.
23     there, too.                                        23       Q. Okay. So then I would assume that you
24        A. Yes, sir.                                    24   have no idea how Mayo Rochester matches up with
25        Q. Any other ways that TransMedics has          25   other institutions in terms of selectivity.

                                           Page 15                                                 Page 17
 1     provided you with any sort of financial benefit?    1      A. What do you mean by "selectivity?" I
 2        A. No, I have not receive any consulting         2   haven't heard about that term before in heart
 3     fees.                                               3   transplantation.
 4        Q. Do you have --                                4      Q. Well so, for example, one of things
 5        A. Nothing other than travel and                 5   that SRTR tracks is offer-acceptance
 6     accommodation for these two meetings and the        6   characteristics. Do you know that?
 7     Boston one.                                         7      A. Oh, yeah. Yeah.
 8        Q. Where did you stay in Saint Thomas?           8      Q. Yep.
 9        A. I -- I stayed in the Ritz-Carlton in          9      A. I wouldn't call that selectivity.
10     Saint Thomas.                                      10      Q. Well so do you know what the offer-
11        Q. How about when you went to the Bahamas       11   acceptance ratio refers to?
12     on TransMedics' dime?                              12      A. Yeah. It was --
13        A. What was it? Atlantis, I believe.            13          It's better than in the nation.
14        Q. Both very nice places.                       14      Q. My question was: Do you know what the
15        A. Yeah. Been more than five years since        15   offer-acceptance ratio is?
16     then.                                              16      A. I can't remember the number, --
17        Q. Sure.                                        17      Q. No, no.
18           Any plans for TransMedics to have            18      A. -- but I just can remember our
19     meetings with these new studies that are going     19   relationship to the nation, that it was better
20     on?                                                20   than, you know, the whole nation.
21        A. I haven't heard any. There was --            21      Q. Well "better than," you mean that Mayo
22           There were meetings of the                   22   accepts a lot more organs than other
23     investigators, I think, last year. I didn't go.    23   institutions do?
24        Q. Why not?                                     24      A. Yeah.
25        A. In Boston.                                   25      Q. One of the things that I read in some


                                                                           5 (Pages 14 to 17)
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     CASE
      CASE0:24-cv-01097-DTS
           0:24-cv-01097-DTS Doc.
                             Doc. 29-1
                                  83 Filed
                                       Filed 12/26/24
                                             10/01/24 Page
                                                       Page77ofof62
                                                                  62

                                            Page 18                                                Page 20
 1     materials that were put out by Mayo is a quote      1   hearts with an ejection fraction below 60 as the
 2     that says, "We say yes when others say no."         2   national average; right?
 3     Have you heard that little catch phrase?            3       A. I don't know. I don't remember.
 4         A. Yeah.                                        4       Q. Okay. If I told you that the latest
 5         Q. Do you believe in that catch phrase?         5   statistics for SRTR was that Mayo took more than
 6         A. We try to do everything that is              6   three times as many hearts from donors over the
 7     medically possibly to improve the patients'         7   age of 40, does that sound about right to you?
 8     lives --                                            8       A. Yes, sir.
 9         Q. Uh-huh.                                      9       Q. And almost four times as many hard-to-
10         A. -- and save them from death.                10   place hearts as the national average?
11         Q. Yeah. No, my question was just: Do          11       A. Yes.
12     you subscribe to that little catch phrase, "We     12       Q. And more than double the number of
13     say yes" --                                        13   donors from more than 500 miles away?
14         A. Well it -- it --                            14       A. Yes.
15         Q. You got to --                               15       Q. Now in order to do that, --
16            Hold on. Hold on. Doctor, you got to        16       A. Uh-huh.
17     let me finish.                                     17       Q. -- you got to use the OCS; right?
18            MR. BRANTINGHAM: Yeah. Let him finish       18       A. Yeah. In part.
19     the question after and then -- then you go.        19       Q. Well you can't go get a donor heart
20         Q. Do you subscribe to that catch phrase,      20   from more than 500 miles away using just
21     "When other" -- I guess it's "When others say      21   standard cold cardioplegia; can you?
22     no, we say yes?"                                   22       A. Well it depends because, you know,
23         A. It's a slogan. I am not in the              23   other centers might choose to use another
24     Marketing Department.                              24   preservation method, SherpaPak, for example, and
25         Q. Do you know where Mayo Rochester ranks      25   they -- I've heard about a report that the Mass


                                            Page 19                                                Page 21
 1     in terms of the ratio of taking high-risk           1   General went to Alaska and got a heart from
 2     hearts?                                             2   Alaska with cold storage --
 3         A. You mean high-risk of -- in terms of         3       Q. Huh.
 4     the Public Health Service?                          4       A. -- with SherpaPak.
 5         Q. Yes.                                         5       Q. Does Mayo use the SherpaPak?
 6         A. So in terms of risk of viral infection?      6       A. No. It was on the shelf, but I haven't
 7         Q. Yes.                                         7   used it. I used it when I was in the Mass
 8         A. I -- I think it's -- I --                    8   General. I wasn't the director of the program
 9           I'm not sure. You know, I don't have          9   at that time.
10     the report on my side here, but I think it was     10       Q. Is there a different director of the
11     probably twice as in the country, something like   11   transplant program at Mayo Jacksonville?
12     that. I can't remember. Maybe you have it          12       A. Yes.
13     there.                                             13       Q. And a different one at Mayo Arizona?
14         Q. Yeah. Two and a half times --               14       A. Yes.
15         A. Yeah.                                       15       Q. Do you know why the offer-acceptance
16         Q. -- the national average in terms of --      16   ratios at the other two Mayo institutions are so
17         A. Yeah.                                       17   much lower than Rochester's?
18         Q. -- taking hearts that are considered        18       A. I don't --
19     high risk.                                         19          In general terms, they -- you know,
20         A. No. You are -- you are saying it            20   it's just -- I'll put it on the general word --
21     wrong. It's increased risk of viral                21   probably they are more conservative.
22     infections --                                      22       Q. Do you remember the Noah Leopold case?
23         Q. Increased risk. Got it.                     23       A. Yes, sir.
24         A. -- by the Public Health Service.            24       Q. Do you have like a lot of memories of
25         Q. Mayo takes more than twice as many          25   it or just a few?


                                                                           6 (Pages 18 to 21)
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                                       Thompson Decl. Ex. T
     CASE
      CASE0:24-cv-01097-DTS
           0:24-cv-01097-DTS Doc.
                             Doc. 29-1
                                  83 Filed
                                       Filed 12/26/24
                                             10/01/24 Page
                                                       Page88ofof62
                                                                  62

                                           Page 22                                                Page 24
 1         A. I have a lot of memories.                   1       A. Yeah, I -- I think the -- this
 2         Q. Do you consider the Noah Leopold case       2   gentleman here next to me, Mr. --
 3     to have been a failure?                            3          MR. BRANTINGHAM: Brantingham.
 4         A. It's unfortunate that a patient would       4       A. -- Brantingham, I don't know how to
 5     die.                                               5   pronounce it, --
 6         Q. That wasn't my question though.             6          MR. BRANTINGHAM: Andrew's fine.
 7           Do you consider the Noah Leopold case        7       A. -- you know, show me some.
 8     to have been a failure?                            8       Q. Okay. Did you --
 9         A. I -- I think it's unfortunate a patient     9          Have you seen the text messages that
10     would have die.                                   10   refer to either Dr. Altarabsheh or Dr. Knop
11         Q. Is --                                      11   telling you that the lactates for the donor
12         A. If you want to quote it as failure,        12   heart for Noah Leopold were bad or terrible?
13     that's you -- what you say, not what I say.       13       A. No. I -- I -- I -- I don't recall
14         Q. No. I'm asking if you agree with it        14   that. And if they say that, it's completely
15     though.                                           15   wrong because the lactates were excellent.
16         A. Then I don't agree with it.                16       Q. No. I understand that. That wasn't my
17         Q. Okay. You don't agree that it was a        17   question.
18     failure.                                          18          You know that there are a number of
19         A. No.                                        19   text messages that suggest that you asked Dr.
20         Q. Do you agree that what happened to Noah    20   Altarabsheh and/or Dr. Knop about the lactates
21     Leopold was a catastrophe?                        21   and they gave you the impression that the
22         A. I don't think so.                          22   lactates were not good; right?
23         Q. No?                                        23       A. No.
24           You just think it was unfortunate.          24          MR. BRANTINGHAM: Object to the form
25         A. It was a tragedy and unfortunate.          25   and foundation. I'm frankly not sure he is. I

                                           Page 23                                                Page 25
 1         Q. Okay. Do you remember talking with          1   mean if you want to show him --
 2     either Dr. Altarabsheh or Dr. Knop from the        2          MR. THOMPSON: Yeah, he might not be.
 3     operating room?                                    3   That's fine.
 4         A. Do you mean when they were in the           4       A. I --
 5     operating room with the donor?                     5       Q. Do you remember --
 6         Q. Yeah. So let me ask it a little             6       A. I mean if somebody says that, it's
 7     tighter way. There's some text messages sent in    7   wrong. I don't care.
 8     this case that --                                  8       Q. Do you remember asking Michael Pick to
 9         A. Uh-huh.                                     9   go get the lactate values?
10         Q. -- suggest that one --                     10       A. I always ask the perfusionist the
11            You're aware of those text messages.       11   lactate values.
12         A. What?                                      12       Q. Okay. Do you remember anyone
13         Q. You're nod --                              13   suggesting to you, before you saw the lactate
14            I started saying "text messages" and       14   values, that there was an issue with them?
15     you nodded your head and said "uh-huh" like       15       A. There was no one.
16     you're aware of what I'm talking about.           16       Q. No one made such a suggestion to you.
17         A. No, I'm -- no, I'm --                      17       A. No. There was no bad lactic acid --
18            People might have sent text messages.      18       Q. That wasn't my question.
19     I normally do not communicate like that.          19       A. -- volume.
20         Q. Yeah.                                      20       Q. We'll talk about -- we'll talk about
21         A. I'm Chilean, you know, I use very          21   the lactates. I'm not asking whether there were
22     little text messaging.                            22   bad lactates.
23         Q. Are you aware of the fact that there       23          I'm going to show you Mayo 25074, first
24     are a number of text messages that have been      24   of all. Do you see that top text message?
25     produced that are relevant to this case?          25          Doctor, I'm asking you if you see the


                                                                          7 (Pages 22 to 25)
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                                      Thompson Decl. Ex. T
CASE 0:24-cv-01097-DTS   Doc. 83   Filed 12/26/24   Page 9 of 62
     CASE
      CASE0:24-cv-01097-DTS
           0:24-cv-01097-DTS Doc.
                             Doc. 29-1
                                  83 Filed
                                       Filed 12/26/24
                                             10/01/24 Page
                                                       Page10
                                                            10ofof62
                                                                   62

                                            Page 30                                                  Page 32
 1         Q. My question was: Could you have waited       1   written by your colleagues at Mayo Jacksonville,
 2     if you wanted to?                                   2   they describe the process for transplanting an
 3         A. Yeah. But that will be a bad clinical        3   OCS heart. And they say, "Once the heart
 4     decision because you have to shorten up the time    4   reaches the recipient OR on the OCS machine, its
 5     on the OCS.                                         5   contractility is reassessed. Based on heart
 6         Q. Do you remember doing a presentation         6   function, other hemodynamic parameters, and
 7     with Dr. Paul Friedman from Mayo in July of         7   lactate levels, if it is decided to proceed with
 8     2023?                                               8   the transplant, the first step is closure of the
 9         A. Yes.                                         9   aortic vent," and yadda yadda yadda. Do you
10         Q. Do you remember that presentation?          10   know whether your colleagues at Mayo
11         A. Yes.                                        11   Jacksonville wait until the heart arrives and
12         Q. What was it about?                          12   can be reassessed in the operating room before
13         A. About the techniques for heart              13   they irreversibly remove the patient's native
14     transplantation, one, you know, the ex vivo        14   heart?
15     heart perfusion.                                   15          MR. BRANTINGHAM: Foundation.
16         Q. Yeah. Do you remember during that           16      A. I --
17     presentation saying to Dr. Friedman, "So what      17          MR. BRANTINGHAM: You can answer.
18     happens is, for a reason that we completely do     18      A. I don't know if they wait.
19     not understand, the heart gets edematous, so you   19      Q. But you told -- but you told me before
20     have to examine the heart before implanted to      20   that it would be bad clinical practice to do
21     make sure you know that it hasn't gotten that      21   that. Do you think your colleagues at Mayo
22     edematous." Does that sound like something you     22   Jacksonville are committing malpractice?
23     would have said?                                   23      A. No. I don't -- -
24         A. I don't remember exactly, but that          24          MR. BRANTINGHAM: Foundation.
25     doesn't mean to be by me, it means to be done by   25      A. -- I don't think it's --

                                            Page 31                                                  Page 33
 1     the surgical team. You know, it's impossible to     1         MR. BRANTINGHAM: Hang on just one sec,
 2     work on -- on your own. You need to rely on         2   doctor. Let me -- I have to get an objection
 3     your surgical team, and that was done.              3   out. Foundation. You can go ahead and answer.
 4        Q. Who is Dr. Mohammad Alomari?                  4      A. Well I -- I think, as I said, that the
 5        A. Mohammad? Who's that one?                     5   longer the time on the OCS, you know, the worse
 6        Q. Do you recognize that name?                   6   the results. Whether how many minutes matter or
 7        A. Mohammad?                                     7   not, you know, might be a matter of debate, it
 8        Q. Yeah. One of your colleagues in               8   has not been determined, so I would not accuse
 9     Jacksonville, at Mayo Jacksonville?                 9   them of malpractice. It is -- is they might
10        A. I -- I don't think I know him.               10   have a different approach, but it's not proven
11        Q. Dr. Pankaj Garg, does that name ring a       11   that it's better or worse.
12     bell?                                              12      Q. Well didn't you tell me, when I asked
13        A. No.                                          13   you if you could have waited that 15 minutes,
14        Q. Okay. John Yazji?                            14   "Yes, I could have, but it would be bad clinical
15        A. No.                                          15   practice?"
16        Q. Dr. Wadiwala?                                16      A. Yeah, yeah. From my standpoint, I
17        A. No.                                          17   said, you know -- again, I'm going to repeat to
18        Q. Well I'll tell you that all of those         18   you, maybe you're not listening -- the longer --
19     guys were involved in writing an article           19   that the longer that you are on the OCS, the
20     entitled "Is the Organ Care System Still the       20   more edema you get. So it is, for me,
21     First Choice With Emerging New Strategies for      21   preferable to, you know, be ready to sew the
22     DCD in Heart Transplant." Does that article        22   heart in once it arrives. And provided that you
23     ring any bells for you?                            23   have trust on your surgical team, which I do.
24        A. I -- I haven't heard about that study.       24      Q. Let's go back to my question, though,
25        Q. I will tell you that in this article,        25   because that wasn't my question.


                                                                            9 (Pages 30 to 33)
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                                       Thompson Decl. Ex. T
     CASE
      CASE0:24-cv-01097-DTS
           0:24-cv-01097-DTS Doc.
                             Doc. 29-1
                                  83 Filed
                                       Filed 12/26/24
                                             10/01/24 Page
                                                       Page11
                                                            11ofof62
                                                                   62

                                            Page 34                                                 Page 36
 1           My question was: Didn't you tell me           1   colleague of anything.
 2     under oath a few minutes ago, when I asked          2       A. Well that's what you're implying, so I
 3     you --                                              3   am answering your question.
 4        A. Uh-huh.                                       4       Q. Don't try to read into my implication.
 5        Q. -- if you could have waited, you said,        5   Just answer the question I'm asking.
 6     "Yes, I could, but that would be bad clinical       6       A. I -- I answer it.
 7     practice?"                                          7       Q. No, you didn't.
 8           MR. BRANTINGHAM: Let me just object --        8           MR. BRANTINGHAM: Hold on one sec,
 9     object that I think that is quite explicitly        9   doctor. Should we read back the original answer
10     reasking the exact same question you think you     10   so that we have clarity on --
11     already asked, so asked and answered.              11           MR. THOMPSON: No, because now he's
12           MR. THOMPSON: He didn't answer it.           12   going to --
13        Q. But go ahead.                                13           MR. BRANTINGHAM: -- what was said?
14           MR. BRANTINGHAM: Go ahead.                   14           MR. THOMPSON: -- because now he put --
15        A. Well I -- I think I would -- I would         15           I'm good. Do you have an objection?
16     not do that because that would result in -- in a   16           MR. BRANTINGHAM: My objection I think
17     worse clinical result.                             17   is asked and answered.
18        Q. Okay. Did you tell me that waiting           18           MR. THOMPSON: Great. Thank you.
19     would be bad clinical practice?                    19           MR. BRANTINGHAM: Okay.
20           MR. BRANTINGHAM: I mean we can read          20       Q. Is it bad clinical practice to wait or
21     back the transcript, but it's -- it's been asked   21   isn't it?
22     and answered. Maybe one more time, go ahead and    22           MR. BRANTINGHAM: You can answer that
23     answer.                                            23   question.
24        A. I would prefer not to wait to decrease       24       A. I -- I think it would produce more
25     the -- the edema on the heart.                     25   edema on the heart, so I would not do that.


                                            Page 35                                                 Page 37
 1         Q. Wasn't my question. I didn't ask you         1       Q. That wasn't my question.
 2     if you preferred to wait. I asked you if you        2       A. I answer your question.
 3     remember telling me under oath that waiting         3       Q. No, you didn't. You answered a
 4     would be bad clinical practice.                     4   different question that I didn't ask, and we're
 5         A. Well you are -- you are trying to bring      5   going to keep asking this question until you
 6     up a controversy with my colleagues in Mayo         6   actually answer it.
 7     Florida. I don't think that's appropriate.          7       A. Then I think it's not a --
 8     Maybe my words were not exactly right, but I        8         Then I don't think so.
 9     think it's preferable to not let the heart get      9       Q. You don't think it's bad clinical
10     more edematous and to decrease the time on the     10   practice.
11     OCS.                                               11       A. In legal terms, no.
12         Q. Okay. So now you'd like to retract          12       Q. Okay. You just think it's not
13     what you said earlier that it was bad clinical     13   something you would do.
14     practice?                                          14       A. Yeah. I would not do clinically
15         A. Well in -- in the terms that -- your        15   because I want the best result for my patient.
16     legal terms maybe; in my -- in my clinical         16       Q. And you think that doing that, waiting,
17     positive way probably is appropriate. But you      17   can lead to worse clinical outcomes.
18     understand one thing, I understand a different     18       A. Yes.
19     one because we have different backgrounds.         19       Q. Are you going to call up your
20         Q. I'm asking you for your own words,          20   colleagues in Jacksonville and tell them, "Hey
21     doctor. Do you think it would be bad clinical      21   guys, what you're doing may lead to bad clinical
22     practice to wait or don't you?                     22   outcomes, and since we care about saving
23         A. I would not accuse a colleague of bad       23   patients' lives here at the Mayo Clinic, maybe
24     clinical practice.                                 24   you should think about doing it differently?"
25         Q. I wasn't asking you if you accused a        25         MR. BRANTINGHAM: Object to the form of


                                                                         10 (Pages 34 to 37)
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                                      Thompson Decl. Ex. T
     CASE
      CASE0:24-cv-01097-DTS
           0:24-cv-01097-DTS Doc.
                             Doc. 29-1
                                  83 Filed
                                       Filed 12/26/24
                                             10/01/24 Page
                                                       Page12
                                                            12ofof62
                                                                   62

                                           Page 38                                                  Page 40
 1     the question and the foundation. You can            1   fine.
 2     answer.                                             2       Q. How big of a size mismatch was there?
 3         A. This --                                      3       A. Thirty-percent different.
 4            To say that, you know, I will have           4       Q. And in your clinical view that is
 5     to -- I need to have a -- a study about the         5   significant; right?
 6     times on the OCS, and we don't have that so far     6       A. Well it's --
 7     in the literature.                                  7         I have transplanted many hearts that
 8         Q. None of that was my question.                8   have been larger than 30 percent successfully.
 9            You told me that in your opinion, as         9       Q. My question was: Is a 30-percent size
10     the director of the heart/lung transplant          10   mismatch, in your clinical view, significant?
11     program at Mayo Clinic Rochester, waiting until    11       A. Yeah, it's significant.
12     the heart arrives in the operating room before     12       Q. Did you think going into this surgery
13     you explant the native heart leads to worse        13   there was going to be a 30-percent size
14     clinical outcomes. My question is: Are you         14   mismatch?
15     going to contact your colleagues at Mayo           15       A. Yeah, because the -- the donor was
16     Jacksonville and tell them, "Hey guys, what        16   larger, and that's good for the hemodynamics of
17     you're doing may lead to worse clinical            17   the recipients. So the larger the size is, the
18     outcomes?"                                         18   hemodynamics are better after a heart
19            MR. BRANTINGHAM: Object to the form.        19   transplantation.
20     You can answer.                                    20       Q. Do you remember talking with members of
21         A. I will not do that until there is a         21   the Leopold family after this catastrophic
22     study that would, you know, resolve that           22   failed transplant?
23     question.                                          23       A. I -- I remember --
24         Q. Do you remember what this heart looked      24         MR. BRANTINGHAM: Object to the form of
25     like when it came out of the box?                  25   the question. Go ahead, you can answer, doctor.


                                           Page 39                                                  Page 41
 1         A. Yes.                                         1       A. I -- I remember talking to them.
 2         Q. What did it look like?                       2       Q. Do you remember telling them that you
 3         A. Excellent function.                          3   knew right away that the heart was bruised and
 4         Q. What color was it?                           4   didn't look great, but by then it was too late?
 5         A. Like the color of a heart, like yellow       5       A. Well it was -- was -- you know, had
 6     and red.                                            6   bleeding several hours after it was implanted.
 7         Q. Any oth --                                   7   It was bruised at the beginning, but just as
 8           Anything else you can describe for me?        8   described in the operative note, it is mildly
 9         A. There was some ecchymosis, you know, on      9   bruised as is in the usual OCS cases.
10     the heart, that's meaning a little bit of          10       Q. Mr. Leopold's family is going to
11     bruising.                                          11   testify that you told them that you knew right
12         Q. Anything else you can describe for me?      12   away when that heart came out of the box that it
13         A. The squeezing function was excellent.       13   was bruised and it didn't look great, but by
14         Q. Did you notice, when the heart came out     14   then it was too late because Noah's native heart
15     of the box, that it was larger than expected?      15   had already been explanted. If -- you got to
16         A. No, it was not larger than expected.        16   let me ask my question -- if they testify that
17         Q. When you tried to transplant it into        17   you told them that, are you going to deny it?
18     Noah there was a significant size mismatch; was    18       A. I -- I --
19     there not?                                         19          In terms of the timing, I'm going to
20         A. Yeah, that's -- there was a size            20   deny it. Because what had happened is it was,
21     mismatch. That doesn't -- it's not the same        21   you know, severely bruised. If you -- you know,
22     that -- larger than expected. It was a size        22   this is a qual -- qualitative description, you
23     mismatch, so because I'm a transplant surgeon, I   23   know, more like a hematoma, so big-time
24     made the surgical maneuvers to fix that, and       24   bruising. That -- that's what I told them that,
25     those maneuvers were successful, and so it was     25   you know, happened several hours later as, you


                                                                         11 (Pages 38 to 41)
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                                      Thompson Decl. Ex. T
     CASE
      CASE0:24-cv-01097-DTS
           0:24-cv-01097-DTS Doc.
                             Doc. 29-1
                                  83 Filed
                                       Filed 12/26/24
                                             10/01/24 Page
                                                       Page13
                                                            13ofof62
                                                                   62

                                           Page 42                                                  Page 44
 1     know, the transplant went through. But -- but       1   matched in risk factors, so the difference could
 2     the bruising was mild.                              2   have been different risk factors. For example,
 3          Q. And you're sticking right now with you      3   the group with intracranial hemorrhage were
 4     thought the heart itself looked excellent when      4   older, so that could have been the reason of the
 5     it first came out of the box.                       5   one-percent difference.
 6          A. Yes.                                        6        Q. None of that was my question.
 7          Q. When you accepted this heart for            7          When you published that abstract with
 8     transplant, did you know about the donor's          8   the title "Heart Transplant Recipients of Donors
 9     social and health history?                          9   with Intracranial Hemorrhage Have Worse
10          A. Yes.                                       10   Survival," did you intend to say "Heart
11          Q. Did you know that the donor was a meth     11   Transplant Recipients of Donors with
12     addict?                                            12   Intracranial Hemorrhage Have Worse Survival, But
13          A. Yes, sir.                                  13   It's Not Clinically Significant?"
14          Q. Did you know that the donor had died of    14          MR. BRANTINGHAM: I just object to the
15     a meth overdose?                                   15   form of the question. Go ahead.
16          A. Yes.                                       16        A. The --
17          Q. Did you know that the donor had died of    17          I was not the first nor the last
18     an intracranial hemorrhage that was brought on     18   author. So I -- I --
19     by that meth overdose?                             19          In terms that this was submitted to a
20          A. Yes.                                       20   meeting, I thought it was reasonable, but it's
21          Q. You know that heart transplant             21   not something that could be accepted in regular
22     recipients of donors with intracranial             22   clinical practice because that will leave many,
23     hemorrhage have worse survival; right?             23   many patients with no life-saving heart
24          A. That has not been established clearly      24   transplant.
25     in the literature.                                 25        Q. None of that was my question either.

                                           Page 43                                                  Page 45
 1        Q. You wrote an article that literally has       1   Let me try again. I'll try a different
 2     that as the title; right?                           2   question.
 3        A. Yeah. But the title is one thing, and         3         With respect to the clinical
 4     the other thing is how it -- how it looks like.     4   significance of these findings, do you remember
 5        Q. How what looks like?                          5   what the conclusion is in this abstract?
 6        A. Because if you read --                        6      A. That -- that you need to be cautious
 7           I'm going to explain the -- the               7   with intracranial-hemorrhage donors.
 8     abstract. The abstract shows that in the United     8      Q. And matched carefully with the
 9     States over 6,000 patients have been                9   appropriate recipient; right?
10     transplanted with intracranial hemorrhage, so      10      A. And --
11     kind of two years' worth of heart transplant       11         Yeah.
12     practice in the whole United States. So that       12      Q. Got it.
13     obviously -- it should tell you that taking        13         Were you involved in any
14     donors with intracranial hemorrhage is a           14   informed-consent discussions with Mr. Leopold
15     standard practice. And if you -- 6,000 heart       15   before this surgery?
16     transplants. And then if you see the abstract      16      A. Yes.
17     with an academic eye, you will see the             17      Q. When did you meet with him?
18     difference that was encountered was a              18      A. The day before the transplant.
19     one-percent difference, between, you know,         19      Q. The day before the transplant?
20     11.9 -- so 12 percent and 13-point-something       20      A. Well I mean during the day. You know,
21     percent, one percent difference. Not clinically    21   the transplant was during the night, so that's
22     significant, just the study signify significant.   22   what I mean, the day.
23     And one more issue with that is that when          23      Q. Got it.
24     there's a comparison of intracranial hemorrhage    24      A. Actually I think it was -- you know,
25     versus other type of strokes, the groups are not   25   the transplant was in the night, so in -- in


                                                                         12 (Pages 42 to 45)
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                                      Thompson Decl. Ex. T
     CASE
      CASE0:24-cv-01097-DTS
           0:24-cv-01097-DTS Doc.
                             Doc. 29-1
                                  83 Filed
                                       Filed 12/26/24
                                             10/01/24 Page
                                                       Page14
                                                            14ofof62
                                                                   62

                                            Page 46                                                 Page 48
 1     that. There's two days in "during the night,"       1   the benefits and the risks of the organ that
 2     so in the -- that day of that night, the            2   you're planning on implanting in his body?
 3     previous day of that night I talked to him and      3      A. We talked before the patient is listed,
 4     the family.                                         4   so we got a -- a surgical consult either by me
 5         Q. Do you remember about what time that         5   or one of my heart transplant colleagues. And
 6     was?                                                6   as -- and as I said, you know, I talked to the
 7         A. Maybe 3:00 p.m. Maybe. I can't               7   recipient, you know, before the transplant, as I
 8     remember.                                           8   said I did.
 9         Q. Do you remember -- do you remember           9      Q. Okay. None of that's my question.
10     anything about the conversation?                   10         My question is: When you had the
11         A. I remember there was a kind of half-an-     11   conversation with Noah, did you talk with him
12     hour conversation and that they -- all their       12   about the benefits and risks, not of the overall
13     questions were answered.                           13   procedure, but of the specific organ you were
14         Q. Did Noah have lots of questions?            14   planning on implanting in his body?
15         A. Yes.                                        15      A. Well they have already been consulted
16         Q. Like what?                                  16   by the whole team about that for extensive and
17         A. I don't remember.                           17   overwhelming period of time. So we normally
18         Q. You don't remember a single one?            18   would tell -- you know, ask if there are any
19         A. Like "How is the donor?" "It's a good       19   further questions of what has been already
20     donor."                                            20   discussed, because the patient had had many
21         Q. He asked "How's the donor?" and you         21   discussions with the cardiologist, with another
22     said "It's a good donor?"                          22   heart surgeon and so on and so forth, so we, you
23         A. "It's a good donor."                        23   know, don't want to be redundant, and then, you
24         Q. When he asked "How's the donor?" and        24   know, ask if there's anything new.
25     you said, "Oh, it's a good donor," --              25      Q. Okay.


                                            Page 47                                                 Page 49
 1        A. Yeah.                                         1       A. In general terms. You know, I can't
 2        Q. -- did he ask you any follow-up               2   remember what I talked to him and the family, I
 3     questions on that?                                  3   just remember that it was a half an hour.
 4        A. I don't remember.                             4       Q. This --
 5        Q. When he asked you "How is the donor?"         5          Discussions that he had had in the days
 6     and you said "Good donor," did you tell him "But    6   and weeks prior to the discussion you had with
 7     we've got to consider this donor with caution       7   him, nobody knew anything about the donor heart
 8     because he had an intracranial hemorrhage?"         8   that was going to be implanted in him then;
 9        A. It is -- it is forbidden by UNOS              9   right?
10     policies to give healthcare information or         10       A. Do you think we have a crystal ball or
11     mechanism of death --                              11   something about how the donor's going to be?
12        Q. Right.                                       12       Q. Well that's exactly my point. You
13        A. -- to the donor, so we would not             13   don't have a crystal ball, so you --
14     discuss that.                                      14       A. Yeah.
15        Q. Okay. So what is your understanding of       15       Q. -- nobody at Mayo would have been able
16     what your obligation is when you're providing      16   to tell Noah anything about the risks and
17     informed consent?                                  17   benefits of that specific organ until the
18        A. It is to tell the patient about the          18   morning of August 29th; right?
19     procedure they are going to have.                  19       A. No. We could not tell the specific, as
20        Q. Is that it?                                  20   I -- as we said, because, you know, UNOS forbids
21        A. Yeah. The benefits and the risks.            21   that.
22        Q. Benefits and the risks of what?              22       Q. UNOS doesn't forbid that and neither
23        A. Of the procedure, meaning heart              23   does the OPTN.
24     transplantation.                                   24       A. It's the same thing.
25        Q. Do you talk with them in the -- about        25       Q. Yeah.


                                                                          13 (Pages 46 to 49)
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                                       Thompson Decl. Ex. T
     CASE
      CASE0:24-cv-01097-DTS
           0:24-cv-01097-DTS Doc.
                             Doc. 29-1
                                  83 Filed
                                       Filed 12/26/24
                                             10/01/24 Page
                                                       Page15
                                                            15ofof62
                                                                   62

                                            Page 50                                                 Page 52
 1           MR. BRANTINGHAM: Just hold on --              1   overlap.
 2     wait --                                             2       Q. Have you ever seen OPTN's Guidance for
 3        A. No, no. It does. It does.                     3   Donor and Recipient Information Sharing?
 4        Q. Is it --                                      4       A. Yeah, I think I saw that.
 5        A. It does forbid that.                          5       Q. The guidance that --
 6           MR. BRANTINGHAM: Hold on. Hold on.            6         Do you know what OPTN is?
 7     Hold on. Wait for a question.                       7       A. Organ Procurement Transplantation
 8        Q. I'm going to ask a question.                  8   Network.
 9           MR. BRANTINGHAM: Wait for a question.         9       Q. How do they relate to your practice?
10        Q. The question --                              10       A. So they establish kind of the framework
11           So what is your basis for saying that        11   of the practice, transplant practice.
12     you are forbidden from telling somebody that the   12       Q. What OPTN says is that "Deceased donor
13     donor died of an intracranial hemorrhage?          13   information routinely shared with the
14        A. Because there's UNOS, you know, bylaws       14   recipients/recipient families should be limited
15     and then you cannot do that.                       15   to information required as part of the recipient
16        Q. Are you talking about the OPTN Guidance      16   informed consent process for transplantation."
17     on --                                              17   What part of that says you can't tell them that
18        A. On UNOS.                                     18   they died of an intracranial hemorrhage?
19        Q. Huh?                                         19         MR. BRANTINGHAM: I just object to form
20        A. On UNOS.                                     20   and note for the record the pat -- the witness
21        Q. UNOS or OPTN?                                21   is not being shown the document that is being
22        A. Well it's the same thing.                    22   read to him.
23        Q. They're two different organizations;         23       Q. I just read you the statement. What
24     aren't they?                                       24   part of that --
25        A. Well they overlap.                           25       A. No -- no --

                                            Page 51                                                 Page 53
 1        Q. How so?                                       1       Q. -- says you can't tell them there's an
 2        A. Because they take care of a heart             2   intracranial hemorrhage?
 3     tran -- I mean transplantation in the U.S.          3       A. I don't know the exact document that
 4        Q. Well sure, so does LifeSource. Is             4   you have, but I've read that they can't be
 5     LifeSource and the OPTN the same thing?             5   informed about the cause of death.
 6        A. Yeah. So, no, they overlap.                   6       Q. You read that somewhere.
 7        Q. Wasn't my question. You keep telling          7       A. Yes.
 8     me that UNOS and OPTN are the same thing.           8       Q. That you're prohibited from doing that.
 9        A. Well --                                       9       A. Yes, sir.
10           MR. BRANTINGHAM: Hold -- just wait --        10       Q. Do you have an understanding that what
11     wait -- wait for him to get to an actual --        11   Minnesota law requires, when you're providing
12        Q. You got to wait for the question.            12   informed consent to a patient, is you have to
13           MR. BRANTINGHAM: There's a lot of            13   give the patient all of the information that a
14     words before an actual question. Let all the       14   reasonable patient in that person's position
15     words come, --                                     15   would find significant in making a decision
16           THE WITNESS: Okay.                           16   about their own healthcare?
17           MR. BRANTINGHAM: -- and then when            17       A. I don't know about that. I'm not a
18     there's a real question, answer that question.     18   lawyer.
19           THE WITNESS: Okay.                           19       Q. Do you strive, when you are providing
20     BY MR. THOMPSON:                                   20   informed consent to patients, to give a patient
21        Q. Is it really your testimony that OPTN        21   all the information they would find significant?
22     and UNOS are the same thing?                       22       A. Yes, we do that in the -- in the
23           MR. BRANTINGHAM: Object to form. Go          23   consult, official consult, surgical now before
24     ahead, doctor, you can answer.                     24   the patient is listed, --
25        A. Honestly, I'm not sure. They usually         25       Q. I'm --


                                                                         14 (Pages 50 to 53)
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                                       Thompson Decl. Ex. T
     CASE
      CASE0:24-cv-01097-DTS
           0:24-cv-01097-DTS Doc.
                             Doc. 29-1
                                  83 Filed
                                       Filed 12/26/24
                                             10/01/24 Page
                                                       Page16
                                                            16ofof62
                                                                   62

                                            Page 54                                                Page 56
 1         A. -- as Dr. Daly did.                          1         MR. BRANTINGHAM: Let him -- wait for
 2         Q. Yep. I'm sticking with your                  2   the next question.
 3     conversation. When you provided informed            3       Q. Hang on. I know that you're a busy
 4     consent to Noah --                                  4   man. I know that you don't want to be here. I
 5           When Dr. Daly talked to Noah, Dr. Daly        5   get that. I would like to go home to
 6     didn't know that this donor organ was going to      6   Minneapolis as well. This will go a lot more
 7     be coming from a meth addict who died of an         7   smoothly if you answer the questions that I'm
 8     intracranial hemorrhage; right?                     8   asking. Just answer that question, then stop,
 9         A. Yep. We -- we should not tell the            9   let me ask another question rather than
10     patient that.                                      10   answering my question and then trying to read
11         Q. Wasn't my question.                         11   into where I'm trying to go with it and give me
12           My question was: When Dr. Daly talked        12   a bunch of other information that has nothing to
13     to Mr. Leopold, Dr. Daly didn't know that the      13   do with the question that I asked. So --
14     heart was coming from a meth addict who died of    14       A. I think the situation is different. I
15     an intracranial hemorrhage; did he?                15   think the situation is that you don't like my
16         A. Well he didn't know, --                     16   answers, and I -- you have to accept my answers.
17         Q. Did he --                                   17   You know, I'm a medical professional.
18         A. -- but he knew that 20 or 30 percent of     18       Q. Okay. Fair -- I --
19     the donors are -- in the U.S. are from drug        19         It's on the record now that I'm trying
20     overdose, so we discuss that.                      20   really hard to get through this, and if we got
21         Q. "We" being who?                             21   to be here all night, we'll be here all night.
22         A. We, any transplant professional, you        22   I've got seven and a half hours with you, so --
23     know, would know that 20 or 30 percent are         23         Let's go back to my question. When Dr.
24     from -- from a drug addict in the U.S. from drug   24   Daly talked to Noah, he didn't know that the
25     overdose.                                          25   heart that was going to be implanted into Noah's

                                            Page 55                                                Page 57
 1        Q. Which means that 70 or 80 percent of          1   chest was coming from a meth addict who had an
 2     them do not come from a drug overdose; right?       2   intracranial hemorrhage; isn't that true?
 3        A. Yes.                                          3       A. No, he didn't --
 4        Q. Which means that, assuming that Dr.           4          Yeah. He didn't know.
 5     Daly had that discussion with Noah, Noah would      5       Q. The only surgeon who provided informed
 6     have understood that there was a seven- or          6   consent to Noah after that information became
 7     eight-out-of-ten chance that the donor for his      7   available was you; isn't that true?
 8     heart would not have had a drug overdose; right?    8       A. The con --
 9        A. Yeah, that is possible; however, the --       9          The informed consent is -- is done
10     he was told about this was an increased-risk       10   previously --
11     donor. And increased-risk donor, Mr. Leopold       11       Q. Uh-huh.
12     knew very clearly that it could be, you know, a    12       A. -- in the surgical note. It's a --
13     drug addict, and -- and he consented for that      13   it's a team approach.
14     and that's documented.                             14       Q. Wasn't my question. We'll go back to
15        Q. Okay. So first of all, please listen         15   my question.
16     to my question and just answer my question. My     16          The only surgeon who provided informed
17     question didn't have anything to do with any of    17   consent to Noah after the information about the
18     that.                                              18   donor became available was you; isn't that true?
19        A. Well I'm not going to answer what you        19       A. The surgeon --
20     want.                                              20          Yeah. Uh-huh.
21        Q. Well you've got to answer my questions       21       Q. So let's stick specifically with what
22     though.                                            22   you told Noah. You told him it was a good
23        A. Yeah. I did.                                 23   donor, --
24           MR. BRANTINGHAM: Hold on, doctor.            24       A. Uh-huh.
25        Q. Just hang on. Hang on. Hang on.              25       Q. -- and then you talked with him about


                                                                         15 (Pages 54 to 57)
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                                       Thompson Decl. Ex. T
     CASE
      CASE0:24-cv-01097-DTS
           0:24-cv-01097-DTS Doc.
                             Doc. 29-1
                                  83 Filed
                                       Filed 12/26/24
                                             10/01/24 Page
                                                       Page17
                                                            17ofof62
                                                                   62

                                            Page 58                                                  Page 60
 1      the risks and benefits just of the transplant       1   with him about. We're sticking with you. So --
 2      procedure, but not the risks and benefits of the    2      A. Yeah. That's what --
 3      donor organ. Do I have that right?                  3      Q. Hold on. Hold on.
 4          A. No.                                          4      A. But let -- but let me -- you -- you
 5          Q. What part do I have wrong?                   5   are --
 6          A. Because how the transplant procedure         6         MR. BRANTINGHAM: Wait for --
 7      could be separated from the donor procedure.        7      A. You allude to me, so I need to answer.
 8          Q. Okay. Then tell me with as much              8         Because we are part of the team that
 9      specificity as you can what you told Noah about     9   informs things to the -- to the -- to the
10      the potential risks of this specific donor         10   recipient, so I rely in my colleagues, my
11      organ.                                             11   cardiology, my transplant coordinator to give
12          A. I -- I thought it -- and -- it was          12   the most information that we can to the patient.
13      an --                                              13   And I went there and spent a half an hour at
14             That it was an excellent donor and that     14   least talking to them and doing the best job
15      normally -- I can't recall exactly what -- what    15   that we can.
16      was the conversation, as I said before -- but,     16      Q. Great. Now I've talked to Dr.
17      you know, the -- the risk of cardiac surgery,      17   Rosenbaum and I'll probably talk to the
18      you know, was done. Risks of cardiac surgery       18   transplant coordinator. What I'm interested in
19      are stroke, bleeding, wound infection, renal       19   right now, though, is talking to you about what
20      failure, the whole medicine is a risk. That's      20   you told Mr. Leopold, so I'm going to go back to
21      the risk.                                          21   my question.
22          Q. None of that answered my question at        22         When you spent that half hour talking
23      all. I asked you what specifically did you tell    23   to Noah Leopold, did you tell him anything about
24      Noah about the risks of this specific donor        24   the risks of this donor organ other than just
25      organ.                                             25   saying "This is an excellent donor?"

                                            Page 59                                                  Page 61
 1         A. Again -- again, I already told you that       1       A. I don't recall, but I --
 2      we don't talk in specifics because that's           2          I don't recall any more than that, but
 3      banned, --                                          3   it was an excellent donor and continues to be.
 4         Q. So --                                         4       Q. Would it be your standard practice to
 5         A. -- is -- is confidential information          5   tell a person like Noah anything about the risks
 6      about the donor.                                    6   of the donor organ other than "You know what,
 7         Q. So what you told him was this was an          7   this is an excellent donor?"
 8      excellent donor and that's it.                      8       A. Well the standard practice is we have
 9         A. Yeah. And if they had any question --         9   to talk about DCD, if it's DCD or not DCD. This
10      and I don't recall what other question they        10   donor was not DCD, it was brain dead. Whether
11      have, but I remember that I stayed there           11   or not, you know, it's increased risk, all
12      answering question for half an hour.               12   right, it's already done by the transplant
13         Q. Okay. Let's, again, stick just with          13   coordinator and we have to -- and -- and if he
14      the donor organ. Am I correct that the only        14   was hepatitis C or not hepatitis C. This donor
15      information you gave Noah Leopold about this       15   was not hepatitic C positive, so that's --
16      donor organ was it's coming from an excellent      16   that's why, you know, we have to make sure that
17      donor?                                             17   we provide that information, and we did.
18         A. I don't recall the -- the conversation       18       Q. Okay. Back to my question.
19      entirely. I know that the donor told her -- I      19          Would it have been your standard
20      mean that our transplant coordinator told her      20   practice --
21      that it was from increased-risk donor, and he      21          I know you don't remember this
22      accepted that.                                     22   conversation, but you know this wasn't a DCD
23         Q. I'm not talking about what the               23   donor; right?
24      transplant coordinator talked with him about.      24       A. (Witness nodding.)
25      I'm not talking about what anybody else talked     25       Q. Yes? You've got to say yes for the


                                                                          16 (Pages 58 to 61)
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                                       Thompson Decl. Ex. T
     CASE
      CASE0:24-cv-01097-DTS
           0:24-cv-01097-DTS Doc.
                             Doc. 29-1
                                  83 Filed
                                       Filed 12/26/24
                                             10/01/24 Page
                                                       Page18
                                                            18ofof62
                                                                   62

                                            Page 62                                                 Page 64
 1     record.                                             1          THE REPORTER: Okay. Off the record.
 2         A. Yeah, it was not.                            2          (Recess taken from 2:16 p.m. to 2:21
 3         Q. And you know that this wasn't a --           3          p.m.)
 4         A. And I already told you that already, --      4          THE VIDEOGRAPHER: We're on video.
 5         Q. You know this --                             5          THE REPORTER: We're on the record.
 6         A. -- so it's already on the transcript.        6   BY MR. THOMPSON:
 7         Q. You know that this wasn't a hepatitis C      7       Q. Did you look at your operative report
 8     donor; right?                                       8   as part of preparing to give your deposition
 9         A. Yes.                                         9   today, doctor?
10         Q. So let's stick with this donor, not         10       A. Yes, sir.
11     some other hypothetical donor. Let's stick with    11       Q. When is the last time you looked at
12     this donor.                                        12   your operative report?
13         A. Well I stick to this donor because, you     13       A. This morning.
14     know, as I said --                                 14       Q. All right. Do you remember which of
15           MR. BRANTINGHAM: Let him get to the          15   the two procurement surgeons called you to talk
16     next question, doctor.                             16   with you about the assessment of the heart when
17         A. Yeah. But you are -- you are repeating      17   they were still in Idaho?
18     the information.                                   18       A. I don't.
19         Q. Are you ready for me to ask a question?     19       Q. Do you know for a fact that one of them
20         A. Yes, sir. Go ahead.                         20   called you?
21         Q. With respect to this specific donor, in     21       A. I don't. I don't know. I trust both.
22     your general practice, the way that you            22       Q. When you say you trust them, you trust
23     typically do things, would you have told Noah      23   their assessment?
24     anything about the donor organ other than it's     24       A. Yes.
25     coming from an excellent donor?                    25       Q. Do you feel confident that they can

                                            Page 63                                                 Page 65
 1         A. I have to respond again? The only            1   independently decide that a heart is suitable
 2     thing that I would have told him about, DCD,        2   for transplantation?
 3     hepatitis C, and increased-risk donor, and          3      A. That's the normal clinical practice all
 4     whether it was something controversial or not.      4   over the world.
 5     There wasn't any controversial in the donor.        5      Q. Is the normal clinical practice at Mayo
 6         Q. So again, like let's not talk about          6   for them to call you and walk you through what
 7     some hypothetical donor that this wasn't. You       7   they're seeing, or is it for them to just make
 8     told --                                             8   the decision that this looks good?
 9         A. No, I -- I tell you.                         9      A. No, it's mandatory a phone call.
10         Q. Okay. We're going to keep at this           10      Q. Okay. How long does the phone call
11     until we get straightforward answers to my         11   usually last?
12     straightforward questions. We're going to go       12      A. Five minutes.
13     back again.                                        13      Q. What sorts of information do they
14           With respect to this specific donor, if      14   generally provide you?
15     you were following your standard practice, would   15      A. If there's any contraindication in the
16     you have told Noah anything about the donor        16   donor; for example, if they see a tumor, for
17     organ other than it's coming from an excellent     17   example. They want to see how the function of
18     donor?                                             18   the heart, what are the hemodynamics, if -- if
19         A. Well in -- in this case, I wouldn't         19   they palpate any coronary disease, verify
20     have told anything because all the evidence was    20   everything that is in the computer, you know, in
21     excellent.                                         21   the computer -- in the donor that -- there's
22         Q. Let's talk about the surgery itself.        22   some information, but you have to verify it
23           MR. BRANTINGHAM: We're about an hour         23   onsite. That's the normal way.
24     in. Maybe take five?                               24
25           MR. THOMPSON: Sure.                          25


                                                                         17 (Pages 62 to 65)
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                                       Thompson Decl. Ex. T
CASE 0:24-cv-01097-DTS   Doc. 83   Filed 12/26/24   Page 19 of 62
CASE 0:24-cv-01097-DTS   Doc. 83   Filed 12/26/24   Page 20 of 62
     CASE
      CASE0:24-cv-01097-DTS
           0:24-cv-01097-DTS Doc.
                             Doc. 29-1
                                  83 Filed
                                       Filed 12/26/24
                                             10/01/24 Page
                                                       Page21
                                                            21ofof62
                                                                   62

                                            Page 74                                                 Page 76
 1                                                         1   end-organ dysfunction what I'm telling you, and
 2                                                         2   so they -- they elected to wait until the kidney
 3                                                         3   function, you know, could have gotten better,
 4        Q. Okay. How long do you think Noah could        4   signs that he was very sick and in cardiogenic
 5     have waited to get a heart?                         5   shock.
 6        A. It's -- it's --                               6      Q. And it did get better in less than 24
 7           You can't predict that. He could have         7   hours; didn't it?
 8     died next day.                                      8      A. I can't recall how were the measurement
 9        Q. Do you think he probably would have           9   of the kidney function, but normally that
10     died the next day if you --                        10   happens over two or three days that it get
11        A. Could have happened. I've seen it many       11   better, the kidney function. But he didn't have
12     times.                                             12   normal kidney function for sure.
13        Q. Well he survived for a week even after       13      Q. If Noah's kidney function improved over
14     you took his heart out and left him without a      14   the course of less than 24 hours, that would be
15     heart; right?                                      15   a good sign for him; wouldn't it?
16        A. Yeah, because I implanted acute              16      A. Yeah. But it would be a good sign in
17     circulatory support on him.                        17   terms of, you know, he had some recovery with
18        Q. Sure. Weren't --                             18   the circulatory support, but what it tell us
19           Wouldn't there have been lots of             19   that he's in a very borderline situation.
20     intermediate steps to help Noah's circulatory      20      Q. Would you have preferred for Noah to
21     function if he had continued to go downhill in     21   have had a combined heart-liver transplant?
22     the week or two after the 29th if he had chosen    22      A. No.
23     to wait?                                           23      Q. Why not?
24        A. If he had chosen to work, let's suppose      24      A. Because a heart-liver transplant
25     that you need to do more, that will, you know,     25   carries a mortality between 30 to 50 percent.

                                            Page 75                                                 Page 77
 1     worsen his prognosis.                               1   Heart transplant might be two to three percent.
 2        Q. Do you know that the other doctors who        2   Comparative mortalities that we're talking.
 3     have testified in this case have said Noah could    3       Q. Have you seen the email exchanges where
 4     have survived weeks or months?                      4   Dr. Spencer and the rest of the team were
 5        A. I don't agree with that.                      5   actually pushing for him to get a combined
 6          MR. BRANTINGHAM: Foundation.                   6   heart-liver transplant?
 7        Q. Okay.                                         7       A. I -- I don't remember seeing those.
 8          MR. BRANTINGHAM: Yeah.                         8   I -- I know that the liver team, which are the
 9        A. I don't agree with that and -- because        9   experts, said that he didn't need a liver
10     he was in cardiogenic shock. He had a right        10   transplant.
11     heart catheterization show extremely low cardiac   11       Q. Do you remember when you gave that
12     index, so he could have died next day.             12   presentation with Dr. Friedman talking about the
13     Moreover, he got end-organ dysfunction several     13   advantages of doing a combined heart-liver
14     days before. So there was evidence of, you         14   transplant?
15     know, kidney dysfunction and liver dysfunction,    15       A. Yeah. That has some advantages related
16     so you don't want your patient to suffer more      16   to the antibodies that have been published here
17     organ dysfunction before transplant.               17   at Mayo.
18        Q. So if he was in such dire straights, do      18       Q. One of the other advantages is that you
19     you know why Dr. Daly didn't transplant him in     19   avoid coagulopathy; right?
20     the week before you came on the service?           20       A. Well that -- that, in terms of if you
21        A. I --                                         21   implant the liver and it works fine, it might,
22          The only thing that I recall -- I don't       22   you know, get the -- the coagulation better, but
23     recall -- recall anything about Dr. Daly. I        23   certainly not normal, because when you do a
24     recall Dr. Spencer, that he got an offer, and he   24   heart-liver transplant there is a huge
25     has an increasing in his creatinine, so            25   derangement on the coagulation factors. So if


                                                                         20 (Pages 74 to 77)
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                                       Thompson Decl. Ex. T
     CASE
      CASE0:24-cv-01097-DTS
           0:24-cv-01097-DTS Doc.
                             Doc. 29-1
                                  83 Filed
                                       Filed 12/26/24
                                             10/01/24 Page
                                                       Page22
                                                            22ofof62
                                                                   62

                                             Page 78                                                 Page 80
 1     you ask me what has more coagulopathy, certainly    1   aorta blood, you know, that, you know, might
 2     a heart-liver, but within the heart-livers,         2   cause a tear on the aorta, you know. So, as I
 3     doing the liver first would have less               3   said, we normally see a little -- little
 4     coagulopathy.                                       4   bruising, and in this case we saw a little
 5         Q. And as you said in your interview with       5   bruising also. But, you know, that progressed,
 6     Dr. Friedman, "there's less coagulopathy, so the    6   you know, after the heart was transplanted, I --
 7     liver is working" and "patients bleed less," and    7   and causing the significant bleeding.
 8     that's quite an advantage. That's right; right?     8       Q. Where was the bruising that you saw
 9         A. It has not been demonstrated                 9   when the heart came out of the OCS machine?
10     extensively, but it's a physiologic thought.       10       A. Normally there's a little bit in the --
11         Q. Do you think that Noah's liver              11   in the fat that is around the aortic root.
12     dysfunction had anything to do with the bleeding   12       Q. And that's where it was in this case?
13     event you experienced in the operating room?       13       A. Yeah.
14         A. No, I don't think so.                       14       Q. What percentage of hearts that come off
15         Q. Why is that?                                15   the OCS have bruising that looks like that?
16         A. Because we, you know, rely on the           16       A. Ninety percent.
17     assessment of the expert, the liver transplant     17       Q. Ninety?
18     people, that his synthetic function was good       18       A. Well I mean I haven't done the
19     before the transplant, and that includes the       19   statistics, but like educated guess.
20     coagulation, so -- and as a doctor, what I can     20       Q. In your experience.
21     see, his coagulation was good and -- but -- and    21       A. Yes. Ninety percent.
22     so I don't think it has nothing to do.             22       Q. You described the heart as being large
23         Q. If his coagulation good -- was good,        23   when you retrieved it from the OCS device. Was
24     why were you unable to get the bleeding from his   24   it large as in it was edematous?
25     heart to stop?                                     25       A. No, it was large in size. The -- the

                                             Page 79                                                 Page 81
 1        A. Well because it was bleeding diffusely,       1   heart didn't have hypertrophy as was
 2     you know. It's for me just a theory -- I don't      2   demonstrated by the echocardiogram on the donor.
 3     know what it was bleeding. It's first time I        3   There was no hypertrophy. It was just large in
 4     have seen this, so it was bleeding from all over    4   size.
 5     the heart, so my suspicion there was, you know,     5       Q. Is it part of your usual practice to do
 6     microtears on the aortic root and that              6   a predicted heart mass calculation prior to
 7     infiltrated the heart and make it bleed from        7   transplant?
 8     everywhere. It's a hypothesis. I don't know         8       A. Not usually.
 9     really what it -- why it bled from everywhere.      9       Q. Why not?
10        Q. That hypothesis that you just described      10       A. Because we would rely on other factors,
11     about there being microtears from the aortic       11   the height, the weight, the gender of the donor,
12     root, --                                           12   the gender of the recipient. And, for example,
13        A. Uh-huh.                                      13   the -- the donor hearts that are 70 kilograms or
14        Q. -- that's the best hypothesis you can        14   higher in weight, they usually will be adequate
15     come up with based on your years of                15   for all recipients in terms of hemodynamic
16     education, --                                      16   performance. And then you have to assess if the
17        A. Uh-huh.                                      17   heart will fit in the chest, so we normally do
18        Q. -- training, and experience and the          18   measurements on the CT scan on the donor, and
19     fact that you were the one who was actually        19   measurements on the CT scan on the recipient to
20     there watching it bleed; right?                    20   see if the heart will fit.
21        A. Yep. Yes, sir.                               21       Q. And you were fine --
22        Q. Where would those microscopic tears          22       A. But the -- but the ultimate test is
23     have come from?                                    23   putting it in.
24        A. Because the OCS, you know, perfuses          24       Q. Sure. And in this case you had to make
25     blood on the aorta. So if you perfuse on the
                                                          25   some adjustments in order to get it to fit.


                                                                          21 (Pages 78 to 81)
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                                       Thompson Decl. Ex. T
     CASE
      CASE0:24-cv-01097-DTS
           0:24-cv-01097-DTS Doc.
                             Doc. 29-1
                                  83 Filed
                                       Filed 12/26/24
                                             10/01/24 Page
                                                       Page23
                                                            23ofof62
                                                                   62

                                            Page 82                                                 Page 84
 1        A. Yep.                                          1       A. The -- the skin incision, we would do
 2        Q. All right. The beginning of your              2   it -- we anticipate the -- the estimated time of
 3     operative report you say, "Once I gave word that    3   arrival. So, you know, if it take me an hour,
 4     the donor heart was suitable for                    4   an hour and a half, you know, to open,
 5     transplantation, the patient was anesthetized."     5   cannulate, take me an hour and a half, so we --
 6     Would that have been after you got the call from    6   when the airplane is usually on the air, then we
 7     the procurement team in Idaho?                      7   see what is the estimated time of arrival and
 8        A. Yeah. Not --                                  8   try to match it the best we can.
 9           Well in heart transplantation, there's        9       Q. I understand.
10     minimum morbidity of putting somebody under        10          So the goal, in terms of timing, would
11     general anesthesia, so it depends a little bit     11   be you've made the incision, you've done --
12     on the situation. In his case, I waited for the    12   you've cracked the chest, you've got everything
13     heart to be on the -- I can't recall exactly,      13   cannulated, you are basically ready to remove
14     but most of the time I would wait for the word     14   the heart when you get the call from the ground
15     that it's fine, and then if it's fine, then        15   in Rochester that they've landed safely.
16     general anesthesia allowing some prepping and      16       A. It depends, again, on what's the
17     draping. And then we try to match the -- when      17   complexity. In his case, I mean we don't crack
18     the heart arrives when the -- with the             18   the chest, we do a midline sternotomy.
19     explantation.                                      19       Q. Okay.
20        Q. Sure. So make sure I've got this             20       A. And so most of the time, if it's a
21     right. Anesthetized probably shortly after you     21   virgin chest, we'll be with the chest open and
22     got the call from Idaho --                         22   cannulated, so when they land and they tell us
23        A. Uh-huh.                                      23   that the heart is fine, then it will go bypass
24        Q. -- that we've evaluated the heart, it        24   and take the heart out.
25     looks good.                                        25       Q. Got it.

                                            Page 83                                                 Page 85
 1         A. Okay. Yeah, likely. I can't recall           1          Fair to say you don't remember for sure
 2     ex -- what was the timing exactly, but that's       2   if that's what you did in this case, but based
 3     the most common thing. In a patient like Mr.        3   on your general practice you think that's
 4     Noah, because he -- you know, sometimes you need    4   probably what happened.
 5     more time because the -- this -- you anticipate     5        A. Yeah.
 6     a complicated operation, so you would               6        Q. Describe for me --
 7     anesthetize earlier than that.                      7          You write in your operative note about
 8         Q. Noah had what's known as a virgin            8   adjusting the sutures, opening the posterior and
 9     chest; right?                                       9   left-side pericardium to make this larger heart
10         A. Yeah, he did.                               10   fit.
11         Q. I assume that you had no problems           11        A. Uh-huh.
12     whatsoever accessing his native heart and          12        Q. Describe what you're talking about
13     explanting it?                                     13   there.
14         A. Yeah. I had no problems that I              14        A. So the -- the pericardium is the
15     remember.                                          15   linings -- the lining of the heart. So if you
16         Q. How long did it take?                       16   open it in the back and to the left, you get an
17         A. It would take around, to explanted          17   opening to the left chest so there's more room.
18     it --                                              18   So that's what I did, I opened -- so I give more
19           Well one thing is the explantation,          19   room to the heart. And then the adjusting of
20     one -- a different thing is the -- you know,       20   the sutures meaning, you know, what we call
21     open it up. So if you -- if you count from the     21   compensating. When we do the suture, we take
22     skin incision to get the heart out, an hour, an    22   more in one side than the other side. So if you
23     hour and a half.                                   23   sort of -- if you take -- so you have something
24         Q. When -- when would you have made the        24   big and something small, you will take normal
25     skin incision?                                     25   bites in the bigger one while you will take very


                                                                         22 (Pages 82 to 85)
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                                       Thompson Decl. Ex. T
     CASE
      CASE0:24-cv-01097-DTS
           0:24-cv-01097-DTS Doc.
                             Doc. 29-1
                                  83 Filed
                                       Filed 12/26/24
                                             10/01/24 Page
                                                       Page24
                                                            24ofof62
                                                                   62

                                            Page 86                                                 Page 88
 1     close bites on the smaller one.                     1       A. You cannot quantify because it's
 2         Q. Okay. So obviously this was different        2   diffuse bleeding, so you can't count it.
 3     because you ended up having to take the heart       3       Q. All right. At what point in the
 4     out. But if things had gone the way you wanted      4   process did you begin to suspect that it was
 5     them to, would the pericardium have been            5   these microscopic tears?
 6     completely stitched closed at the end of the        6       A. When -- when there was bleeding from
 7     operation?                                          7   all over the place, so I -- I -- I suspect that
 8         A. No, I don't do that.                         8   that could have been the case.
 9         Q. Because of swelling?                         9       Q. Okay. What did you do about it?
10         A. No. I -- I don't like to close the          10       A. I -- I --
11     pericardium, because if you have a closed cavity   11          You know, you are fully anticoagulated
12     there's always some oozing of blood, so you        12   when you are in that situation because you on
13     could have accumulation of clots and blood and     13   the heart-lung bypass machine, you need to do
14     have, you know, tamponade.                         14   that fully anticoagulated, so I -- I came off --
15         Q. Tamponade.                                  15   off the heart-and-lung bypass machine and I gave
16           And so the pericardium would just be         16   protamine. We tried to seal those suspected
17     left partially open permanently?                   17   microscopic holes.
18         A. Yes. So I, in all the cases, I              18       Q. And that didn't work.
19     leave -- open it permanently on the front.         19       A. No, it didn't. And actually the heart,
20         Q. On the front.                               20   it squeeze quite well, had normal function at
21         A. In this case it was additional on the       21   the beginning. But as it get more and more
22     back to the left.                                  22   infiltrated, the function, you know, went down.
23         Q. Because the heart was bigger than --        23       Q. Okay. Were you -- your assistant
24         A. Yes.                                        24   was --
25         Q. Okay. All right. Everything went            25          You had one assistant. It was a


                                            Page 87                                                 Page 89
 1     according to plan until the cross-clamp was         1   fellow; right?
 2     removed. Am I correct about that?                   2       A. Yeah.
 3        A. Yes.                                          3       Q. Did you, during this time, did you
 4        Q. Describe for us then what happened once       4   contact either Dr. Daly or Dr. Spencer?
 5     you took off the cross-clamp.                       5       A. No, I didn't.
 6        A. So the -- the heart start becoming more       6       Q. All right. How long did you spend
 7     bruised overall until it start bleeding from        7   trying to get the bleeding under control?
 8     several spots. And we normally handle the heart     8       A. Several hours.
 9     to check, you know, for bleeding in the back and    9       Q. Do you think that there may have been a
10     the front. So all those, when we grabbed,          10   component of DIC involved here?
11     that -- so we grabbed the heart, and then that     11       A. I -- I haven't heard about any labs
12     kind of broke off the epicardium, you know, the    12   confirming or denying that. Nobody told me
13     layers or bled through there, and then that        13   anything about that.
14     process continue.                                  14       Q. Well after the fact I presume that you
15        Q. Was the blood infiltration spreading         15   were racking your brain and looking at the data
16     from that location of ecchymosis near the aortic   16   and trying to figure out what happened here to
17     root?                                              17   cause this thing that I've never seen.
18        A. I don't know because it was all over         18       A. Yeah. But, you know, I -- I'm hands
19     the place, so I don't know.                        19   on, you know, trying to get the patient to stop
20        Q. It was all over the place by the time        20   bleeding, so normally the -- the
21     you noticed it.                                    21   anesthesiologist will be looking at all the
22        A. Yeah.                                        22   coagulation tests, and if there's anything
23        Q. Okay. All right. Estimate of how many        23   abnormal, they try to correct it the best they
24     different places it looked like it was bleeding    24   can.
25     from when you first noticed it.                    25       Q. And the anesthesiologist didn't say


                                                                         23 (Pages 86 to 89)
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                                       Thompson Decl. Ex. T
     CASE
      CASE0:24-cv-01097-DTS
           0:24-cv-01097-DTS Doc.
                             Doc. 29-1
                                  83 Filed
                                       Filed 12/26/24
                                             10/01/24 Page
                                                       Page25
                                                            25ofof62
                                                                   62

                                             Page 90                                                 Page 92
 1     anything to you about there being a                 1   circulatory and gas-exchange support.
 2     coagulopathy.                                       2       Q. How does that setup differ from ECMO?
 3        A. Well I, you know, I knew that he had          3       A. It's just in -- in ECMO you have the --
 4     coagulopathy because the way, you know, it was      4   the heart is still in. So you have the can --
 5     bleeding all the time. So he had coagulopathy       5   cannula, you know, on the right femoral vein and
 6     as 90 percent of the heart transplant we do,        6   another one here in the artery here or here.
 7     they have coagulopathy.                             7   Actually we had that for a little while.
 8        Q. Yep.                                          8       Q. Yep.
 9        A. So -- so we gave --                           9       A. And that's the difference, in one
10           We usually do two things. We'll give         10   there's heart, in the other one there's no
11     blood products and we give concentrated blood      11   heart.
12     products, meaning like a powder of, you know,      12       Q. Okay. So this BiVAD setup, the BiVAD
13     clotting factors that is, you know, injected       13   is basically taking the place of the heart.
14     intravenously. So that was tried. It was tried     14       A. Yes.
15     when we give the protamine and it was tried        15       Q. Because without either a donated heart
16     again. You know, then I, you know, had to go on    16   or the explanted native heart, there was nothing
17     the heart-and-lung bypass machine and then I       17   for things to flow through without putting in
18     went on -- on ECMO to give more support to the     18   the BiVAD?
19     heart. And then we gave more products, more        19       A. Yeah. Because it, you know, it was
20     concentrated of blood products, and the bleeding   20   bleeding all over the place so, you know, my
21     would not subside.                                 21   alternatives was let the patient die on the
22        Q. And then eventually you decided the          22   table or attempt a BiVAD oxygenator.
23     only thing left to do is take this heart out.      23       Q. After the surgery was finished, did you
24        A. Yes.                                         24   talk with Noah's family?
25        Q. Is that the first time that you have         25       A. I remember talking multiple times to


                                             Page 91                                                 Page 93
 1     left a patient without a heart?                     1   them.
 2         A. No. The -- there was a colleague of          2      Q. Tell me what you remember.
 3     mine that had a bleeding -- it's called an          3      A. Essentially the description that I gave
 4     atrioventricular dysjunction, you know, the         4   you, that the heart, after we took the
 5     atrium and the ventricle, they separated, and       5   cross-clamp out, got an extensive hematoma,
 6     then you try to put it back together. And then      6   started bleeding from everywhere. We tried to
 7     we tried everything for that and it didn't work,    7   fix it with all these maneuvers that I have just
 8     so we took the heart out, the patient stopped       8   told you. The same story.
 9     bleeding.                                           9      Q. Did you tell them that you suspected
10         Q. Tell me about this attempt to put in a      10   that it was -- the cause of this was related to
11     BiVAD oxygenator implant.                          11   the perfusion on the OCS machine?
12         A. Uh-huh.                                     12      A. Yeah, yeah. I -- I told them that.
13         Q. First of all, what is it?                   13   Because they tell me, "Why -- why -- why that
14         A. So it is essentially cannulas to drain      14   would happen?" I said, "I suspect that there
15     the blood. We put one cannula here on the right    15   might be micro -- microholes, you know, that
16     femoral vein, another one here, so trying to       16   caused this."
17     re-create the normal circulatory system. So        17      Q. How would the holes have been created,
18     cannulas drain the blood from the veins, then      18   with the pressure from the perfusion?
19     inject them from the pulmonary artery, then        19      A. With the pressure of the perfusion.
20     coming back from the pulmonary veins, and then     20      Q. So this is something that's never been
21     drain it to another pump, and then that's going    21   reported anywhere else in the world; true?
22     into the outer, to the rest of the body.           22      A. I -- I have not seen it myself before.
23     That's -- and then you inter -- in one of those    23      Q. Have you heard of it?
24     circuits or those pumps you'll interpose an        24      A. No.
25     oxygenator to oxygenate the patient, so provide    25      Q. If it was the pressure from the OCS


                                                                          24 (Pages 90 to 93)
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                                       Thompson Decl. Ex. T
     CASE
      CASE0:24-cv-01097-DTS
           0:24-cv-01097-DTS Doc.
                             Doc. 29-1
                                  83 Filed
                                       Filed 12/26/24
                                             10/01/24 Page
                                                       Page26
                                                            26ofof62
                                                                   62

                                            Page 94                                                 Page 96
 1     machine that caused these little microholes in      1         Have you written or are you intending
 2     the aortic root, why would that have never          2   to write a case report or anything else about
 3     happened before?                                    3   this case?
 4        A. May -- maybe the --                           4      A. Well there has been at least two
 5           You know, you don't know what the             5   doctors in training at the Mayo Clinic that have
 6     resistance of the tissues of each person. Each      6   wanted to report this case. And I suspected it
 7     person is different, so maybe this one has less     7   could have legal implications, so I told them to
 8     resistance.                                         8   wait.
 9        Q. Yeah. That's kind of where I was going        9      Q. Help me understand that, please.
10     with it. It sounds like -- it sounds like          10      A. You know, because, you know, if, you
11     whatever the problem was, it was something wrong   11   know, the -- the family, you know, would, you
12     with that heart; right?                            12   know, make a claim against us, you know, we
13           MR. BRANTINGHAM: Foundation. Go              13   don't want to, you know, publish it in the
14     ahead.                                             14   newspaper.
15        A. That -- that could not be stated with        15      Q. So the reason that one would put out a
16     our current methods of diagnosis.                  16   case report about this is so that other doctors
17        Q. Your best explanation is that there was      17   can be aware that this happened and let's try to
18     something wrong with the heart.                    18   figure out how we can try to prevent it from
19           MR. BRANTINGHAM: Same objection. Go          19   happening again; right?
20     ahead.                                             20      A. Yep. But I would let the dust settle
21        A. Well after the fact.                         21   so there's no emotional decisions taken.
22        Q. Sure. No. Absolutely.                        22      Q. No, no. Let's stick with my question
23        A. In hindsight.                                23   though.
24        Q. Does this event give you any concern         24         The reason that stuff gets published in
25     about the use of OCS for other donor hearts?       25   the medical literature is so that the medical

                                            Page 95                                                 Page 97
 1        A. Well it gives me a concern, of course.        1   community can benefit from sort of the high of
 2     You know, we remember our bad experiences, so --    2   mind; right?
 3        Q. I'm talking about, though, specifically       3       A. That's one of the benefits.
 4     with respect to OCS. So the best explanation        4       Q. Right.
 5     you've been able to come up with this is that       5         And specifically, with respect to this
 6     there was something about the pressure on the       6   incident, it could have implications for the OCS
 7     OCS machine perfusing the aortic root that          7   if your hypothesis is true; right?
 8     caused little microperforations that led to this    8       A. Yeah.
 9     disastrous --                                       9       Q. And some of your colleagues want to
10        A. Yeah.                                        10   write a case report about this case to put it
11        Q. -- transplant attempt. Does that give        11   out there into the medical literature to get
12     you pause in using the OCS in the future?          12   other people thinking about it in order to
13        A. Well but I have to see the bulk of my        13   advance science and patient safety; right?
14     experience with OCS. So I have been able to        14       A. Yeah. We likely will.
15     transplant successfully many, many patients with   15       Q. But you're telling me that Mayo has
16     the OCS. So it's important not to be guided        16   elected not to do that --
17     emotionally, but be guided scientifically and      17       A. No. I told them not to do it yet.
18     see if it would happen ever again.                 18       Q. Okay. You told them not to do it yet
19        Q. Now there have been a number of              19   because you're worried that there may be legal
20     studies, and there are ongoing studies, about      20   ramifications.
21     the OCS; true?
                                                          21       A. Yes.
22        A. (Witness nodding.)
                                                          22       Q. And legal ramifications are you don't
23        Q. Yes? You got to --
                                                          23   want there to be a case report that's going to
                                                          24   be out there in the newspaper.
24        A. Yes.
                                                          25       A. Well I -- I don't want bad publicity
25        Q. -- say yes.


                                                                         25 (Pages 94 to 97)
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                                       Thompson Decl. Ex. T
     CASE
      CASE0:24-cv-01097-DTS
           0:24-cv-01097-DTS Doc.
                             Doc. 29-1
                                  83 Filed
                                       Filed 12/26/24
                                             10/01/24 Page
                                                       Page27
                                                            27ofof62
                                                                   62

                                            Page 98                                               Page 100
 1     certainly.                                          1         MR. BRANTINGHAM: Go ahead, you can
 2         Q. Why not?                                     2   answer.
 3         A. Because that will affect Mayo and other      3       Q. Okay. So what am I missing? Tell me
 4     patients -- will affect other patients mainly.      4   about this conversation.
 5     They would, you know, not receive the care that     5       A. No. There's -- there's -- there's, you
 6     they need.                                          6   know, the International Society of Heart and
 7         Q. So you're withholding potentially            7   Lung Transplantation meeting, and then we see
 8     important scientific information in order to        8   all the people there, you know, including --
 9     avoid bad -- bad publicity for Mayo.                9   including the TransMedics people because they
10         A. No, sir.                                    10   present their technology, so they told me there
11         Q. Okay. Have you reported this to             11   was a lawyer looking for the records.
12     TransMedics?                                       12       Q. Who told you?
13         A. No.                                         13       A. I don't remember.
14         Q. Why not?                                    14       Q. Somebody from TransMedics.
15         A. Because we wanted the dust settled          15       A. Yeah.
16     before tell other people.                          16       Q. And it was while you were at the
17         Q. How long are you waiting for the dust       17   International Heart/Lung Transplantation Society
18     to settle?                                         18   meeting?
19         A. Until we're finished with your claim.       19       A. Yes.
20         Q. Okay. So hold on. Your best                 20       Q. Where?
21     hypothesis is that there was something about       21       A. In Prague.
22     this OCS machine's perfusion that caused a         22       Q. In Prague?
23     catastrophic loss of this donor heart. Yes?        23         When?
24     That's your best hypothesis.                       24       A. In April.
25         A. Yes.                                        25       Q. Have you talked to anybody else about

                                            Page 99                                               Page 101
 1        Q. You certainly know that TransMedics           1   this?
 2     would like to know about this.                      2       A. No.
 3        A. They already know.                            3       Q. Nobody?
 4        Q. How?                                          4       A. I think I told my -- my chairman. I
 5        A. Because you already reached to them.          5   think I -- for some reason I had to tell my
 6        Q. Right. I reached to them to get               6   chairman, I don't know why, and the director of
 7     medical records.                                    7   the transplant center here, but other than that.
 8           How do you know that, by the way?             8       Q. Have you talked with any of the people
 9        A. They -- they told me. You know, I was         9   who are currently doing research on the OCS?
10     told that -- that -- I don't remember who it was   10       A. Like who?
11     that told me that you were asking about the --     11       Q. Well any of your colleagues, people at
12     the records.                                       12   Duke or people at Mass General or people
13        Q. Oh, somebody at TransMedics?                 13   anywhere else?
14        A. Yeah, likely.                                14       A. No. No. I was requested not to talk
15        Q. Got it.                                      15   to anybody. And I didn't ask this TransMedics
16        A. Filtrated.                                   16   thing that I was told. They told me. I didn't
17        Q. So I called to get --                        17   ask in the IHLT meeting. They told me that, so
18           I contacted TransMedics to get records,      18   I didn't ask. And so I haven't wanted to talk
19     and TransMedics called you and said --             19   to anybody --
20        A. No.                                          20       Q. Okay.
21        Q. -- "Hey, just so you know, some              21       A. -- about it.
22     lawyer's poking around."                           22       Q. So the people from TransMedics told you
23           MR. BRANTINGHAM: Object to the form of       23   there's a lawyer asking questions.
24     the question.                                      24       A. Yeah.
25        A. No.                                          25       Q. Did you tell them anything more about


                                                                       26 (Pages 98 to 101)
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                                       Thompson Decl. Ex. T
     CASE
      CASE0:24-cv-01097-DTS
           0:24-cv-01097-DTS Doc.
                             Doc. 29-1
                                  83 Filed
                                       Filed 12/26/24
                                             10/01/24 Page
                                                       Page28
                                                            28ofof62
                                                                   62

                                           Page 102                                               Page 104
 1     the case?                                           1       Q. You got to answer my question.
 2         A. No.                                          2       A. Yeah. There wasn't, but I suspected
 3         Q. Did you just -- you say, "I've been          3   there could have been.
 4     advised to not talk about it?"                      4       Q. You suspected that maybe there was
 5         A. I -- I said "Okay" and I walk away.          5   going to be a claim as far back as September of
 6         Q. You said o --                                6   2023?
 7         A. "Okay" --                                    7       A. Yes.
 8         Q. And walked away.                             8       Q. And so you made the independent
 9         A. And then I walk away.                        9   decision that, "Well, because I think there may
10         Q. Did the person from TransMedics think       10   be the possibility of a legal claim, I'm keeping
11     it was strange that you just said "Okay" and       11   this under wraps and I'm not telling anybody."
12     walked away?                                       12         MR. BRANTINGHAM: Object to the form of
13           MR. BRANTINGHAM: Foundation.                 13   the question.
14         Q. Did they seem like they thought it was      14       A. Yeah. I -- I prefer not to talk to --
15     strange?                                           15   again until, you know, I'm sure that there was
16         A. No, no, because you have very short         16   not going to be any claim.
17     conversations normally in these meetings. You      17       Q. And then October passed and November
18     talk to somebody and go, talk to somebody and      18   passed and December passed and you didn't hear
19     go. It's normal. I don't want to be rude with      19   anything about a claim; right?
20     people, so I -- I don't tell them, you know,       20       A. No, I think I heard it in February.
21     "Shut up," you know. I don't -- you know, I        21       Q. No. So we'll get to that.
22     don't want to talk to anybody about it. So I       22         September, October, November, December,
23     was told, I said "Okay," I walk away.              23   four months you heard nothing about a claim and
24         Q. Why haven't you talked with any of your     24   you still kept it under wraps, didn't report it
25     cardiac transplant surgery colleagues about this   25   to the FDA, didn't talk to TransMedics about it,


                                           Page 103                                               Page 105
 1     case outside of Mayo?                               1   didn't talk to anybody outside the little Mayo
 2         A. In other -- in other centers you mean?       2   cocoon.
 3         Q. Outside of Mayo.                             3          MR. BRANTINGHAM: Object to the form of
 4         A. Because I was recommended not to talk        4   the question. Go ahead.
 5     to anybody about the case. I think this was in      5       A. Yes. I believe that's a short time in
 6     February. I believe so.                             6   clinical terms.
 7           MR. BRANTINGHAM: Well don't get into          7       Q. Okay. Did you think about reporting
 8     our communications, doctor, but your best memory    8   it?
 9     in response to Mr. Thompson's questions is all      9       A. Well, yeah, after I'm sure that there's
10     you can give him.                                  10   no legal claim.
11         A. I --                                        11       Q. Who are your colleagues here who want
12           MR. BRANTINGHAM: Let's have another          12   to write a case report about it?
13     question because I'm unsure even what the          13       A. The transplant fellow, I believe, and
14     question is right now.                             14   other one I think it was a cardiology fellow --
15         Q. Did you report this to the FDA?             15   no, no -- an intensivist fellow, but I don't
16         A. No, I haven't reported it to FDA.           16   even know his name. I mean I know the name of
17         Q. Why not?                                    17   the cardiac fellow.
18         A. Because, you know, I was told to not        18       Q. When did they tell you that they want
19     talk to anybody, --                                19   to write a case report about this?
20         Q. Well --                                     20       A. I don't remember.
21         A. -- legal matters.                           21       Q. Before February?
22         Q. Right. But there were no --                 22       A. I don't --
23           There was no legal issue in September        23          I suspect December, January, I suspect.
24     of 2023; right? Right?                             24   I can't -- can't recall.
25           THE REPORTER: Your answer?                   25       Q. And you told them "Let's just kind of


                                                                     27 (Pages 102 to 105)
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                                        Thompson Decl. Ex. T
     CASE
      CASE0:24-cv-01097-DTS
           0:24-cv-01097-DTS Doc.
                             Doc. 29-1
                                  83 Filed
                                       Filed 12/26/24
                                             10/01/24 Page
                                                       Page29
                                                            29ofof62
                                                                   62

                                          Page 106                                                Page 108
 1     wait for the dust to settle and see if there's a    1   ensure you don't talk about our communications,
 2     legal claim."                                       2   doctor, or --
 3         A. Yes.                                         3          THE WITNESS: Okay.
 4         Q. Do you know that there is a Patient          4          MR. BRANTINGHAM: -- the communications
 5     Safety Incident Reporting Guideline at Mayo?        5   with Mayo Legal.
 6         A. No, I don't.                                 6       Q. But I think you told me before that one
 7         Q. Do you know that there is an online          7   of the reasons why you didn't talk about it,
 8     incident reporting tool available to the            8   even before the legal team got involved, was
 9     transplant team at Mayo?                            9   because you didn't want bad publicity for the
10         A. No. I -- I -- I suspect that there          10   transplant program.
11     could be something to report, but -- but -- but    11       A. Yeah, I think that's accurate.
12     I -- I haven't used it ever, so I don't know.      12          MR. THOMPSON: Let's take a break.
13         Q. Do you know what the MAUDE database is?     13          THE REPORTER: Off the record.
14         A. No.                                         14          (Recess taken from 3:11 p.m. to 3:35
15         Q. Do you know that the FDA maintains a        15          p.m.)
16     database that allows doctors to report incidents   16          THE VIDEOGRAPHER: We're on video.
17     with medical devices so that it can raise          17          THE REPORTER: We're on the record.
18     awareness throughout the medical community?        18          MR. BRANTINGHAM: Before you proceed,
19         A. It would have been already published if     19   I -- pursuant to the protective order, I want to
20     it wouldn't been a claim, and then everybody       20   designate this transcript as confidential.
21     will be ed -- it would have been educated. But     21          MR. THOMPSON: All right. Based on?
22     because there was a claim, there's no education.   22          MR. BRANTINGHAM: Based on all of the
23         Q. None of that was my question. I'm           23   PHI, all of the sensitive health information in
24     going to go back to my question.                   24   it, based on the totality of everything we're
25         A. It is -- it is my answer.                   25   talking about.


                                          Page 107                                                Page 109
 1           MR. BRANTINGHAM: Wait for the                 1         MR. THOMPSON: Okay.
 2     question, doctor.                                   2   BY MR. THOMPSON:
 3         Q. Are you familiar with the fact that the      3       Q. All right. Doctor, despite this event
 4     FDA has a publically-accessible database that       4   that you're planning to someday report to the
 5     allows doctors to report problems with devices?     5   FDA and TransMedics, Mayo is continuing full
 6         A. No, I'm not aware. What is the               6   bore using the OCS; right?
 7     particular database? I suspect that there's a       7       A. Yes.
 8     reporting instrument, but I -- I don't know the     8         MR. BRANTINGHAM: Object to the form of
 9     specifics.                                          9   the question. Go ahead, doctor.
10         Q. Would you like to report this               10       A. Yes, we are using OCS for heart
11     catastrophe to somebody outside of Mayo?           11   transplantation.
12           MR. BRANTINGHAM: Object to the form.         12       Q. You haven't reduced your use of OCS
13         A. I -- I would like to publish the case       13   since this event; have you?
14     and at the same time report it to the FDA.         14       A. No, I have not.
15         Q. And you're planning to do that, but         15       Q. You've increased your use of OCS.
16     just you're going to wait until this lawsuit's     16       A. No. I haven't done the statistics, but
17     over.                                              17   it looks like around the same.
18         A. Yes.                                        18       Q. When you went to Prague for that
19         Q. Because you don't want there to be bad      19   International Society meeting, you presented on
20     publicity for your transplant program.             20   TransMedics data; right?
21           MR. BRANTINGHAM: Object to the form of       21       A. Yes.
22     the question. Go ahead.                            22       Q. Did TransMedics provide you a stipend?
23         A. Because I -- I have been advised not to     23       A. No.
24     talk to anybody by my legal team.                  24       Q. They didn't cover any of your travel
25           MR. BRANTINGHAM: And -- and just             25   expenses, nothing.


                                                                     28 (Pages 106 to 109)
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                                      Thompson Decl. Ex. T
     CASE
      CASE0:24-cv-01097-DTS
           0:24-cv-01097-DTS Doc.
                             Doc. 29-1
                                  83 Filed
                                       Filed 12/26/24
                                             10/01/24 Page
                                                       Page30
                                                            30ofof62
                                                                   62

                                          Page 110                                                Page 112
 1        A. No.                                          1   Wouldn't outcomes be better, presum --
 2        Q. All right. You presented on --               2          Well let me ask you this question: Do
 3           Part of what you presented on was            3   you agree with the basic concept in medicine
 4     information about TransMedics NOP program;         4   that the more experienced you are, in general,
 5     right?                                             5   the better you are at doing things?
 6        A. OP?                                          6       A. Yes.
 7        Q. NOP? Their National --                       7       Q. One of the reasons why you're trying to
 8        A. Oh, the National Organ --                    8   bulk up the transplant numbers in the Mayo heart
 9        Q. National OCS Program.                        9   transplant program; right?
10        A. Not -- not quite the same.                  10       A. Yes.
11        Q. Okay. Let me ask it a different way.        11       Q. So wouldn't it stand to reason that if
12           You know about TransMedics' National        12   you've got OCS specialists who literally all
13     OCS Program; right?                               13   they are doing day in and day out is doing OCS
14        A. Yeah. I have not used it.                   14   organ procurement, that would lead to improved
15        Q. No, I know. But you know what it is?        15   clinical outcomes?
16        A. Yes.                                        16       A. No, sir.
17        Q. What it is?                                 17          MR. BRANTINGHAM: Foundation.
18        A. Which is that the transplant                18       A. That's wrong.
19     procurement surgeons from TransMedics will go     19       Q. Are you familiar with TransMedics'
20     and fly out and retrieve an organ on the OCS to   20   statistics on clinical outcomes for facilities
21     the transplant center to get transplanted.        21   that are using their people as opposed to using
22        Q. TransMedics has their own planes;           22   other people?
23     right?                                            23       A. No, I don't.
24        A. Yes.                                        24       Q. You haven't even bothered to review
25        Q. They've got dedicated people whose only     25   their statistics as part of deciding whether

                                          Page 111                                                Page 113
 1     job is to do organ procurement for OCS             1   you're going to use their TransMedics program?
 2     transport; right?                                  2       A. I don't see -- I --
 3         A. Yes.                                        3         I don't know where are the -- the
 4         Q. Why doesn't Mayo use that service?          4   centers that, you know, doing their own at this
 5         A. Be --                                       5   point in time.
 6           There's two reasons. Because one             6       Q. Now your hypothesized problem with this
 7     thing, it's more expensive, so I want to, you      7   heart was that there was something about the way
 8     know, be as inexpensive as possible. And the       8   that the blood was being perfused into the
 9     second reason is they are -- the surgeons are,     9   aortic root through the OCS system; right?
10     you know, TransMedics' employees, so I see a      10       A. No, not -- not in the way. I -- I
11     conflict of interest. So I prefer my own people   11   suspect that, you know, all the hemodynamics
12     to assess the organs and put them on the device   12   parameters are good, so I suspect there is
13     if needed.                                        13   something in -- in the tissue of the -- the
14         Q. Doesn't it make sense to you to have       14   heart that cannot be assessed with the current
15     the most experienced people possible running      15   diagnostic methods that, you know, made them
16     this complicated machine?                         16   weakened to filtrate the blood.
17         A. Yes, but with no conflict of interest.     17       Q. Got it. That this heart that came from
18         Q. How is it a conflict of interest to        18   the meth addict, intracranial hemorrhage,
19     have the most experienced people operating a      19   alcoholic, cigarette smoker, convicted felon
20     machine that they know better than anyone?        20   with all those drugs in his system, maybe there
21         A. Yeah. Because their salary depend on       21   was something wrong with his heart.
22     the company, so I want people with no salary      22         MR. BRANTINGHAM: I'll object to the
23     from the company.                                 23   form of the question. If you can an -- go ahead
24         Q. How does that --                           24   if you're --
25           You got to help me understand that.         25       A. Well looking -- looking back, because


                                                                    29 (Pages 110 to 113)
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                                       Thompson Decl. Ex. T
     CASE
      CASE0:24-cv-01097-DTS
           0:24-cv-01097-DTS Doc.
                             Doc. 29-1
                                  83 Filed
                                       Filed 12/26/24
                                             10/01/24 Page
                                                       Page31
                                                            31ofof62
                                                                   62

                                           Page 114                                               Page 116
 1     there were this bleeding and you could think        1       A. Yeah. I don't know.
 2     that there's -- there was something wrong with      2       Q. Do you know how many OCS runs the OCS
 3     the heart, but with all the diagnostic tools        3   specialist from Mayo who was responsible for the
 4     that we currently have, the -- the heart was        4   perfusion on this heart had been on?
 5     excellent.                                          5       A. I don't. I haven't counted.
 6        Q. Well you thought the heart was                6       Q. Would it surprise you to know that she
 7     excellent, but now we know, in retrospect, your     7   testified yesterday that it was probably
 8     best hypothesis is there was something wrong        8   something like six or seven at the time she did
 9     with that heart; right?                             9   this run?
10        A. The --                                       10       A. I think there were two normally. I
11           No. No. The heart was excellent by           11   think there were two perfusionists normally.
12     the, you know, criteria of the International       12       Q. Okay.
13     Society of Heart and Lung Transplantation, you     13       A. So you have the count. I don't know
14     know, published last year. It checked all the      14   the count of how many have they gone.
15     boxes for an optimal, excellent heart.             15       Q. And as for whether the OCS specialists
16        Q. Wasn't my question though.                   16   in the NOP Program are orders of magnitude more
17           Your best hypothesis is there was            17   experienced than the Mayo people, you just don't
18     something with the tissue in that particular       18   know.
19     heart that made it not able to withstand the       19       A. No. I -- I don't know. But -- but
20     perfusion pressures on the OCS machine like        20   again, they have a conflict of interest. So we
21     every other heart you've ever had on the OCS       21   don't want conflict of interest in the decisions
22     machine did; right?                                22   of -- in heart transplantation.
23        A. Yes, but I couldn't diagnose that.           23       Q. I'm still having a hard time
24        Q. I know you couldn't diagnose that. But       24   understanding the conflict of interest as it
25     your best hypothesis is there was something        25   applies to patient outcomes. Are you suggesting

                                           Page 115                                               Page 117
 1     wrong with that heart; right?                       1   that because these people are paid by
 2        A. Yep.                                          2   TransMedics, they somehow have an incentive to
 3            MR. BRANTINGHAM: Object to the form.         3   not do as good of a job?
 4     Go ahead.                                           4      A. No, they try to do a good job, as any
 5        A. Something that was microscopic and not        5   human being likes to do, but their incentive is
 6     see it with the current diagnosis test again.       6   different. You know, they are not part of the
 7        Q. Well your people didn't see it. We            7   Department of Surgery, so they are not doing
 8     don't know if maybe the more experienced            8   surgery all the time. That is a problem. They
 9     TransMedics people wouldn't have seen it; do we?    9   are just doing procurements. So in any
10            MR. BRANTINGHAM: Foundation.                10   unexpected thing that can happen, it will be
11        A. That's very unlikely.                        11   more difficult to, you know, handle because they
12        Q. Why?                                         12   are not in everyday surgery. And then their
13        A. Because my people are -- are trained         13   incentive is to do more hearts or more lungs.
14     and they work in an academic surgical center.      14   They are -- you know, they do not have an
15     TransMedics is not -- doesn't have a Department    15   incentive for the outcome as I do. I have to
16     of Cardiovascular Surgery. So you would think      16   respond to the patient and the family --
17     that you would like to have heart surgery, you     17      Q. So you're telling --
18     would go to the Department of Cardiovascular       18      A. -- or my institution, et cetera.
19     Surgery, not to a company.                         19      Q. So your testimony is that having people
20        Q. Do you know how many OCS procurements        20   going and procuring these organs, who all they
21     the TransMedics NOP Program have done?             21   do is procure organs rather than actually doing
22        A. I don't.                                     22   surgery, is a problem.
23        Q. So you don't know how many orders of         23      A. Yes.
24     magnitude more they've done than your people at    24      Q. You know that Dr. Altarabsheh literally
25     Mayo.                                              25   only procures organs; right?


                                                                     30 (Pages 114 to 117)
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                                       Thompson Decl. Ex. T
     CASE
      CASE0:24-cv-01097-DTS
           0:24-cv-01097-DTS Doc.
                             Doc. 29-1
                                  83 Filed
                                       Filed 12/26/24
                                             10/01/24 Page
                                                       Page32
                                                            32ofof62
                                                                   62

                                          Page 118                                                 Page 120
 1         A. No.                                          1       A. Yes. When you go and discuss a case in
 2            MR. BRANTINGHAM: Object to form.             2   a conference, that's a technical skill --
 3         A. No, no. He doesn't.                          3       Q. Got it.
 4         Q. That was his testimony under oath.           4       A. -- where you have to learn, you know,
 5         A. No. He doesn't.                              5   how to do things and what's the most appropriate
 6            MR. BRANTINGHAM: Hang on. Just hang          6   treatment.
 7     on. That's not a question.                          7       Q. Let's talk about what he's doing in
 8         Q. Are --                                       8   surgery. I want to make sure I get a complete
 9            Is it your testimony that you think          9   list of the things that you say you've seen Dr.
10     that Dr. Salah Altarabsheh does something else     10   Altarabsheh do in the operating room at Mayo.
11     for Mayo other than procure organs?                11   You said he helps with exposure, sometimes he
12         A. Yes.                                        12   holds stitches. What else have you seen him do
13         Q. Would it surprise you to know that his      13   in the operating room?
14     testimony under oath on Monday was that that       14       A. He helps from the surgery from start to
15     literally is all he does for Mayo?                 15   finish, open the chest, close the chest.
16            MR. BRANTINGHAM: Object to foundation.      16       Q. That would be helping with exposure;
17         A. Well that would have been wrong because     17   right?
18     I have seen him in the -- in the OR working.       18       A. Yes.
19         Q. Doing what?                                 19       Q. So let's --
20         A. Heart surgery.                              20       A. That's surgery.
21         Q. What kind of heart surgery?                 21       Q. Yeah. No, I know.
22         A. Helping in heart surgery, assisting.        22       A. What -- what else -- what else are you
23         Q. Helping. What does he do when he's          23   asking about?
24     helping?                                           24       Q. I'm -- I'm not a heart surgeon and I'm
25         A. Like any doctor helps in surgery, you       25   not the one --


                                          Page 119                                                 Page 121
 1     know, goes in front of the primary surgeon and      1       A. Well --
 2     helps expose, hold the stitches, aspirate, so on    2       Q. Just hold on.
 3     and so forth.                                       3          MR. BRANTINGHAM: Hang on. Yeah,
 4         Q. Okay. I want to get a list of all the        4   just --
 5     things that Dr. Altarabsheh does that makes him     5       Q. You asked me a question. Now I'm going
 6     more competent than these TransMedics people.       6   to try to provide you information to clarify
 7     He helps with exposure sometimes; right?            7   what I'm trying to get at here.
 8         A. Yeah.                                        8          You're the one who testified that the
 9         Q. Okay. He holds stitches. Is that what        9   people in the TransMedics NOP Program aren't as
10     you said?                                          10   competent as your Mayo people because all they
11         A. Yeah. So he's a first assist in             11   do is procure organs. I pointed out to you that
12     surgery.                                           12   Dr. Altarabsheh testified that all he does is
13         Q. Yeah. What else have you seen him do?       13   procure organs. And now you're saying that's
14         A. Well he goes to the conferences.            14   not true, I've seen him do stuff in the OR.
15     There's morbidity and mortality conferences, so    15       A. Correct.
16     he discuss the cases here -- here in the -- in     16       Q. So now I'm trying to get a complete
17     the board reviews, in knowledge-review content,    17   list from you of the things that you have seen
18     all the academic work that is done at the Mayo     18   Dr. Altarabsheh do in a Mayo operating room, and
19     Clinic Department of Cardiovascular Surgery.       19   so far we've got he helps with exposure and
20         Q. Yeah. We're going to stick just with        20   sometimes he holds stitches. What else does he
21     skills for now, so --                              21   do in the operating room?
22         A. That's a skill, sir.                        22       A. Suctions.
23         Q. Technical skills.                           23          MR. BRANTINGHAM: Go ahead.
24         A. Those are technical skills.                 24       A. He separates.
25         Q. Attending conferences?                      25       Q. Separates what?


                                                                     31 (Pages 118 to 121)
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                                       Thompson Decl. Ex. T
     CASE
      CASE0:24-cv-01097-DTS
           0:24-cv-01097-DTS Doc.
                             Doc. 29-1
                                  83 Filed
                                       Filed 12/26/24
                                             10/01/24 Page
                                                       Page33
                                                            33ofof62
                                                                   62

                                           Page 122                                               Page 124
 1        A. The -- the tissues. He does traction,         1   their residency?
 2     countertraction.                                    2       A. In being in heart surgery in general,
 3        Q. Is there --                                   3   residency, residency practice.
 4        A. All -- all the scope of heart surgery.        4       Q. Before they can provide suction.
 5        Q. Is there anything that Dr. Altarabsheh        5       A. Yes. If you do suction in an
 6     does that you wouldn't let a second-year            6   appendectomy then, you know, an intern might be
 7     resident do?                                        7   do it. But you do a complicated Fontan
 8        A. No, he can do way more than that.             8   operation, you need someone with a lot of years
 9        Q. Well you let second-year residents help       9   of experience to provide suction.
10     with exposure; right?                              10       Q. Okay. Holding traction, how
11        A. No, sir.                                     11   experienced --
12        Q. No?                                          12       A. Same, ten or more years. The more the
13        A. No.                                          13   better.
14        Q. Okay. How experienced does somebody          14       Q. I'm -- I'm trying to understand what
15     have to be in their training before you'll let     15   you mean, though, when you say "ten or more
16     them help with exposure?                           16   years." Do you mean ten or more years out of
17        A. They usually a PGY-7, -8, or -9, so          17   medical school, or ten or more years out of your
18     seven years, eight years, or nine years of         18   fellowship?
19     training.                                          19       A. After -- after medical school, general
20        Q. Got it. Got to be in the seventh year        20   surgery, cardiothoracic training, independent
21     of your residency.                                 21   practice, et cetera. Everything.
22           How about holding stitches?                  22          MR. THOMPSON: Gotcha. I'm going to go
23        A. Holding stitches, it could be even           23   ahead and end there, and I'm sure Mr.
24     complicated for a heart surgeon to hold properly   24   Brantingham's got some questions he wants to ask
25     a stitch.                                          25   you.


                                           Page 123                                               Page 125
 1         Q. Okay. How far does somebody have to be       1          MR. BRANTINGHAM: Yeah. I've got a
 2     in their training in the Mayo program before        2   couple questions, doctor. Bear with me one
 3     you'll let them hold stitches?                      3   moment. Sorry.
 4         A. In the Mayo program?                         4                 EXAMINATION
 5         Q. Well you teach Mayo doctors; right?          5   BY MR. BRANTINGHAM:
 6         A. Well I teach Mayo -- Mayo doctors, but       6       Q. I want to ask about the topics that Mr.
 7     they already have learned in general surgery how    7   Thompson was asking you about with regard to
 8     to hold the stitches in simple operations. In       8   publishing -- or about this case or reporting
 9     complicated operations, I tell them how to do       9   some issue to the FDA or some other body. Do
10     it.                                                10   you --
11         Q. Understood.                                 11       A. Uh-huh.
12         A. But it's not the only background that       12       Q. -- remember those questions?
13     Dr. Salah Altarabsheh has.                         13          My question for you is: Number one,
14         Q. Okay. Providing suction. How                14   there are -- are there internal procedures
15     experienced does a doctor have to be to provide    15   within Mayo or -- and/or within your department
16     suction?                                           16   to review adverse events or complications?
17         A. Very experienced.                           17       A. Yes, we have the morbidity and
18         Q. Very experienced?                           18   mortality conferences and the quap -- I mean
19         A. Yes.                                        19   quality conferences to review the --
20         Q. How experienced?                            20       Q. Okay.
21         A. In heart surgery.                           21       A. -- cases and look at the overall
22         Q. How experienced?                            22   statistics.
23         A. Years. More than ten years of heart         23       Q. Okay. And I -- I'm not going to ask
24     surgery.                                           24   you to talk about any of the conclusions of the
25         Q. More than 10 years out of                   25   process because, as you understand, those are --


                                                                     32 (Pages 122 to 125)
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                                       Thompson Decl. Ex. T
     CASE
      CASE0:24-cv-01097-DTS
           0:24-cv-01097-DTS Doc.
                             Doc. 29-1
                                  83 Filed
                                       Filed 12/26/24
                                             10/01/24 Page
                                                       Page34
                                                            34ofof62
                                                                   62

                                          Page 126                                                 Page 128
 1     are legally protected.                              1   far equivalent results, and even equivalent
 2           But with respect to this event and this       2   results in more complex cases. So you take
 3     case, did you follow Mayo procedures in regard      3   cases for farther away, if your recipient needs
 4     to morbidity and mortality in review of the         4   a more complex operation that would need to, you
 5     case?                                               5   know, wait a long time, and any -- anything, you
 6         A. Yeah. The case was presented.                6   know, far away, any technical difficulty or --
 7         Q. Okay. Let's leave it there.                  7   you know, the OCS have shown equivalent results.
 8           Are there people at Mayo in charge of         8   Also, other type of donors, like the DCD donors,
 9     compliance and other issues related to reporting    9   have shown equivalence to brain dead and cold
10     of events?                                         10   storage -- versus cold storage heart
11         A. Yes. There's -- there's a whole team        11   transplantation.
12     in the transplant center for -- to take care of    12       Q. So is this --
13     compliance and report what needs to be reported.   13       A. Even in DCD, the most difficult of the
14         Q. And do you rely on those people to          14   donors.
15     determine what needs to be reported and -- and     15       Q. Okay. Is this a --
16     how and when?                                      16          So is that something that you're
17         A. Yes.                                        17   telling patients is more risky, or -- or not?
18         Q. Okay. Do you have any recollection of       18       A. No, because it's -- this have
19     discussing potential use of -- of OCS with Mr.     19   demonstrated the same results in more complex
20     Leopold or -- and/or his family?                   20   situations, so what I have told them that the --
21         A. It --                                       21   the OCS TransMedics help us, you know, to go
22           I don't recall exactly the 30-minute         22   farther and to be, you know, safer in the most
23     conversation or so, but it is -- you know, in      23   complex operations or in the most complex donors
24     most of the cases I will tell them what type of    24   like -- like the DCDs and that will have
25     procurement we would use, and if it will be the    25   equivalent results. And likely, you know, if


                                          Page 127                                                 Page 129
 1     heart in a box -- I usually refer to the heart      1   they get it transplanted quicker, the waiting-
 2     in a box -- and if the patient understands          2   list mortality of -- you know, will be decreased
 3     what's the heart in a box, then we, you know,       3   because you get access to more organs. Because
 4     tell the other patients. So most of the cases,      4   what you want to avoid is to have -- to avoid
 5     you know, before I -- we go to transplant, I        5   waiting-list mortality, which is somebody in
 6     tell them, but I don't recall the 30-minute         6   cardiogenic shock is a high risk of death, so
 7     conversation from that day.                         7   you want to avoid the waiting-list mortality.
 8         Q. Okay. So am I understanding it               8       Q. Okay. I would like to ask about
 9     correctly that you're saying you don't remember     9   another topic. Mr. Thompson asked you some
10     specifically in this case, but in -- in many       10   questions about OPTN guidance. Do you remember
11     cases or in most cases you will --                 11   that?
12         A. Yeah.                                       12       A. Yes.
13         Q. -- talk to patients about that?             13       Q. And he read to you some language from
14         A. Yeah. I'm almost -- probably in the --      14   an OPTN document, but he actually didn't show
15            When I talk to the people in the            15   you the document; did he?
16     outpatient setting, in a hundred percent I'm --    16       A. He didn't.
17     get sure that I talk to -- to it, and -- and I     17         MR. BRANTINGHAM: I'm going to ask to
18     would say very likely close to a hundred in the    18   just mark this OPTN document as Exhibit 1.
19     inpatient setting.                                 19         (Exhibit 1 was marked for
20         Q. Is there any, in your judgment, in your     20         identification.)
21     practice, is there any -- is there any risk        21   BY MR. BRANTINGHAM:
22     concern associated with using OCS under the        22       Q. If you look on that document, doctor,
23     correct circumstances as compared to cold          23   on the second page there's a header,
24     storage or cold transit?                           24   Recommendations, and then a subheader, Deceased
25         A. Yeah. It is -- it has been shown so         25   Donor Work Group Recommendations. Do you see


                                                                     33 (Pages 126 to 129)
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                                       Thompson Decl. Ex. T
     CASE
      CASE0:24-cv-01097-DTS
           0:24-cv-01097-DTS Doc.
                             Doc. 29-1
                                  83 Filed
                                       Filed 12/26/24
                                             10/01/24 Page
                                                       Page35
                                                            35ofof62
                                                                   62

                                          Page 130                                                Page 132
 1     that?                                               1   make sure that the recipient and/or their family
 2         A. Yes.                                         2   can't track down the donor; right?
 3         Q. What does the language after number          3       A. Yes.
 4     four on that list say?                              4       Q. Right? Explain to me how telling Noah
 5         A. "The following information should not        5   Leopold that the donor was coming from a heart
 6     be disclosed: Religion; specific diagnosis;         6   that had -- person who had died of an
 7     ethnicity and race; sexual orientation; chronic     7   intracranial hemorrhage could possibly have led
 8     illness unrelated to the donation; mechanism of     8   to them tracking down the donor.
 9     injury or death."                                   9          MR. BRANTINGHAM: I think this has been
10         Q. You answered some questions about           10   asked and answered.
11     whether you disclosed, I think, to the patient     11          MR. THOMPSON: Not of him.
12     here the particular mechanism of this donor's      12          THE WITNESS: Yeah.
13     death. Does, as far as you know, does this         13          MR. BRANTINGHAM: Okay.
14     guidance apply to that question?                   14          MR. THOMPSON: And you brought it up,
15         A. Yes, it does.                               15   foolishly, but you did.
16         Q. And what does it mean?                      16          MR. BRANTINGHAM: Well hold on a
17         A. It means that you cannot disclose that,     17   second. You're asking him a completely
18     because if I disclose it, I might be banned from   18   different subject here from what's in -- just
19     my transplant practice.                            19   written in that document.
20           MR. BRANTINGHAM: I have no further           20          MR. THOMPSON: No, I'm not at all.
21     questions.                                         21          MR. BRANTINGHAM: Okay. Go ahead. You
22                 EXAMINATION                            22   can answer the question.
23     BY MR. THOMPSON:                                   23       A. Well if the --
24         Q. Your testimony is that you think that       24          By word of mouth, the transplant
25     OPTN would ban you from your transplant practice   25   professional can talk to each other about


                                          Page 131                                                Page 133
 1     if you told a patient that the donor heart had      1   confidential information and the recipient can
 2     died of an intracranial hemorrhage.                 2   get to know where -- where is that, so they can
 3         A. Yes, they can do that.                       3   identify them, the donor.
 4         Q. Yeah. Have you ever heard of that ever       4       Q. How?
 5     happening?                                          5       A. So they -- they can see who died, you
 6         A. Yes. They have closed programs for           6   know, in, you know, a period, and then talk to
 7     poor compliance.                                    7   other people and talk to other people, and
 8         Q. For telling people that somebody died        8   that's the way that things get usually distorted
 9     of an intracranial hemorrhage?                      9   and that -- do not get it right and they do not
10         A. For -- for poor compliance.                 10   get confidential.
11         Q. That wasn't my question.                    11       Q. Yeah. We're going to stick, though,
12         A. And -- and I'll answer your question.       12   with the actual purpose of the regulation, and I
13     This goes into -- there's a law, the HIPAA law,    13   thought you agreed with me, is to make sure that
14     and they have been questioned, they have been      14   the recipient and/or his family can't track down
15     sued and have to pay huge amounts of money for     15   the donor; right?
16     revealing confidential information and             16         MR. BRANTINGHAM: Foundation.
17     deceased-donor information.                        17       A. No. They -- they --
18         Q. Okay. Both HIPAA and the OPTN               18         The information should be confidential.
19     Guidelines have to do with protecting donor        19       Q. Confidential in order to keep the
20     anonymity; right?                                  20   donor's identity confidential; right?
21         A. Protecting what? Donor --                   21       A. Yes.
22         Q. Donor anonymity.                            22       Q. Okay. So back to my question. Explain
23         A. Yes.                                        23   to me how telling Noah Leopold "Your donor heart
24         Q. The whole reason that you're not            24   is coming from somebody who died of an
25     supposed to disclose certain information is to     25   intracranial hemorrhage" could possibly lead to


                                                                     34 (Pages 130 to 133)
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                                       Thompson Decl. Ex. T
     CASE
      CASE0:24-cv-01097-DTS
           0:24-cv-01097-DTS Doc.
                             Doc. 29-1
                                  83 Filed
                                       Filed 12/26/24
                                             10/01/24 Page
                                                       Page36
                                                            36ofof62
                                                                   62

                                          Page 134                                                Page 136
 1     the donor being identified.                         1         MR. THOMPSON: No. Because what he's
 2        A. Yeah. From one person to another              2   saying is ridiculous. It's patently wrong and
 3     can -- the word of mouth, as I already said.        3   ridiculous.
 4        Q. Word of mouth --                              4       A. No, no, no.
 5        A. And the other -- let me finish -- and         5         MR. BRANTINGHAM: Hold on. Just hold
 6     the other thing that can happen, that family can    6   up. Just, doctor, hold up.
 7     black -- after they get to know after one year      7       A. No, no, no. I don't --
 8     or more what happened, they can, you know,          8         Listen, --
 9     blackmail donors or vice versa to say about any     9       Q. And I'm going to be incredulous about
10     confidential like, you know, this donor, we are    10   it.
11     going to let the people know that this human       11       A. -- I'm not going to accept any insults
12     being, you know, was a drug addict and give --     12   from you.
13     you know, that information and blackmail people.   13       Q. Okay. So stick with my question.
14     So we want to avoid any, you know, extortion       14       A. Can you retract your insults?
15     practices --                                       15       Q. Stick with my --
16        Q. Again, --                                    16         No.
17        A. -- as well.                                  17       A. Can you retract your insult?
18        Q. -- in order for that to happen, the          18       Q. What you're saying --
19     recipient's family would have to know who the      19       A. Don't insult me.
20     donor is; right?                                   20       Q. What you are saying makes no sense to
21        A. Yeah. They can find out.                     21   me, and so I am trying to figure out what it is
22        Q. How? You haven't explained it to me.         22   that you're saying.
23     You said word of --                                23       A. Well you have --
24        A. Well I did it. I did --                      24         MR. BRANTINGHAM: Please let him
25        Q. Hold on. Hold on.                            25   explain.

                                          Page 135                                                Page 137
 1           MR. BRANTINGHAM: Let him finish the           1       Q. First let me ask the question.
 2     question.                                           2       A. Yeah. I already answered to you.
 3        Q. Let me finish my question.                    3   There could be somebody in the Idaho hospital
 4           You've said "word of mouth." Explain          4   that is a friend of somebody as a whole -- at
 5     to me specifically, word of mouth between who       5   Mayo that, you know, knows about the donor and
 6     and who is somehow going to lead this family in     6   they will -- can be talking to each other, so we
 7     Florida to know specifically that this heart        7   cannot reveal any details of the case. And that
 8     came from one individual person in Idaho that       8   is the way it's mandated and I don't have to
 9     had an intracranial hemorrhage.                     9   explain it to you any further.
10        A. Let's -- let's say that there's              10       Q. Got it. You realize that even this
11     friends, that one friend works in Idaho and        11   part of the guidance that says cause of death
12     other works at the Mayo Clinic --                  12   should not be given, Mr. Brantingham didn't read
13        Q. But they don't know it's coming from         13   the rest of that sentence, did he, where it says
14     Idaho.                                             14   "unless the information is clinically relevant
15        A. Well but they know there will be donor       15   to the transplant recipient informed consent
16     and they will match the time.                      16   discussion." Do you see that part that Mr.
17        Q. How --                                       17   Brantingham left out?
18        A. Yeah.                                        18          MR. BRANTINGHAM: I didn't actually
19        Q. Match what times?                            19   read any of it. I had the witness read it,
20        A. Yeah.                                        20   but --
21        Q. What are you talking about?                  21       Q. Oh, you left it out then.
22           MR. BRANTINGHAM: Hold on one second.         22       A. I -- I read that, so all the relevant
23     You're -- you're explicitly asking him to          23   information was disclosed to Mr. Noah.
24     speculate. Now you're getting upset that he's      24          MR. BRANTINGHAM: And what's -- what's
25     speculating as you're asking him to, I mean --     25   the language you're talking about? Because he


                                                                     35 (Pages 134 to 137)
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                                       Thompson Decl. Ex. T
     CASE
      CASE0:24-cv-01097-DTS
           0:24-cv-01097-DTS Doc.
                             Doc. 29-1
                                  83 Filed
                                       Filed 12/26/24
                                             10/01/24 Page
                                                       Page37
                                                            37ofof62
                                                                   62

                                           Page 138                                               Page 140
 1     read number four.                                   1   transplantation with the OCS device. So I talk
 2           MR. THOMPSON: Right -- right. No.             2   to each one, it will be completely irrelevant.
 3     "specific age or circumstance of death..."          3      Q. Did you know that your friends at
 4           Oh, you had him read number four?             4   TransMedics specifically say physicians and
 5           MR. BRANTINGHAM: Yeah. That's when            5   patients should be aware of the results of the
 6     you put the document in front of the witness.       6   PROCEED trial?
 7         Q. It's --                                      7         MR. BRANTINGHAM: Object to the form of
 8           Isn't this also --                            8   the question.
 9           MR. THOMPSON: Stop. Stop.                     9      A. Yeah.
10         Q. Are you telling me that you think that      10      Q. Do you see that?
11     number four here overrules your legal obligation   11      A. All right. I -- I haven't read this.
12     to provide informed consent to your patients?      12      Q. Okay.
13         A. I do prefer --                              13      A. I --
14           I do provide informed consent.               14      Q. So this is --
15         Q. Wasn't my question.                         15      A. But -- but --
16         A. I don't know. I don't know.                 16         MR. BRANTINGHAM: Just let him -- let
17         Q. Okay.                                       17   him ask a question.
18         A. I -- I provide informed consent to the      18      A. You ask me something. So but as, you
19     patient. All the thing that you can do is          19   know, I told you the answer that the study was
20     speculation.                                       20   equivalent, the PROCEED II trial says that it's
21         Q. All right. Let's do some more talk          21   equivalent.
22     about informed consent.                            22      Q. Okay.
23           You told Mr. Brantingham now after the       23      A. So I, indirectly, I -- I tell them.
24     break that hundred percent of the time, when you   24      Q. Great. So now I'll ask you a different
25     talk to a patient in an outpatient setting, you    25   question.


                                           Page 139                                               Page 141
 1     talk to them about the heart in a box.              1       A. But I do not ask about the PROCEED.
 2         A. Yes, sir.                                    2       Q. Right.
 3         Q. Okay. What do you tell them?                 3       A. That would be completely irrelevant.
 4         A. That there's, you know, different ways       4       Q. Do you tell your patients that in the
 5     of preserving the heart; one is cold storage        5   PROCEED trial overall survival was lower for OCS
 6     that allows four hours, and then we have OCS,       6   patients than in patients who were given hearts
 7     you know, the heart in a box, that give us at       7   preserved with cold static preservation?
 8     least eight hours, but we don't know actually       8       A. That's wrong. It's not significant.
 9     how long, and that's it.                            9       Q. What's that?
10         Q. You don't tell them anything else.          10       A. That's wrong. It's not significant.
11         A. It's a -- it's --                           11       Q. Wrong and not significant.
12            That it's a good tool that is               12         Are you going to tell your friends at
13     equivalent to cold storage.                        13   TransMedics that they should edit that part of
14         Q. Do you tell them about the results of       14   their user manual that says physicians and
15     the PROCEED trial?                                 15   patients should know about that?
16         A. Not as specifically.                        16         MR. BRANTINGHAM: Object to the form.
17         Q. Why not?                                    17       Q. Go ahead and read it. I'm putting it
18         A. Because if I have -- start talking          18   in front of you like Mr. Brantingham wants me
19     about all the trials, you know, I'll finish, you   19   to. Read that bullet point to yourself. Read
20     know, in several years.                            20   that whole thing and tell me when you're done.
21         Q. I'm not talking about all the trials.       21       A. (Witness complying.)
22     I'm just talking about one trial.                  22         Well when I --
23         A. Well this --                                23       Q. Just --
24            I mean if you see the literature,           24         Sorry. I told you to read it and tell
25     there's around 20 studies on heart                 25   me when you're done. Are you done?


                                                                     36 (Pages 138 to 141)
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                                       Thompson Decl. Ex. T
     CASE
      CASE0:24-cv-01097-DTS
           0:24-cv-01097-DTS Doc.
                             Doc. 29-1
                                  83 Filed
                                       Filed 12/26/24
                                             10/01/24 Page
                                                       Page38
                                                            38ofof62
                                                                   62

                                          Page 142                                                Page 144
 1         A. Yeah, I'm done.                              1      A. (Witness shaking head.)
 2         Q. Do you comply with that?                     2      Q. Your answer?
 3         A. They are not my governing tool,              3      A. No, they are not a governing body. I
 4     TransMedics.                                        4   do not do what their website says.
 5         Q. So is your answer "No, I do not comply       5      Q. Okay. This came off the FDA website --
 6     with that?"                                         6      A. Uh-huh.
 7         A. They -- I'm --                               7      Q. -- for your information.
 8            I do not have compliance issues with         8      A. Okay.
 9     TransMedics, so I -- I -- there's no compliance     9      Q. So you don't do what the FDA website
10     with TransMedics.                                  10   says.
11         Q. Do you do --                                11      A. Yeah.
12         A. I'm a customer.                             12          MR. BRANTINGHAM: Well foundation and
13         Q. Do you do what this part of the manual      13   form.
14     tells you to do?                                   14      Q. Well I can bring it up on the computer,
15         A. Indirectly, yes.                            15   but --
16         Q. How?                                        16      A. No. You told me that it was a
17         A. When I said that it's around the same       17   TransMedics sign.
18     results.                                           18      Q. No. I told you it's the TransMedics
19         Q. Right. You tell them something that's       19   manual --
20     completely different and contradictory to what     20      A. Well then --
21     this tells you to tell them.                       21      Q. Hold on.
22         A. Well -- well you could read the whole       22      A. All right.
23     article and you will see that there's no           23      Q. We can't talk over one another.
24     significant difference.                            24      A. Yeah. You should follow that advice to
25         Q. Okay. Listen to my question, please.        25   yourself.

                                          Page 143                                                Page 145
 1           Is it your testimony --                       1          MR. BRANTINGHAM: Please go ahead and
 2         A. Listen to my answer.                         2   let's have a question. And just let him --
 3         Q. Is it your testimony that when you           3          MR. THOMPSON: We do have a question.
 4     advise patients about the OCS, you actually tell    4          MR. BRANTINGHAM: -- finish, doctor,
 5     them something contrary to what the manufacturer    5   and then let's have an answer.
 6     advises you to tell them?                           6       Q. Go ahead and just read that to yourself
 7         A. Well it's not contrary. It is that           7   and tell me when you're done.
 8     the -- it's lower, but it's not significant, so     8       A. (Witness complying.)
 9     it needs more elaboration there to get the --       9          I'm done.
10     the fact to be truth. So it's not                  10       Q. You don't do that either; do you?
11     contradictory.                                     11       A. No.
12         Q. When you meet with patients and tell        12       Q. And the reason you don't do these
13     them about the heart in the box, do you provide    13   things is because you're not governed by
14     them with the OCS Heart System Patient Brochure?   14   TransMedics; right?
15         A. No. I'm not --                              15       A. I'm not governed by TransMedics, nope.
16         Q. Do you --                                   16       Q. TransMedics is good enough to pay for
17         A. -- not a representative of the company.     17   you to stay at the Ritz-Carlton in Saint Thomas,
18         Q. Do you provide your patients with any       18   but not good enough to give you information
19     written materials?                                 19   about their own device to pass along to your
20         A. Probably the transplant coordinators,       20   patients.
21     but I do not.                                      21          MR. BRANTINGHAM: Hang on. I'll object
22         Q. Got it.                                     22   to the form and the argumentative nature of the
23           So "Patients should review the OCS           23   question. You can answer.
24     Heart System Patient Brochure," you don't comply   24       A. I went to investigators meeting in
25     with that part either; do you?                     25   TransMedics. I'm interested in academic work


                                                                     37 (Pages 142 to 145)
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                                      Thompson Decl. Ex. T
     CASE
      CASE0:24-cv-01097-DTS
           0:24-cv-01097-DTS Doc.
                             Doc. 29-1
                                  83 Filed
                                       Filed 12/26/24
                                             10/01/24 Page
                                                       Page39
                                                            39ofof62
                                                                   62

                                           Page 146                                               Page 148
 1     and to provide life-saving, cutting-edge therapy    1      Q. Were there other Mayo folks from your
 2     to the patients. Other than that, there's no        2   department who were at the meeting?
 3     conflict of interest.                               3      A. I remember Dr. Spencer was there.
 4         Q. Do you think TransMedics is a good           4      Q. Uh-huh.
 5     company?                                            5      A. From lung transplant, Dr. Saddoughi.
 6         A. They have produced a device that have        6      Q. Do you know if this directive that you
 7     resulted in increasing -- in increasing heart       7   gave to the people who wanted to do the case
 8     transplants and increasing, you know,               8   report to keep this whole thing under wraps went
 9     life-saving procedures. In that sense, they are     9   to Dr. Knop as well?
10     a good company.                                    10          MR. BRANTINGHAM: Object to the form of
11         Q. Do you think that the device is a good      11   the question.
12     device?                                            12      A. That was -- that was not the directive.
13         A. Yes, that's why I use it.                   13      Q. The directive was "We're not going to
14         Q. Do you think it is a well-designed          14   publish anything about this outside of Mayo
15     device?                                            15   until the lawsuit's over."
16         A. Yes, I think it is well designed.           16          MR. BRANTINGHAM: Object to form. You
17         Q. So TransMedics has put out a                17   can answer.
18     well-designed, good device that you use for your   18      A. Yeah. Let's -- let's wait.
19     patients all the time; right?                      19      Q. Okay. So the directive to not talk
20         A. That is approved by the FDA.                20   about this outside of Mayo until the lawsuit's
21         Q. That's approved by the FDA as well.         21   resolved, was that passed on to Dr. Knop as far
22           Their manual is also approved by the         22   as you know?
23     FDA; is it not?                                    23      A. I don't know about that. I remember
24           MR. BRANTINGHAM: Foundation.                 24   he --
25         Q. If you know.                                25          I don't remember him doing the case-


                                           Page 147                                               Page 149
 1        A. If you tell me, I can't -- I have no          1   report work. I remember the transplant fellow
 2     reason not to believe you.                          2   and a guy from intensive care that I don't
 3        Q. When you were at this meeting in              3   remember his name, but I don't know anything
 4     Prague, were you there with Dr. Knop?               4   about Dr. Knop.
 5        A. I don't remember if he went or not.           5       Q. And you told me --
 6        Q. I will tell you that he testified under       6       A. In terms of case reports.
 7     oath this morning that he attended the              7       Q. Do you remember the name of the
 8     International Society of Heart and Lung             8   transplant fellow?
 9     Transplantation meeting in Prague. That's the       9       A. Yeah, actually. Chauhan.
10     same meeting that you were talking about when      10       Q. Spell that for us, please.
11     somebody from TransMedics came up to you and       11       A. A-k-s-h-a-i space C-h-a-u-h-a-n.
12     said some lawyer's been sniffing around; right?    12       Q. Is that a he or a she?
13           MR. BRANTINGHAM: Object to form.             13       A. He.
14        A. Well again, I don't have any reason not      14       Q. Is he still here at Mayo?
15     to believe you. You're making a statement. I       15       A. No. He finished his transplant
16     have no reason not to believe you that Knop --     16   fellowship.
17     Dr. Knop went to Prague to the IHLT meeting.       17         MR. BRANTINGHAM: It's the one in the
18        Q. Dr. Knop testified that during one of        18   medical record that you've asked about.
19     the question-and-answer sessions he got up and     19         MR. THOMPSON: That's the one that
20     he actually provided information about what        20   we're -- yep. Got it.
21     happened in this case. Did you know that?          21       Q. The cardiology person who wanted to do
22        A. I didn't know that.                          22   a case report, do you remember his or her name?
23        Q. So you must not have been at that            23       A. No. They are -- you --
24     question-and-answer session.                       24         Intensive care I think is most likely,
25        A. Not that I remember.                         25   not cardiology, intensive care fellow. I


                                                                     38 (Pages 146 to 149)
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                                       Thompson Decl. Ex. T
     CASE
      CASE0:24-cv-01097-DTS
           0:24-cv-01097-DTS Doc.
                             Doc. 29-1
                                  83 Filed
                                       Filed 12/26/24
                                             10/01/24 Page
                                                       Page40
                                                            40ofof62
                                                                   62

                                         Page 150                                                              Page 152
 1     don't -- I don't remember.                        1               CERTIFICATE
 2        Q. Do you --                                   2           I, Nicole A. Huber, hereby certify that
 3        A. But I remember receiving an email about     3    I am qualified as a verbatim shorthand reporter;
 4     data. I said wait, please.                        4    that I took in stenographic shorthand the
 5        Q. You got an email from them about it.        5    testimony of MAURICIO VILLAVICENCIO at the time
 6        A. Yeah.                                       6    and place aforesaid; and that the foregoing
 7        Q. And did you respond via email as well?      7    transcript consisting of 151 pages is a true and
 8        A. Yeah, yeah. The --                          8    correct, full and complete transcription of said
 9           I believe so. Yeah.                         9    shorthand notes, to the best of my ability.
10           MR. THOMPSON: I'll go ahead and            10           Dated at Baxter, Minnesota, this 20th
11     request that. All right.                         11    of August, 2024.
12           MR. BRANTINGHAM: I didn't totally          12
13     track the description of it, but I'm sure that   13
14     you will send a follow-up communication.         14
15           (Discussion off the record.)               15
16     BY MR. THOMPSON:                                 16                        NICOLE A. HUBER
17        Q. If the family, Noah's family, testifies    17                        Notary Public
18     that neither you nor anybody else told them      18
19     anything about the OCS, are you going to deny    19
20     that?                                            20
21        A. I, again, you know, I cannot be a          21
22     hundred percent sure, but very likely I talked   22
23     to him about it.                                 23
24           MR. THOMPSON: All right. I don't have      24
25     any other questions.                             25


                                         Page 151                                                              Page 153
 1           MR. BRANTINGHAM: I don't have any          1           SIGNATURE PAGE
 2     questions. We will read and sign.                2      I, MAURICIO VILLAVICENCIO, the deponent,
 3           THE REPORTER: Okay. Thank you. Off         3    hereby certify that I have read the foregoing
 4     the record.                                      4    transcript, consisting of 151 pages, and that
 5           (Deposition concluded at 4:17 p.m.)        5    said transcript is a true and correct, full and
 6                                                      6    complete transcription of my deposition, except
 7                                                      7    per the attached corrections, if any.
 8                                                      8    PAGE LINE         CHANGE/REASON FOR CHANGE
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19                                                      19     Date          Signature of Witness
20                                                      20
21                                                      21            WITNESS MY HAND AND SEAL this _____
22                                                      22            day of _________________, 2024.
23                                                      23
24
                                                        24   (NAH)        ___________________________________
25
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                                                                       39 (Pages 150 to 153)
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   CASE
    CASE0:24-cv-01097-DTS
         0:24-cv-01097-DTS Doc.
                           Doc. 29-1
                                83 Filed
                                     Filed 12/26/24
                                           10/01/24 Page
                                                     Page41
                                                          41ofof62
                                                                 62

                                                                                Page 154

        A            85:19              119:5 120:10     anticipate 83:5    article 31:19,22
A-k-s-h-a-i        adjustments          121:12,18          84:2               31:25 43:1
  149:11             81:25              122:5 123:13     anticoagulated       142:23
ability 152:9      advance 97:13      alternatives         88:11,14         asked 10:6 24:19
able 49:15 72:24   advantage 78:8       92:21            anybody 9:12         27:1 33:12
  95:5,14 114:19   advantages         amounts 131:15       26:14,20 27:6      34:2,11,11,21
abnormal 89:23       77:13,15,18      and/or 24:20         59:25 100:25       35:2 36:17
Absolutely         adverse 125:16       125:15 126:20      101:15,19          46:21,24 47:5
  94:22            advice 144:24        132:1 133:14       102:22 103:5       56:13 58:23
abstract 43:8,8    advise 143:4       Andrew 2:7           103:19 104:11      66:6 121:5
  43:16 44:7       advised 102:4      Andrew's 24:6        105:1 107:24       129:9 132:10
  45:5               107:23           anesthesia 82:11     150:18             149:18
academic 43:17     advises 143:6        82:16            aorta 79:25 80:1   asking 22:14
  115:14 119:18    affect 98:3,4      anesthesiologist     80:2               25:8,21,25
  145:25           aforesaid 152:6      89:21,25         aortic 32:9 79:6     35:20,25 36:5
accept 56:16       afternoon 72:6     anesthetize 83:7     79:11 80:11        37:5 56:8
  136:11           age 20:7 138:3     anesthetized         87:16 94:2         99:11 101:23
acceptance         ago 11:15 34:2       82:5,21            95:7 113:9         120:23 125:7
  17:11            agree 22:14,16     Ann 73:20          APPEARAN...          132:17 135:23
accepted 42:7        22:17,20 75:5    Anna 2:12            2:1                135:25
  44:21 59:22        75:9 112:3       anonymity          appendectomy       asleep 26:25
accepts 17:22      agreed 133:13        131:20,22          124:6            aspirate 119:2
access 129:3       ahead 33:3         answer 28:5        applies 116:25     assess 81:16
accessing 83:12      34:13,14,22        29:20,25 32:17   apply 130:14         111:12
accommodation        40:25 44:15        33:3 34:12,23    approach 33:10     assessed 113:14
  15:6               51:24 62:20        36:5,6,9,22        57:13            assessment
accumulation         94:14,20 100:1     37:2,6 38:2,20   appropriate          64:16,23 78:17
  86:13              105:4 107:22       40:25 51:18,24     35:7,17 45:9     assist 119:11
accurate 108:11      109:9 113:23       55:16,19,21        120:5            assistant 88:23
accuse 33:8          115:4 121:23       56:7,8 60:7      approved             88:25
  35:23              124:23 132:21      70:20 100:2        146:20,21,22     assisting 118:22
accused 35:25        141:17 145:1,6     103:25 104:1     approximately      associated
achieve 6:19         150:10             106:25 131:12      1:20               127:22
acid 25:17         air 84:6             132:22 140:19    April 100:24       assume 10:19
actual 51:11,14    airplane 84:6        142:5 143:2      Arbor 73:21          16:17,23 83:11
  133:12           airport 29:10        144:2 145:5,23   argumentative      assuming 55:4
acute 74:16        Alaska 21:1,2        148:17             145:22           Atlantis 15:13
addict 42:12       alcoholic 113:19   answered 11:1      Arizona 8:16       atrial 67:13
  54:7,14,24       allow 71:12          34:11,22 36:17     21:13            atrioventricular
  55:13 57:1       allowing 82:16       37:3 46:13       arrival 84:3,7       91:4
  113:18 134:12    allows 106:16        58:22 130:10     arrive 28:18       atrium 91:5
additional 86:21     107:5 139:6        132:10 137:2     arrived 7:5        attached 153:7
adequate 81:14     allude 60:7        answering 36:3     arrives 32:11      attempt 91:10
adhesions 68:15    Alomari 31:4         56:10 59:12        33:22 38:12        92:22 95:11
  68:16            Altarabsheh        answers 56:16        82:18            attended 147:7
adjusting 85:8       23:2 24:10,20      56:16 63:11      artery 91:19       attending 11:8
                     117:24 118:10    antibodies 77:16     92:6               119:25

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                               Thompson Decl. Ex. T
   CASE
    CASE0:24-cv-01097-DTS
         0:24-cv-01097-DTS Doc.
                           Doc. 29-1
                                83 Filed
                                     Filed 12/26/24
                                           10/01/24 Page
                                                     Page42
                                                          42ofof62
                                                                 62

                                                                             Page 155

August 1:13,20   14:19 15:11       beyond 66:2        boxes 114:15        151:1
 4:3 49:18       16:10             Bibeane 2:3        brain 61:10        Brantingham's
 152:11         ball 49:10,13      big 40:2 67:3       89:15 128:9        124:24
author 44:18    ban 130:25           85:24            Brandon 2:3        break 108:12
AV 67:15        banned 59:3        big-time 41:23      4:10               138:24
available 57:7   130:18            bigger 85:25       Brantingham        bring 35:5 67:22
 57:18 73:14    based 32:5           86:23             2:7 3:4 4:10,15    144:14
 106:8           79:15 85:2        bit 5:13 6:15       4:21,24 18:18     Brochure
average 8:21,22  108:21,22,24        39:10 80:10       24:3,3,4,6,24      143:14,24
 9:4 19:16 20:2 basic 112:3          82:11             26:4,7 28:4       broke 87:12
 20:10          basically 84:13    bites 85:25 86:1    29:24 32:15,17    brought 42:18
avoid 77:19 98:9 92:13             BiVAD 91:11         32:24 33:1         132:14
 129:4,4,7      basis 50:11          92:12,12,18,22    34:8,14,20        bruised 41:3,7,9
 134:14         Baxter 152:10      black 134:7         36:8,13,16,19      41:13,21 87:7
aware 16:21     Bear 125:2         blackmail 134:9     36:22 37:25       bruising 39:11
 23:11,16,23    becoming 87:6        134:13            38:19 40:24        41:24 42:2
 96:17 107:6    beginning 41:7     bled 79:9 87:13     44:14 50:1,6,9     80:4,5,8,15
 140:5           82:2 88:21        bleed 78:7 79:7     51:10,13,17,23    bulk 95:13 112:8
awareness       Behalf 2:2,6         79:20             52:19 55:24       bullet 141:19
 106:18         believe 4:15       bleeding 41:6       56:1 60:6         bunch 56:12
                 15:13 18:5          58:19 78:12,24    62:15 63:23       busy 56:3
       B         103:6 105:5,13      79:1,3,4 80:7     70:19 75:6,8      bylaws 50:14
back 11:16       147:2,15,16         87:7,9,24 88:2    94:13,19 99:23    bypass 84:23
 33:24 34:21     150:9               88:6 89:7,20      100:1 102:13       88:13,15 90:17
 36:9 56:23     bell 31:12           90:5,20 91:3,9    103:7,12
 57:14 60:20    bells 31:23          92:20 93:6        104:12 105:3              C
 61:18 63:13    benefit 15:1         114:1             107:1,12,21,25    C 2:12 4:1 61:14
 85:16 86:22     97:1              blood 79:25 80:1    108:4,18,22         61:14,15 62:7
 87:9 91:6,20   benefits 47:21       86:12,13 87:15    109:8 112:17        63:3 152:1,1
 104:5 106:24    47:22 48:1,12       90:11,11,20       113:22 115:3      C-h-a-u-h-a-n
 113:25 133:22   49:17 58:1,2        91:15,18 113:8    115:10 118:2,6      149:11
background       97:3                113:16            118:16 121:3      calculation 81:6
 123:12         best 28:15 37:15   board 119:17        121:23 125:1,5    call 17:9 37:19
backgrounds      60:14 69:1        body 28:20 29:3     129:17,21           65:6,9,10 71:1
 35:19           72:19 79:14         48:2,14 91:22     130:20 132:9        71:9 82:6,22
bad 5:18 24:12   84:8 89:23          125:9 144:3       132:13,16,21        84:14 85:20
 25:17,22 26:14  94:17 95:4        boost 7:4           133:16 135:1      called 5:1 64:15
 26:15 27:2,17   98:20,24 103:8    borderline 76:19    135:22 136:5        64:20 91:3
 27:25 30:3      114:8,17,25       bore 109:6          136:24 137:12       99:17,19
 32:20 33:14     152:9             born 68:19          137:17,18,24      canal 67:15
 34:6,19 35:4   better 9:11        Boston 11:8         138:5,23 140:7    candidate 67:17
 35:13,21,23     17:13,19,21         14:8 15:7,25      140:16 141:16     cannula 91:15
 36:20 37:9,21   29:8 33:11        bothered 112:24     141:18 144:12       92:5
 95:2 97:25      40:18 76:3,6      box 38:25 39:15     145:1,4,21        cannulas 91:14
 98:9,9 107:19   76:11 77:22         41:12 42:5        146:24 147:13       91:18
 108:9           111:20 112:1,5      127:1,2,3         148:10,16         cannulate 84:5
Bahamas 14:18    124:13              139:1,7 143:13    149:17 150:12     cannulated


                    STIREWALT & ASSOCIATES
      MINNEAPOLIS, MN 1-800-553-1953 info@stirewalt.com

                            Thompson Decl. Ex. T
   CASE
    CASE0:24-cv-01097-DTS
         0:24-cv-01097-DTS Doc.
                           Doc. 29-1
                                83 Filed
                                     Filed 12/26/24
                                           10/01/24 Page
                                                     Page43
                                                          43ofof62
                                                                 62

                                                                                Page 156

  84:13,22           126:24 127:4       72:10 87:9         35:16,21,24        79:23 80:14
caption 4:4          127:11,11        checked 114:14       36:20 37:9,17      95:5
cardiac 58:17,18     128:2,3          chest 57:1 66:5      37:21 38:14,17   comes 9:4
  75:11 102:25     catastrophe          69:12 72:4,16      40:4,10 44:22    coming 54:7,14
  105:17             22:21 107:11       81:17 83:9         45:3 65:3,5        57:1 59:16
cardiogenic        catastrophic         84:12,18,21,21     105:6 112:15       62:25 63:17
  75:10 76:4         40:21 98:23        85:17 120:15       112:20             91:20 132:5
  129:6            catch 18:3,5,12      120:15           clinically 37:14     133:24 135:13
cardiologist         18:20            Children's 68:21     43:21 44:13      commencing
  48:21            cath 69:9 72:21      68:24              137:14             1:19
cardiology 60:11   catheterization    Chilean 23:21      clips 72:15 73:1   committing
  105:14 149:21      69:10 75:11      Choice 31:21       close 86:1,10        32:22
  149:25           caths 69:8         choose 20:23         120:15 127:18    common 83:3
cardioplegia       cause 53:5 80:2    chosen 74:22,24    closed 67:25       communicate
  20:21              89:17 93:10      chronic 130:7        86:6,11 131:6      23:19
cardiothoracic       137:11           cigarette 113:19   closure 32:8       communication
  124:20           caused 93:16       circuits 91:24     clots 86:13          150:14
Cardiovascular       94:1 95:8        circulatory        clotting 90:13     communicatio...
  115:16,18          98:22              74:17,20 76:18   co-investigator      103:8 108:1,4
  119:19           causing 80:7         91:17 92:1         13:6,6           community 97:1
care 25:7 31:20    caution 47:7       circumstance       coach 16:11,12       106:18
  37:22 51:2       cautious 45:6        138:3            coagulation        company 111:22
  98:5 126:12      cavity 86:11       circumstances        77:22,25 78:20     111:23 115:19
  149:2,24,25      center 101:7         127:23             78:21,23 89:22     143:17 146:5
carefully 45:8       110:21 115:14    Ciresi 2:4,12,12   coagulopathy         146:10
carries 76:25        126:12           Civil 1:5            77:19 78:1,4,6   Comparative
case 4:4 12:10     centers 20:23      claim 96:12          90:2,4,5,7         77:2
  13:5 21:22         103:2 113:4        98:19 104:5,10   cocoon 105:2       compared
  22:2,7 23:8,25   CEO 13:14            104:16,19,23     cold 20:21 21:2      127:23
  28:16 63:19      certain 131:25       105:10 106:2       127:23,24        comparison
  66:21,25 68:3    certainly 77:23      106:20,22          128:9,10 139:5     43:24
  75:3 80:4,12       78:1 98:1 99:1   clarify 121:6        139:13 141:7     compensating
  81:24 82:12      certify 152:2      clarity 36:10      colleague 35:23      85:21
  84:17 85:2         153:3            class 16:11          36:1 91:2        competent 29:17
  86:21 88:8       cetera 117:18      clean 5:11         colleagues 31:8      119:6 121:10
  96:2,3,6,16        124:21           clearly 42:24        32:1,10,21       complete 120:8
  97:10,10,23      chairman 101:4       55:12              35:6 37:20         121:16 152:8
  102:1 103:1,5      101:6            Clinic 1:7,17        38:15 48:5         153:6
  105:12,19        chance 55:7          2:13 4:5 12:13     60:10 97:9       completely
  107:13 120:1     CHANGE 153:8         16:7 37:23         101:11 102:25      24:14 30:18
  125:8 126:3,5    CHANGE/RE...         38:11 96:5         105:11             86:6 132:17
  126:6 127:10       153:8              119:19 135:12    color 39:4,5         140:2 141:3
  137:7 147:21     characteristics    clinical 6:22      Columbia 11:25       142:20
  148:7 149:6,22     17:6               11:7 28:16       combined 76:21     completes 4:16
case- 148:25       charge 126:8         30:3 32:20         77:5,13          complex 128:2,4
cases 41:9 86:18   Chauhan 149:9        33:14 34:6,17    come 51:15 55:2      128:19,23,23
  119:16 125:21    check 70:25          34:19 35:4,13      71:10,10 79:15   complexity

                    STIREWALT & ASSOCIATES
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                               Thompson Decl. Ex. T
   CASE
    CASE0:24-cv-01097-DTS
         0:24-cv-01097-DTS Doc.
                           Doc. 29-1
                                83 Filed
                                     Filed 12/26/24
                                           10/01/24 Page
                                                     Page44
                                                          44ofof62
                                                                 62

                                                                                 Page 157

  84:17              116:20,21,24        100:4 126:23       81:18,19          129:24
compliance           146:3               127:7            current 94:16      deceased-donor
  126:9,13 131:7   congenital 66:18    conversations        113:14 115:6      131:17
  131:10 142:8,9   Conlin 2:4,12,12      102:17           currently 101:9    December
complicated        consent 47:17       convicted            114:4             104:18,22
  83:6 111:16        52:16 53:12,20      113:19           customer 142:12     105:23
  122:24 123:9       54:4 57:6,9,17    coordinator        cutting-edge       decide 65:1
  124:7              137:15 138:12       59:20,24 60:11     146:1            decided 32:7
complications        138:14,18,22        60:18 61:13                          90:22
  125:16           consented 55:13       74:2                    D           deciding 112:25
comply 142:2,5     conservative        coordinators       D 4:1              decision 30:4
  143:24             21:21               143:20           Daly 54:1,5,5,12    53:15 65:8
complying          consider 22:2,7     coronary 65:19      54:13 55:5         104:9
  141:21 145:8       47:7 71:16,22     correct 10:15       56:24 75:19,23    decisions 96:21
component          considered            59:14 87:2        89:4               116:21
  89:10              19:18               89:23 121:15     damage 68:11       decrease 34:24
computer 65:20     consisting 152:7      127:23 152:8      71:20              35:10
  65:21 144:14       153:4               153:5            damaged 66:19      decreased 129:2
con 57:8           consult 48:4        corrections        Danielle 26:24     dedicated
concentrated         53:23,23            153:7            data 89:15          110:25
  90:11,20         consulted 48:15     correctly 127:9     109:20 150:4      defect 67:12,13
concept 112:3      consulting 15:2     count 6:23 13:20   database 106:13    Defendant 1:8
concern 66:13      contact 38:15         13:25 83:21       106:16 107:4,7     2:6
  94:24 95:1         89:4                88:2 116:13,14   Date 153:19        demonstrated
  127:22           contacted 99:18     counted 116:5      Dated 152:10        78:9 81:2
concluded 151:5    content 119:17      countertraction    day 45:18,19,20     128:19
conclusion 45:5    continue 87:14        122:2             45:22 46:2,3      deny 41:17,20
  70:3,6,12        continued 74:21     country 8:9 9:6     73:10,17 74:8      150:19
conclusions        continues 61:3        9:9 19:11         74:10 75:12       denying 89:12
  125:24           continuing          couple 5:9 125:2    112:13,13         department
conference           109:5             course 5:19         127:7 153:22       1:18 18:24
  120:2            contractility         27:14 76:14      days 5:20 16:2,4    115:15,18
conferences          32:5                95:1              16:5 46:1 49:5     117:7 119:19
  119:14,15,25     contradictory       court 1:1 4:7       71:15 75:14        125:15 148:2
  125:18,19          142:20 143:11       5:14              76:10             depend 68:10
confidence         contraindicati...   cover 109:24       DCD 31:22 61:9      111:21
  29:22              65:15 68:5        CPR 73:22           61:9,9,10,22      depends 20:22
confident 64:25    contrary 143:5,7    crack 84:17         63:2 128:8,13      66:20 67:20
confidential       control 89:7        cracked 84:12      DCDs 128:24         82:11 84:16
  59:5 108:20      controversial       created 93:17      dead 61:10         deponent 153:2
  131:16 133:1       63:4,5            creatinine 75:25    128:9             deposition 1:11
  133:10,18,19     controversy         criteria 114:12    death 11:3 18:10    1:15,17 4:5 5:7
  133:20 134:10      35:6              cross-clamp         47:11 53:5         64:8 151:5
confirming         conversation          87:1,5 93:5       129:6 130:9,13     153:6
  89:12              46:10,12 48:11    crystal 49:10,13    137:11 138:3      derangement
conflict 111:11      54:3 58:16        CT 66:4 69:12      debate 33:7         77:25
  111:17,18          59:18 61:22         72:12,15,16,25   Deceased 52:12     describe 32:2

                    STIREWALT & ASSOCIATES
      MINNEAPOLIS, MN 1-800-553-1953 info@stirewalt.com

                                Thompson Decl. Ex. T
   CASE
    CASE0:24-cv-01097-DTS
         0:24-cv-01097-DTS Doc.
                           Doc. 29-1
                                83 Filed
                                     Filed 12/26/24
                                           10/01/24 Page
                                                     Page45
                                                          45ofof62
                                                                 62

                                                                                 Page 158

  85:12 87:4         86:2 87:24         107:2 108:2        62:24,25 63:3      54:24 55:2,8
described 41:8       94:7 110:11        109:3,9 118:25     63:5,7,14,16       55:13 134:12
  79:10 80:22        117:6 132:18       123:15 125:2       63:18 65:16,21    drugs 113:20
description 3:7      139:4 140:24       129:22 136:6       65:25 66:10       ductus 69:5,5
  41:22 93:3         142:20             145:4              67:22 81:2,11      72:21
  150:13           differently 37:24   doctors 11:22       81:13,18 82:4     Duke 101:12
designate          difficult 66:17      70:24 75:2         94:25 98:23       duly 5:1
  108:20             117:11 128:13      96:5,16 106:16     129:25 131:1      dust 96:20 98:15
designed 146:16    difficulty 128:6     107:5 123:5,6      131:19,21,22       98:17 106:1
despite 109:3      diffuse 88:2        document 52:21      132:2,5,8         duty 70:24
details 137:7      diffusely 79:1       53:3 129:14,15     133:3,15,23       dysfunction
determine          dime 15:12           129:18,22          134:1,10,20        75:13,15,15,17
  126:15           dire 75:18           132:19 138:6       135:15 137:5       76:1 78:12
determined 33:8    directive 148:6     documentation      donor's 42:8       dysjunction
device 80:23         148:12,13,19       71:9               49:11 73:3         91:4
  111:12 140:1     directly 70:10      documented          130:12 133:20
  145:19 146:6     director 6:11 8:2    55:14             donors 20:6,13             E
  146:11,12,15       21:8,10 38:10     doing 30:6 37:16    42:22 43:14       E 4:1,1 152:1,1
  146:18             101:6              37:21,24 38:17     44:8,11 45:7        153:1,1
devices 106:17     disastrous 95:9      53:8 60:14         54:19 66:24       earlier 35:13
  107:5            disclose 130:17      77:13 78:3         128:8,8,14,23       83:7
diagnose 114:23      130:18 131:25      101:9 112:5,13     134:9             easier 5:14
  114:24           disclosed 130:6      112:13 113:4      DORSEY 2:8         ecchymosis 39:9
diagnosis 94:16      130:11 137:23      117:7,9,21        double 20:12         87:16
  115:6 130:6      discuss 47:14        118:19 120:7      downhill 74:21     echocardiogram
diagnostic           54:20 119:16       148:25            Dr 3:3 4:17 23:2     69:14 81:2
  113:15 114:3       120:1             dollars 12:23       23:2 24:10,10     ECMO 90:18
DIC 89:10          discussed 48:20     donated 92:15       24:19,20 30:7       92:2,3
die 9:18 22:5,10   discussing          donation 130:8      30:17 31:4,11     ed 106:21
  92:21              126:19            donor 3:8 20:19     31:16 54:1,5,5    edema 29:6
died 42:14,17      discussion 49:6      23:5 24:11         54:12,13 55:4       33:20 34:25
  50:13 52:18        55:5 137:16        28:7,13 40:15      56:23 60:16         36:25
  54:7,14 74:8       150:15             42:11,14,17        75:19,23,24       edematous
  74:10 75:12      discussions          46:19,20,21,22     77:4,12 78:6        30:19,22 35:10
  131:2,8 132:6      10:10 45:14        46:23,24,25        89:4,4 117:24       80:24
  133:5,24           48:21 49:5         47:5,6,7,13        118:10 119:5      edit 141:13
differ 92:2        disease 65:19        49:7 50:13         120:9 121:12      educated 80:19
difference 43:18   distorted 133:8      52:3,12 54:6       121:18 122:5        106:21
  43:19,21 44:1    DISTRICT 1:1         55:7,11,11         123:13 147:4      education 79:16
  44:5 92:9          1:1                57:18,23 58:3      147:17,18           106:22
  142:24           doctor 5:6 18:16     58:7,10,14,24      148:3,5,9,21      eight 11:15 29:3
different 21:10      25:25 29:25        59:6,8,14,16       149:4               122:18 139:8
  21:13 33:10        33:2 35:21         59:17,19,21       drain 91:14,18     eight-out-of-ten
  35:18,19 37:4      36:9 40:25         60:24,25 61:3      91:21               55:7
  40:3 44:2 45:1     51:24 55:24        61:6,7,10,14      draping 82:17      either 23:2
  50:23 56:14        62:16 64:9         61:23 62:8,10     draw 70:3,6          24:10 44:25
  72:20 83:20        78:20 103:8        62:11,12,13,21    drug 54:19,24        48:4 89:4


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                                Thompson Decl. Ex. T
    CASE
     CASE0:24-cv-01097-DTS
          0:24-cv-01097-DTS Doc.
                            Doc. 29-1
                                 83 Filed
                                      Filed 12/26/24
                                            10/01/24 Page
                                                      Page46
                                                           46ofof62
                                                                  62

                                                                                  Page 159

  92:15 143:25      event 78:13        experience 6:22    F 152:1             fees 15:3
  145:10              94:24 109:3,13     6:23 79:18       facilities 112:20   fellow 89:1
ejection 20:1         126:2              80:20 95:14      fact 10:20,22,25       105:13,14,15
elaboration         events 125:16        124:9              11:2 23:23           105:17 149:1,8
  143:9               126:10           experienced          26:17 64:19          149:25
elected 76:2        eventually 90:22     78:13 111:15       69:4 79:19        fellowship
  97:16             everybody            111:19 112:4       89:14 94:21          124:18 149:16
electronic 71:8       106:20             115:8 116:17       107:3 143:10      felon 113:19
elucidate 69:1      everyday 117:12      122:14 123:15    factors 44:1,2      femoral 91:16
email 77:3 150:3    evidence 63:20       123:17,18,20       77:25 81:10          92:5
  150:5,7             75:14              123:22 124:11      90:13             Fifteen 29:12
emails 4:13,16      ex 30:14 83:2      experiences 95:2   facts 72:10         figure 89:16
Emerging 31:21      exact 34:10 53:3   expert 78:17       failed 40:22           96:18 136:21
emotional 96:21     exactly 12:20      experts 77:9       failure 9:19 22:3   File 1:5
emotionally           30:24 35:8       explain 43:7         22:8,12,18        filter 9:10
  95:17               49:12 58:15        132:4 133:22       58:20             filtrate 113:16
employees             73:11 82:13        135:4 136:25     Fair 56:18 85:1     Filtrated 99:16
  111:10              83:2 126:22        137:9            familiar 107:3      financial 15:1
encountered         EXAMINATI...       explained            112:19            find 16:1 53:15
  43:18               3:1 5:4 125:4      134:22           families 52:14         53:21 134:21
end-organ 75:13       130:22           explanation          70:22             findings 45:4
  76:1              examine 30:20        94:17 95:4       family 40:21        fine 24:6 25:3
ended 86:3          examined 3:2       explant 38:13        41:10 46:4           40:1 77:21
ensure 108:1          5:2                66:17              49:2 70:13,15        81:21 82:15,15
entire 26:25        example 8:6        explantation         92:24 96:11          84:23
entirely 59:19        17:4 20:24         82:19 83:19        117:16 126:20     finish 18:17,18
entitled 31:20        44:2 65:16,17    explanted 41:15      132:1 133:14         120:15 134:5
epicardium            66:20 81:12        83:17 92:16        134:6,19 135:6       135:1,3 139:19
  87:12             excellent 6:21     explanting           150:17,17            145:4
equivalence           9:5,14 24:15       83:13            far 5:13 38:6       finished 92:23
  128:9               39:3,13 42:4     explicitly 34:9      69:7 104:5           98:19 149:15
equivalent 128:1      58:14 59:8,16      135:23             121:19 123:1      first 5:1 11:11
  128:1,7,25          60:25 61:3,7     expose 119:2         128:1,6 130:13       16:10 25:23
  139:13 140:20       62:25 63:17,21   exposure 119:7       148:21               31:21 32:8
  140:21              114:5,7,11,15      120:11,16        farther 128:3,22       42:5 44:17
essentially 91:14   exchanges 77:3       121:19 122:10    fat 80:11              55:15 78:3
  93:3              exclusively          122:16           Fay 26:24              79:3 87:25
establish 52:10       13:12            extensive 48:16    FDA 12:12              90:25 91:13
established 5:19    Exhibit 3:6,7        93:5               103:15,16            119:11 137:1
  42:24               129:18,19        extensively          104:25 106:15     fit 81:17,20,25
Estimate 87:23      EXPAND 11:20         78:10              107:4,14 109:5       85:10
estimated 84:2,7      12:1 13:4,7,8    extortion 134:14     125:9 144:5,9     five 15:15 63:24
et 117:18 124:21    expect 72:24       extremely 75:11      146:20,21,23         65:12
ethnicity 130:7     expected 39:15     eye 43:17          FDA- 13:9           fix 16:13 39:24
Europe 11:24          39:16,22         eyes 29:14         February 103:6         93:7
evaluated 7:14      expenses 109:25                         104:20 105:21     flew 16:9
  82:24             expensive 111:7           F           feel 26:19 64:25    flight 27:1

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                                Thompson Decl. Ex. T
   CASE
    CASE0:24-cv-01097-DTS
         0:24-cv-01097-DTS Doc.
                           Doc. 29-1
                                83 Filed
                                     Filed 12/26/24
                                           10/01/24 Page
                                                     Page47
                                                          47ofof62
                                                                 62

                                                                              Page 160

Florida 35:7       four 20:9 104:23   73:12              41:17,19 43:7    guess 18:21
  135:7              130:4 138:1,4  gentleman 24:2       47:19 49:8,11     26:13 72:19
flow 92:17           138:11 139:6   getting 9:17         50:8 54:6         80:19
fly 16:10 110:20   fraction 20:1      135:24             55:19 56:25      guessing 14:1
focus 10:4,7       framework        give 47:10 53:13     60:20 63:10,12   guidance 3:8
folks 148:1          52:10            53:20 56:11        71:18 73:13       50:16 52:2,5
follow 126:3       frankly 24:25      60:11 64:8         91:21 94:9        129:10 130:14
  144:24           Friedman 30:7      67:11 70:22        97:23 104:5,16    137:11
follow- 8:8          30:17 77:12      85:18 90:10,11     106:24 107:16    guided 95:16,17
follow-up 47:2       78:6             90:15,18 94:24     113:1 117:20     Guideline 106:5
  150:14           friend 135:11      95:11 103:10       119:20 121:5     Guidelines
following 1:15       137:4            134:12 139:7       124:22 125:23     131:19
  63:15 130:5      friends 135:11     145:18             129:17 133:11    guy 149:2
follows 5:3          140:3 141:12   given 137:12         134:11 135:6     guys 31:19
Fontan 124:7       front 86:19,20     141:6              136:9,11          37:21 38:16
foolishly 132:15     87:10 119:1    gives 95:1           141:12 148:13
forbid 49:22         138:6 141:18   giving 28:24         150:19                   H
  50:5             full 109:5 152:8 go 14:22 15:23     good 4:20,23       half 9:6,8 19:14
forbidden 47:9       153:5            18:19 20:19        5:23,25 6:1       49:3 56:22
  50:12            fully 88:11,14     25:9 26:17         24:22 28:17       59:12 60:13,22
forbids 49:20      function 32:6      33:3,24 34:13      36:15 40:16       73:15 83:23
foregoing 152:6      39:3,13 65:17    34:14,22 40:25     46:19,22,23,25    84:4,5
  153:3              74:21 76:3,9     44:15 51:23        47:6 57:22       half-an- 46:11
forget 4:21          76:11,12,13      56:5,6,11,23       65:8 76:15,16    HAND 153:21
form 24:24 28:4      78:18 88:20,22   57:14 60:20        78:18,21,23,23   handle 87:8
  37:25 38:19      funded 12:1,5      62:20 63:12        82:25 113:12      117:11
  40:24 44:15        12:12 13:11      71:18 74:21        117:3,4 139:12   hands 89:18
  51:23 52:19        14:3,9           84:23 90:16        145:16,18        hang 26:10 33:1
  70:19 99:23      further 4:18       94:13,19 100:1     146:4,10,11,18    55:25,25,25
  104:12 105:3       48:19 130:20     102:18,19        Gotcha 124:22       56:3 118:6,6
  107:12,21          137:9            105:4 106:24     gotten 30:21        121:3 145:21
  109:8 113:23     future 95:12       107:22 109:9       76:3             happen 93:14
  115:3 118:2                         110:19 113:23    governed 145:13     95:18 117:10
  140:7 141:16             G          115:4,18 120:1     145:15            134:6,18
  144:13 145:22    G 4:1 153:1,1      121:23 124:22    governing 142:3    happened 4:22
  147:13 148:10    Garg 31:11         127:5 128:21       144:3             22:20 41:20,25
  148:16           gas-exchange       132:21 141:17    grabbed 87:10       74:11 85:4
forth 48:22          92:1             145:1,6 150:10     87:11             87:4 89:16
  67:15 119:3      gender 81:11,12 goal 84:10          great 6:19 26:20    94:3 96:17
foundation         general 11:7,9   goes 119:1,14        36:18 41:4,13     134:8 147:21
  24:25 28:5         13:5 21:1,8,19   131:13             60:16 140:24     happening
  32:15,24 33:3      21:20 49:1     going 5:20 10:4    ground 5:9          96:19 131:5
  38:1 75:6          62:22 82:11,16   10:7 15:19         84:14            happens 8:5
  94:13 102:13       85:3 101:12      25:23 26:11      group 44:3          30:18 76:10
  112:17 115:10      112:4 123:7      33:17 36:12        129:25           hard 5:17,20,21
  118:16 133:16      124:2,19         37:5,19 38:15    groups 43:25        6:2 56:20
  144:12 146:24    generally 65:14    40:12,13 41:10   grunts 6:1          116:23


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      MINNEAPOLIS, MN 1-800-553-1953 info@stirewalt.com

                               Thompson Decl. Ex. T
   CASE
    CASE0:24-cv-01097-DTS
         0:24-cv-01097-DTS Doc.
                           Doc. 29-1
                                83 Filed
                                     Filed 12/26/24
                                           10/01/24 Page
                                                     Page48
                                                          48ofof62
                                                                 62

                                                                                  Page 161

hard-to- 20:9       70:4,8,10,14       heart-lung         higher 81:14         131:15
head 5:25 23:15     70:15,16 71:18       88:13            highest 8:8         Huh 21:3 50:19
 144:1              71:19,25 72:3      heart/lung 6:12    hindsight 94:23     huh-uhs 6:1
header 129:23       72:8,12,22,23        38:10 100:17     HIPAA 131:13        human 117:5
health 19:4,24      73:20 74:5,14      hearts 6:25 19:2     131:18             134:11
 42:9 69:18         74:15 75:11          19:18 20:1,6     history 42:9        hundred 12:23
 73:3 108:23        77:1 78:25           20:10 40:7         68:18 69:18        127:16,18
healthcare 47:10    79:5,7 80:6,9        73:17 80:14      hold 18:16,16        138:24 150:22
 53:16              80:22 81:1,6         81:13 94:25        36:8 50:1,6,6,7   hypertrophy
hear 104:18         81:17,20 82:4        117:13 141:6       51:10 55:24        81:1,3
heard 15:21         82:9,13,18,24      height 81:11         60:3,3 98:20      hypothesis 79:8
 17:2 18:3          83:12,22 84:14     help 74:20 96:9      119:2 121:2        79:10,14 97:7
 20:25 31:24        84:23,24 85:9        111:25 122:9       122:24 123:3,8     98:21,24 114:8
 89:11 93:23        85:15,19 86:3        122:16 128:21      132:16 134:25      114:17,25
 104:20,23          86:23 87:6,8       helping 118:22       134:25 135:22     hypothesized
 131:4              87:11 88:19          118:23,24          136:5,5,6          113:6
heart 8:10,12,20    90:6,19,23           120:16             144:21            hypothetical
 9:19,23 10:2,8     91:1,8 92:4,10     helps 118:25       holding 122:22       62:11 63:7
 10:13,23 11:9      92:11,13,15,16       119:2,7 120:11     122:23 124:10
 12:7,7 17:2        93:4 94:12,18        120:14 121:19    holds 119:9                  I
 20:19 21:1         98:23 100:6        hematoma             120:12 121:20     Idaho 64:17
 24:12 27:7,11      109:10 112:8         41:23 93:5       hole 66:3,11,20        82:7,22 135:8
 27:17,20,24        113:7,14,17,21     hemodynamic          66:22,24,25          135:11,14
 28:7,9,11,17       114:3,4,6,9,11       32:6 81:15         67:3,7,16,23         137:3
 28:20,21 29:9      114:13,15,19       hemodynamics         68:19 69:16,19    idea 9:3 16:24
 29:14,15 30:13     114:21 115:1         40:16,18 65:18     69:25 70:13,14    identification
 30:15,19,20        115:17 116:4         113:11             72:23                129:20
 31:22 32:3,3,5     116:22 118:20      hemorrhage         holes 67:9 88:17    identified 134:1
 32:11,14 33:22     118:21,22            42:18,23 43:10     93:17             identify 133:3
 34:25 35:9         120:24 122:4         43:14,24 44:3    home 14:8 56:5      identity 133:20
 36:25 38:12,13     122:24 123:21        44:9,12 47:8     Honestly 51:25      IHLT 101:17
 38:24 39:5,10      123:23 124:2         50:13 52:18      hospital 11:8,10       147:17
 39:14 40:18        127:1,1,3            53:2 54:8,15       68:21,24 70:17    II 140:20
 41:3,12,14         128:10 131:1         57:2 113:18        71:1 137:3        illness 130:8
 42:4,7,21          132:5 133:23         131:2,9 132:7    hour 46:12 49:3     implant 77:21
 43:11,15 44:8      135:7 139:1,5        133:25 135:9       59:12 60:13,22       91:11
 44:10,23 47:23     139:7,25           hepatitic 61:15      63:23 73:15       implanted 30:20
 48:5,22 49:7       143:13,14,24       hepatitis 61:14      83:22,23 84:3        41:6 49:8
 51:2 54:14         146:7 147:8          61:14 62:7         84:4,5               56:25 74:16
 55:8 56:25        heart-and-lung        63:3             hours 29:3 41:6     implanting 48:2
 64:16 65:1,18      88:15 90:17        hesitations          41:25 56:22          48:14
 66:3,12,17,19     heart-failure         65:24              76:7,14 89:8      implication 36:4
 66:22,24,25        11:3               Hey 37:20 38:16      139:6,8           implications
 67:7,10,17,22     heart-liver           99:21            How's 46:21,24         96:7 97:6
 68:12,13,20,20     76:21,24 77:6      high 19:19 97:1    Huber 2:11          implying 36:2
 68:23 69:6,15      77:13,24 78:2        129:6              152:2,16          important 7:17
 69:16,19,24,25    heart-livers 78:2   high-risk 19:1,3   huge 77:24             7:17 8:1 9:16


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                                Thompson Decl. Ex. T
   CASE
    CASE0:24-cv-01097-DTS
         0:24-cv-01097-DTS Doc.
                           Doc. 29-1
                                83 Filed
                                     Filed 12/26/24
                                           10/01/24 Page
                                                     Page49
                                                          49ofof62
                                                                 62

                                                                               Page 162

  95:16 98:8       information 3:9      116:20,21,24      issue 25:14      know 6:7 8:24
impossible 27:23     47:10 52:3,13      146:3               43:23 103:23    9:6 12:20,21
  31:1 68:14         52:15 53:13,21   interested 60:18      125:9           12:24 13:9,9
impression           56:12 57:6,17      145:25            issues 126:9      13:20,25 16:16
  24:21              59:5,15 60:12    interesting 16:2      142:8           16:17 17:6,10
improve 18:7         61:17 62:18      intermediate                          17:14,20 18:25
improved 76:13       65:13,22 70:23     74:20                     J         19:9 20:3,22
  112:14             98:8 108:23      intern 124:6        Jacksonville      21:15,19 23:21
incentive 117:2      110:4 121:6      internal 125:14       8:16 21:11      24:4,7,18
  117:5,13,15        130:5 131:16     International         31:9,9 32:1,11  28:23 30:14,21
incident 97:6        131:17,25          100:6,17            32:22 37:20     31:1,10 32:10
  106:5,8            133:1,18           109:19 114:12       38:16           32:18 33:5,7
incidents 106:16     134:13 137:14      147:8             January 105:23    33:17,21 38:4
incision 83:22       137:23 144:7     interpose 91:24     Jenna 2:15        38:22 39:9
  83:25 84:1,11      145:18 147:20    interview 78:5      job 5:14 60:14    41:5,21,21,23
includes 78:19     informed 47:17     intracranial          111:1 117:3,4   41:25 42:1,8
including 100:8      52:16 53:5,12      42:18,22 43:10    John 31:14        42:11,14,17,21
  100:9              53:20 54:3         43:14,24 44:3     judgment          43:19 45:20,24
increased 10:20      57:5,9,16          44:9,12 47:8        127:20          48:6,7,18,23
  11:2 19:21,23      137:15 138:12      50:13 52:18       July 30:7         48:24 49:1,20
  61:11 109:15       138:14,18,22       53:2 54:8,15      June 68:20,23     50:14 52:6
increased-risk     informed-cons...     57:2 113:18         70:16           53:3,17 54:6
  55:10,11 59:21     45:14 71:17        131:2,9 132:7                       54:13,16,23,23
                                                                  K
  63:3             informs 60:9         133:25 135:9                        55:12 56:3,4
increasing 75:25   inject 91:19       intracranial-h...   Karen 2:14        56:17,24 57:4
  146:7,7,8        injected 90:13       45:7              keep 5:12 37:5    58:17,18 59:19
incredulous        injury 130:9       intravenously         51:7 63:10      61:6,11,16,21
  136:9            inpatient 127:19     90:14               133:19 148:8    61:22 62:3,5,7
independent        institution        investigative       keeping 104:10    62:14 64:19,21
  104:8 124:20       117:18             14:5              Kentucky 68:22    65:20 66:2,2
independently      institutions       investigator          70:17 71:2      67:1,4,10
  65:1               16:25 17:23        12:13,15 13:8     kept 104:24       68:11,11,12,15
index 3:1,6          21:16            investigators       kidney 75:15      69:5,6,8,10,17
  75:12            instrument           15:23 145:24        76:2,9,11,12    70:22 71:3,4,9
indicated 66:9       107:8            involved 11:17        76:13           71:13 72:5,13
indirectly         insult 136:17,19     12:5 29:2         kilograms 81:13   73:9 74:25
  140:23 142:15    insults 136:11       31:19 45:13       kind 6:22 43:11   75:2,15,19
individual 135:8     136:14             89:10 108:8         46:11 52:10     76:3,17 77:8
inexpensive        intend 44:10       involvement           87:12 94:9      77:22 78:16
  111:8            intending 96:1       11:4,11,16          105:25 118:21   79:2,3,5,8,24
infection 19:6     intensive 149:2      13:2              knew 41:3,11      80:1,1,2,5,6
  58:19              149:24,25        irrelevant 140:2      49:7 54:18      83:4,20 84:3,4
infections 19:22   intensivist          141:3               55:12 90:3      85:20 86:14
infiltrated 79:7     105:15           irreversibly        knop 23:2 24:10   87:9,12,18,19
  88:22            inter 91:23          32:13               24:20 26:13     88:11,22 89:18
infiltration       interest 111:11    Islands 14:10         147:4,16,17,18  89:19 90:3,4
  87:15              111:17,18          16:10               148:9,21 149:4  90:12,13,16,16

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      MINNEAPOLIS, MN 1-800-553-1953 info@stirewalt.com

                               Thompson Decl. Ex. T
   CASE
    CASE0:24-cv-01097-DTS
         0:24-cv-01097-DTS Doc.
                           Doc. 29-1
                                83 Filed
                                     Filed 12/26/24
                                           10/01/24 Page
                                                     Page50
                                                          50ofof62
                                                                 62

                                                                                   Page 163

 91:4 92:5,19      labs 89:11             103:21,23        literally 43:1        22:1 51:13
 92:20 93:15       lactate 25:9,11        104:10 105:10       112:12 117:24      56:6 124:8
 94:5,5 95:2         25:13 26:14,15       106:2 107:24        118:15           lots 46:14 74:19
 96:10,10,11,11      32:7                 108:5,8 138:11   literature 38:7     loudly 5:15
 96:12,12,13       lactates 24:11,15   legally 126:1          42:25 96:25      Louisville 68:21
 98:5 99:1,2,3,8     24:20,22 25:21    Leopold 1:4            97:11 139:24       70:17 71:2
 99:9,21 100:6       25:22 26:19,21       2:14,14 21:22    little 5:13 6:15    low 75:11
 100:8 101:6         27:2                 22:2,7,21           18:3,12 23:6     low-risk 9:11
 102:20,21,21      lactic 25:17           24:12 40:21         23:22 39:10      lower 21:17
 103:18 104:15     land 28:14 84:22       45:14 54:13         66:22 80:3,3,4     141:5 143:8
 105:16,16         landed 84:15           55:11 59:15         80:10 82:11      lung 6:17 8:11
 106:4,7,12,13     language 129:13        60:20,23            92:7 94:1 95:8     10:1,5 13:1,3,7
 106:15 107:8        130:3 137:25         126:20 132:5        105:1              100:7 114:13
 110:12,15,15      large 80:22,24         133:23           liver 75:15 77:8      147:8 148:5
 111:8,10,20         80:25 81:3        Leopold's 28:9         77:9,21 78:3,7   lungs 6:25
 113:3,4,11,15     larger 39:15,16        41:10               78:11,17           117:13
 114:7,12,14,24      39:22 40:8,16     lest 4:21           lives 10:23 18:8
 115:8,20,23         40:17 85:9        let's 5:17 10:2        37:23                   M
 116:1,2,6,13      late 28:3,6 41:4       33:24 56:23      LLP 2:4,8           machine 32:4
 116:18,19           41:14                57:21 59:13      location 69:21       80:9 88:13,15
 117:6,11,14,24    latest 20:4            62:10,11 63:6       87:16             90:17 93:11
 118:13 119:1      law 53:11              63:22 74:24      long 8:6 14:8        94:1 95:7
 120:4,21 124:6      131:13,13            96:17,22            28:21 29:9        111:16,20
 126:23 127:3,5    lawsuit's 107:16       103:12 105:25       65:10 66:18       114:20,22
 128:5,6,7,21        148:15,20            108:12 120:7        74:4 83:16       machine's 98:22
 128:22,25         lawyer 53:18           120:19 126:7        89:6 98:17       Maggie 2:12
 129:2 130:13        100:11 101:23        135:10,10           128:5 139:9      magnitude
 133:2,6,6         lawyer's 99:22         138:21 145:2,5   longer 29:5 33:5     115:24 116:16
 134:7,8,10,11       147:12               148:18,18           33:18,19 71:11   maintain 12:21
 134:12,13,14      layers 87:13        levels 32:7         look 27:12,18,20    maintaining
 134:19 135:7      lead 37:17,21       life-saving 44:23      27:22 28:11,17    6:21
 135:13,15           38:17 112:14         146:1,9             39:2 41:4,13     maintains
 137:5 138:16        133:25 135:6      LifeSource 51:4        64:7 68:7         106:15
 138:16 139:4,7    leads 38:13            51:5                69:24 125:21     making 53:15
 139:8,19,20       learn 120:4         likes 117:5            129:22            147:15
 140:3,19          learned 123:7       limited 52:14       looked 38:24        male 73:21
 141:15 146:8      leave 44:22         LINE 153:8             42:4 64:11       malpractice
 146:25 147:21       86:19 126:7       lining 85:15           87:24             32:22 33:9
 147:22 148:6      led 95:8 132:7      linings 85:15       looking 89:15,21    man 56:4
 148:22,23         left 74:14 85:16    list 119:4 120:9       100:11 113:25    managed 7:4
 149:3 150:21        85:17 86:17,22       121:17 129:2        113:25           mandated 12:12
knowledge-re...      90:23 91:1           130:4            looks 28:12 43:4     137:8
 119:17              137:17,21         listed 48:3 53:24      43:5 65:8        mandatory 65:9
known 83:8         left-side 85:9      listen 26:6 55:15      80:15 82:25      maneuvers
knows 137:5        legal 1:18 35:16       136:8 142:25        109:17            39:24,25 93:7
                     37:11 96:7           143:2            loss 98:23          manual 141:14
       L             97:19,22          listening 33:18     lot 17:22 21:24      142:13 144:19


                    STIREWALT & ASSOCIATES
      MINNEAPOLIS, MN 1-800-553-1953 info@stirewalt.com

                                Thompson Decl. Ex. T
   CASE
    CASE0:24-cv-01097-DTS
         0:24-cv-01097-DTS Doc.
                           Doc. 29-1
                                83 Filed
                                     Filed 12/26/24
                                           10/01/24 Page
                                                     Page51
                                                          51ofof62
                                                                 62

                                                                              Page 164

 146:22            120:10 121:10     101:17 109:19      79:11             myocardium
manufacturer       121:18 123:2,4    145:24 147:3,9    midline 84:18       29:7
 143:5             123:5,6,6         147:10,17         mild 42:2
mark 129:18        125:15 126:3,8    148:2             mildly 41:8                N
marked 129:19      135:12 137:5     meetings 14:5,6    miles 20:13,20     N 4:1 153:1
Marketing          148:1,14,20       15:6,19,22        mind 97:2          NAH 153:24
 18:24             149:14            102:17            mine 91:3          name 31:6,11
mass 11:9 13:5    Mayo's 10:25      members 40:20      minimal 12:21        105:16,16
 20:25 21:7       Mayo_Leopol...    memories 21:24     minimize 28:19       149:3,7,22
 81:6 101:12       3:9               22:1               28:19             Nassau 14:18
Massachusetts     mean 17:1,21      memory 103:8       minimum 82:10      nation 6:24 7:3
 11:7              19:3 23:4 25:1   mentioned 13:1     Minneapolis 2:5      7:6 8:21 9:21
match 82:17        25:6 27:15       mentioning          2:9 56:6            10:14 17:13,19
 84:8 135:16,19    28:6 30:25        71:17             Minnesota 1:1        17:20
matched 44:1       34:20 45:20,22   message 25:24       1:19 2:5,9        national 19:16
 45:8              51:3 59:20        26:1,23            53:11 152:10        20:2,10 110:7
matches 16:24      68:9 80:18       messages 23:7      minutes 29:12        110:8,9,12
materials 18:1     84:17 103:2       23:11,14,18,24     29:14 33:6,13     native 32:13
 143:19            105:16 124:15     24:9,19            34:2 65:12          38:13 41:14
matter 33:6,7      124:16 125:18    messaging 23:22    mismatch 39:18       83:12 92:16
matters 8:5        130:16 135:25    Messerly 2:12       39:21,23 40:2     nature 145:22
 103:21            139:24           met 13:14           40:10,14          near 87:16
MAUDE 106:13      meaning 39:10     meth 42:11,15      missing 100:3      need 31:2 38:5
Mauricio 1:11      47:23 68:2        42:19 54:7,14     Mohammad             45:6 60:7
 1:15 4:6,25       85:20 90:12       57:1 113:18        31:4,5,7            74:25 77:9
 152:5 153:2      means 30:25       method 20:24       moment 125:3         83:4 88:13
Mayo 1:7,17        55:1,4 130:17    methods 94:16      Monday 118:14        98:6 124:8
 2:13 4:4 6:12    meant 28:17        113:15            money 12:18          128:4
 8:18 9:3,20      measurement       metric 7:17,18      131:15            needed 111:13
 10:13 12:13,19    76:8              9:16              month 69:20        needs 126:13,15
 16:7,24 17:21    measurements      metrics 7:23,24    months 75:4          128:3 143:9
 18:1,25 19:25     81:18,19          8:2                104:23            neither 49:22
 20:5 21:5,11     mechanism         Metsch-Garcia      morbidity 82:10      150:18
 21:13,16 25:23    47:11 130:8,12    2:3                119:15 125:17     Network 52:8
 30:7 31:9 32:1   medical 56:17     Michael 25:8        126:4             never 89:17
 32:10,21 35:6     68:18 96:25,25   Michelle 1:3       morning 49:18        93:20 94:2
 37:23 38:11,15    97:11 99:7        2:13               64:13 147:7       new 15:19 31:21
 49:15 65:5        106:17,18        Michigan 73:21     mortalities 77:2     48:24
 77:17 96:5        124:17,19        micro 93:15        mortality 76:25    newspaper
 97:15 98:3,9      149:18           microholes          119:15 125:18       96:14 97:24
 103:1,3 105:1    medically 18:7     93:15 94:1         126:4 129:2,5     Next-of-Kin 1:4
 106:5,9 107:11   medicine 58:20    microperforat...    129:7             nice 5:11 15:14
 108:5 109:5       112:3             95:8              mouth 132:24       Nicole 152:2,16
 111:4 112:8      meet 13:21        microscopic         134:3,4 135:4     night 45:21,25
 115:25 116:3      45:17 143:12      79:22 88:5,17      135:5               46:1,2,3 56:21
 116:17 118:11    meeting 14:9       115:5             multiple 67:9        56:21 73:10
 118:15 119:18     44:20 100:7,18   microtears 79:6     92:25             nine 122:18


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                             Thompson Decl. Ex. T
   CASE
    CASE0:24-cv-01097-DTS
         0:24-cv-01097-DTS Doc.
                           Doc. 29-1
                                83 Filed
                                     Filed 12/26/24
                                           10/01/24 Page
                                                     Page52
                                                          52ofof62
                                                                 62

                                                                              Page 165

Ninety 80:16,17   Norton 68:21,23 OCS 20:17 27:9         47:15 48:9,25    opening 85:8,17
 80:21            nos 5:24           27:12 28:19,22      51:16,19 55:15   operating 23:3,5
Ninety-day 8:4    Notary 152:17      29:2,6,7 30:5       56:18 58:8         27:21 28:2,8
Noah 1:4 21:22    note 41:8 52:20    32:3,4 33:5,19      59:13 61:18        29:11 32:12
 22:2,7,20          57:12 85:7       35:11 38:6          63:10 64:1         38:12 78:13
 24:12 28:8       notes 152:9        41:9 67:18,25       65:10 66:13        111:19 120:10
 39:18 46:14      noteworthy         68:5 79:24          68:7 69:18         120:13 121:18
 48:11 49:16        27:13            80:9,15,23          74:4 75:7 83:1     121:21
 54:4,5 55:5,5    notice 1:16        93:11,25 94:25      84:19 86:2,25    operation 66:16
 56:24 57:6,17      39:14            95:4,7,12,14        87:23 88:9,23      83:6 86:7
 57:22 58:9,24    noticed 87:21,25   95:16,21 97:6       92:12 97:18        124:8 128:4
 59:15 60:23      November           98:22 101:9         98:11,20 100:3   operations
 61:5 62:23         104:17,22        109:6,10,12,15      101:20 102:5,7     123:8,9 128:23
 63:16 71:17      number 5:12        110:9,13,20         102:11,23        operative 41:8
 72:6 73:17         7:11,12,16       111:1 112:12        105:7 108:3        64:7,12 82:3
 74:4 75:3          17:16 20:12      112:13 113:9        109:1 110:11       85:7
 76:20 83:4,8       23:24 24:18      114:20,21           116:12 119:4,9   opinion 38:9
 132:4 133:23       95:19 125:13     115:20 116:2,2      122:14 123:1     opposed 112:21
 137:23             130:3 138:1,4    116:15 126:19       123:14 124:10    optimal 114:15
Noah's 29:15        138:11           127:22 128:7        125:20,23        OPTN 3:8 49:23
 41:14 56:25      numbers 9:17       128:21 139:6        126:7,18 127:8     50:16,21 51:5
 74:20 76:13        10:20,25 112:8   140:1 141:5         128:15 129:8       51:8,21 52:6
 78:11 92:24                         143:4,14,23         131:18 132:13      52:12 129:10
 150:17                   O          150:19              132:21 133:22      129:14,18
nod 23:13         o 4:1 102:6      October 104:17        136:13 138:17      130:25 131:18
nodded 23:15      o'clock 72:6       104:22              139:3 140:12     OPTN's 52:2
nodding 61:24     oath 34:2 35:3   offer 73:9,25         140:22 142:25    order 20:15
 95:22              118:4,14 147:7   74:3 75:24          144:5,8 148:19     81:25 97:12
nods 5:25         object 24:24     offer- 17:10          151:3              98:8 108:19
NOP 110:4,7         28:4 34:8,9    offer-acceptan...   old 71:9             133:19 134:18
 115:21 116:16      37:25 38:19      17:5,15 21:15     older 44:4         orders 115:23
 121:9              40:24 44:14    offered 73:17,20    once 32:3 33:22      116:16
nope 26:10          51:23 52:19    offers 74:1           82:3 87:4        organ 31:20
 145:15             70:19 99:23    official 53:23      one-percent          48:1,13 49:17
normal 65:3,5       104:12 105:3   oh 4:14 14:15         43:19 44:5         52:7 54:6 58:3
 65:23 76:12        107:12,21        17:7 46:25        one-year 7:21        58:11,25 59:14
 77:23 85:24        109:8 113:22     67:3 99:13          8:19 9:4           59:16 60:24
 88:20 91:17        115:3 118:2,16   110:8 137:21      ongoing 95:20        61:6 62:24
 102:19             140:7 141:16     138:4             online 106:7         63:17 75:17
normally 23:19      145:21 147:13 Okay 5:15,22         onsite 65:23         110:8,20 111:1
 28:12 48:17        148:10,16        6:4,5 10:2,3      oozing 86:12         112:14
 58:15 76:9       objection 33:2     13:22 16:23       OP 110:6           organizations
 80:3,10 81:17      36:15,16 94:19   20:4 22:17        open 83:21 84:4      50:23
 87:8 89:20       obligation 47:16   23:1 24:8           84:21 85:16      organs 17:22
 102:17 116:10      138:11           25:12 31:14         86:17,19           111:12 117:20
 116:11           obviously 4:17     34:18 35:12         120:15             117:21,25
Norman 2:14         43:13 86:2       36:19 37:12       opened 85:18         118:11 121:11

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                              Thompson Decl. Ex. T
   CASE
    CASE0:24-cv-01097-DTS
         0:24-cv-01097-DTS Doc.
                           Doc. 29-1
                                83 Filed
                                     Filed 12/26/24
                                           10/01/24 Page
                                                     Page53
                                                          53ofof62
                                                                 62

                                                                               Page 166

  121:13 129:3   palpate 65:19       78:7 95:15        perfuses 79:24        48:14 107:15
orientation      Pankaj 31:11        98:4,4 127:4      perfusing 95:7        109:4
  130:7          parameters 32:6     127:13 128:17     perfusion 30:15     plans 15:18
original 36:9     113:12             138:12 140:5        93:11,18,19       please 4:24
oth 39:7         part 20:18 52:15    141:4,6,6,15        98:22 114:20        55:15 96:9
outcome 117:15    52:17,24 58:5      143:4,12,18,23      116:4               136:24 142:25
outcomes 6:21     60:8 64:8          145:20 146:2      perfusionist          145:1 149:10
  7:12,17,20,22   71:16 81:5         146:19              25:10               150:4
  9:5 37:17,22    110:3 112:25      patients' 18:7     perfusionists       pledgets 73:2,2
  38:14,18 112:1  117:6 137:11       37:23               116:11            point 49:12 88:3
  112:15,20       137:16 141:13     Paul 30:7          pericardium           113:5 141:19
  116:25          142:13 143:25     pause 95:12          85:9,14 86:5      pointed 121:11
outer 91:22      partially 86:17    pay 131:15           86:11,16          poking 99:22
outpatient       participated        145:16            period 48:17        policies 47:10
  127:16 138:25   13:4              people 6:20 9:18     66:18 133:6       poor 131:7,10
outside 103:1,3  particular 107:7    11:24 13:21       permanently         population
  105:1 107:11    114:18 130:12      23:18 28:25         86:17,19            66:21
  148:14,20      pass 145:19         29:1 78:18        person 61:5 94:6    position 53:14
overall 48:12    passed 104:17       97:12 98:16         94:7 102:10       positive 35:17
  87:7 125:21     104:18,18          100:8,9 101:8       132:6 134:2         61:15
  141:5           148:21             101:11,12,12        135:8 149:21      possibility
overdose 42:15   pat 52:20           101:22 102:20     person's 53:14        104:10
  42:19 54:20,25 patently 136:2      110:25 111:11     Peterson 2:13       possible 29:5
  55:2,8         pathologic 66:23    111:15,19,22      PFO 66:10 67:8        55:9 71:4
overlap 50:25    pathology 66:18     112:21,22           67:20 68:4          111:8,15
  51:6 52:1       69:15              115:7,9,13,24     PGY-7 122:17        possibly 18:7
overrules 138:11 patient 22:4,9      116:17 117:1      PHI 108:23            132:7 133:25
overwhelming      37:15 47:18        117:19 119:6      phone 65:9,10       posterior 85:8
  48:17           48:3,20 53:12      121:9,10 126:8    phrase 18:3,5,12    postmarket-a...
oxygenate 91:25   53:13,14,20,24     126:14 127:15       18:20               12:11
oxygenator        54:10 60:12        131:8 133:7,7     physically 27:23    potential 58:10
  91:11,25 92:22  67:16 68:19        134:11,13         physicians 140:4      126:19
                  69:8 71:23,24      148:7               141:14            potentially 98:7
        P         75:16 82:5        percent 8:25,25    physiologic         powder 90:12
P 4:1 153:1       83:3 89:19         40:8 43:20,21       78:10             practice 28:16
p.m 1:20 4:4      91:1,8,25          43:21 54:18,23    Pick 25:8             32:20 33:15
  46:7 64:2,3     92:21 97:13        55:1 66:21        place 20:10           34:7,19 35:4
  108:14,15       106:4 116:25       76:25 77:1          69:22 87:19,20      35:14,22,24
  151:5           117:16 127:2       80:16,21 90:6       88:7 92:13,20       36:20 37:10
page 3:2,7 5:10   130:11 131:1       127:16 138:24       152:6               43:12,15 44:22
  6:9 26:23       138:19,25          150:22            placed 68:5           52:9,11,11
  129:23 153:8    143:14,24         percentage         places 15:14          61:4,8,20
pages 1:12 152:7 patient's 32:13     80:14               87:24               62:22 63:15
  153:4           68:18 69:18       performance        Plaintiff 1:5 2:2     65:3,5 81:5
paid 14:12,22    patients 9:12       81:16             plan 87:1             85:3 124:3,21
  117:1           11:3 43:9         perfuse 79:25      planes 110:22         127:21 130:19
Palmisano 2:12    44:23 53:20       perfused 113:8     planning 48:2         130:25

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      MINNEAPOLIS, MN 1-800-553-1953 info@stirewalt.com

                             Thompson Decl. Ex. T
   CASE
    CASE0:24-cv-01097-DTS
         0:24-cv-01097-DTS Doc.
                           Doc. 29-1
                                83 Filed
                                     Filed 12/26/24
                                           10/01/24 Page
                                                     Page54
                                                          54ofof62
                                                                 62

                                                                             Page 167

practices 134:15   PRO 11:20         products 90:11     53:11,19         question 6:8
Prague 100:21      probably 13:20     90:12,19,20       123:14            10:24 11:1
 100:22 109:18      19:11 21:21      professional      provisional        17:14 18:11,19
 147:4,9,17         35:17 60:17       54:22 56:17       73:22,24 74:1     22:6 24:17
predict 74:7        70:9 74:9         132:25           Public 19:4,24     25:18 26:5
predicted 81:6      82:21 85:4       professionals      152:17            29:18,19,21,25
prefer 34:24        116:7 127:14      29:17            publically-acc...  30:1 33:24,25
 104:14 111:11      143:20           prognosis 75:1     107:4             34:1,10 35:1
 138:13            problem 27:3      program 6:12      publicity 97:25    36:3,5,23 37:1
preferable 33:21    71:21 94:11       6:16,17 7:5,13    98:9 107:20       37:2,4,5 38:1,8
 35:9               113:6 117:8,22    8:2 10:13,17      108:9             38:14,23 40:9
preferred 35:2     problems 83:11     21:8,11 38:11    publish 96:13      40:25 41:16
 76:20              83:14 107:5       107:20 108:10     107:13 148:14     44:6,15,25
preparing 64:8     procedure 47:19    110:4,9,13       published 44:7     45:2 48:9,10
prepping 82:16      47:23 48:13       112:9 113:1       77:16 96:24       50:7,8,9,10
present 2:10        58:2,6,7 70:9     115:21 116:16     106:19 114:14     51:7,12,14,18
 100:10            procedures         121:9 123:2,4    publishing         51:18 54:11,12
presentation        125:14 126:3     programs 131:6     125:8             55:16,16,17
 28:24 30:6,10      146:9            progressed 80:5   pulmonary          56:2,8,9,10,13
 30:17 77:12       proceed 4:11,24   prohibited 53:8    91:19,20          56:23 57:14,15
presented           11:17,21 32:7    promise 6:7       pump 91:21         58:22 59:9,10
 109:19 110:2,3     108:18 139:15    pronounce 24:5    pumps 91:24        59:12 60:21
 126:6              140:6,20 141:1   properly 122:24   purpose 133:12     61:18 62:16,19
preservation        141:5            protamine 88:16   purposes 10:10     70:20 96:22
 20:24 141:7       process 32:2       90:15            pursuant 1:16      99:24 103:13
preserved 141:7     52:16 71:17      protected 126:1    108:19            103:14 104:1
preserving          87:14 88:4       protecting        pushing 77:5       104:13 105:4
 139:5              125:25            131:19,21        put 4:12,19 18:1   106:23,24
pressure 93:18     procure 117:21    protective         21:20 36:14       107:2,22 109:9
 93:19,25 95:6      118:11 121:11     108:19            67:17,22 72:14    112:2 113:23
pressures           121:13           proud 6:22         72:14,15 73:2     114:16 118:7
 114:20            procurement        10:19,22,24       91:6,10,15        121:5 125:13
presum 112:1        52:7 64:15        11:1              96:15 97:10       130:14 131:11
presume 89:14       67:24 68:1       proven 33:10       111:12 138:6      131:12 132:22
prevent 96:18       71:11,12 72:7    provide 12:18      146:17            133:22 135:2,3
previous 46:3       82:7 110:19       61:17 65:14      putting 67:25      136:13 137:1
 66:5,7,16 67:4     111:1 112:14      91:25 109:22      81:23 82:10       138:15 140:8
 68:13 69:11,13     126:25            121:6 123:15      92:17 141:17      140:17,25
 69:14 72:3        procurements       124:4,9 138:12                      142:25 145:2,3
previously 57:10    115:20 117:9      138:14,18                Q          145:23 148:11
primary 73:25      procures 117:25    143:13,18        qual 41:22        question-and-...
 74:1,3 119:1      procuring          146:1            qualified 152:3    147:19,24
principal 12:13     117:20           provided 4:13     qualitative       questioned
 12:15 13:8        produce 36:24      15:1 33:22        41:22             131:14
prior 49:6 68:8    produced 23:25     54:3 57:5,16     quality 125:19    questions 6:6
 70:7 71:19,25      146:6             69:20 147:20     quantify 88:1      26:11 46:13,14
 72:2 81:6         production 4:16   providing 47:16   quap 125:18        47:3 48:19

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                              Thompson Decl. Ex. T
   CASE
    CASE0:24-cv-01097-DTS
         0:24-cv-01097-DTS Doc.
                           Doc. 29-1
                                83 Filed
                                     Filed 12/26/24
                                           10/01/24 Page
                                                     Page55
                                                          55ofof62
                                                                 62

                                                                                Page 168

 55:21 56:7        56:20 79:9           103:4              30:16,24 35:3      151:3 152:3
 63:12 101:23    reasking 34:10       record 4:2,12,19     38:24 40:20,23   reporter's 5:14
 103:9 124:24    reason 30:18           5:11 12:22         41:1,2 45:4      reporting 105:7
 125:2,12          44:4 96:15,24        52:20 56:19        46:5,8,9,9,11      106:5,8 107:8
 129:10 130:10     101:5 111:9          62:1 64:1,5        46:17,18 47:4      125:8 126:9
 130:21 150:25     112:11 131:24        108:13,17          49:2,3 59:11     reports 149:6
 151:2             145:12 147:2         149:18 150:15      61:21 64:14      representative
quick 5:9          147:14,16            151:4              65:24 73:11,16     143:17
quicker 129:1    reasonable           records 66:9         73:25 77:7,11    request 71:9
quite 34:9 78:8    44:20 53:14          71:8,15 73:13      83:15 85:1         150:11
 88:20 110:10    reasons 108:7          99:7,12,18         92:25 93:2       requested 71:14
quote 18:1 22:12   111:6 112:7          100:11             95:2 99:10         101:14
                 reassessed 32:5      recovery 76:17       100:13 105:20    require 71:11
        R          32:12              red 39:6             125:12 127:9     required 52:15
R 4:1 152:1      recall 24:13         reduced 109:12       129:10 147:5     requires 53:11
  153:1            58:15 59:10,18     redundant            147:25 148:3     research 12:4
race 130:7         61:1,2 75:22         48:23              148:23,25          101:9
racking 89:15      75:23,23,24        refer 24:10          149:1,3,7,22     residency
raise 106:17       76:8 82:13           127:1              150:1,3            122:21 124:1,3
ramifications      83:1 105:24        refers 17:11       remove 32:13         124:3
  97:20,22         126:22 127:6       regard 125:7         84:13            resident 122:7
rank 8:19        receive 15:2           126:3            removed 87:2       residents 122:9
ranks 18:25        98:5               registry 8:7       renal 58:19        resistance 94:6,8
ratio 17:11,15   receiving 74:1         12:11            repair 69:5,21     resolve 38:22
  19:1             150:3              regular 44:21        72:23            resolved 148:21
ratios 21:16     Recess 64:2          regulated 13:10    repaired 66:10     respect 9:15
re-create 91:17    108:14             regulation           69:20              10:12 29:21
reached 99:5,6   recipient 3:9          133:12           repeat 33:17         45:3 62:21
reaches 32:4       32:4 45:9 48:7     relate 52:9        repeating 62:17      63:14 95:4
read 17:25 34:20   52:3,15 60:10      related 77:15      rephrase 6:8         97:5 126:2
  36:4,9 43:6      68:2 81:12,19        93:10 126:9      report 19:10       respond 6:3 26:5
  52:22,23 53:4    128:3 132:1        relationship         20:25 64:7,12      63:1 117:16
  53:6 56:10       133:1,14             17:19              66:3 82:3 96:2     150:7
  129:13 137:12    137:15             relevant 23:25       96:6,16 97:10    response 103:9
  137:19,19,22   recipient's            137:14,22          97:23 103:15     responses 5:24
  138:1,4 140:11   134:19             Religion 130:6       104:24 105:12    responsible
  141:17,19,19   recipients 8:7       rely 28:10 31:2      105:19 106:11      116:3
  141:24 142:22    40:17 42:22          60:10 78:16        106:16 107:5     responsive 4:16
  145:6 151:2      44:8,11 81:15        81:10 126:14       107:10,14        rest 77:4 91:22
  153:3          recipients/reci...   remem 27:8           109:4 126:13       137:13
ready 28:18        52:14              remember 17:16       148:8 149:1,22   result 34:16,17
  33:21 62:19    recognize 31:6         17:18 19:12      reported 93:21       37:15
  84:13          recollection           20:3 21:22         98:11 103:16     resulted 146:7
real 51:18         126:18               23:1 25:5,8,12     126:13,15        results 6:19 9:11
realize 137:10   Recommendat...         26:2,14,20       reporter 4:7         9:14 33:6
really 5:17,25     129:24,25            27:3,6,10          64:1,5 103:25      128:1,2,7,19
  10:7 51:21     recommended            28:24 30:6,10      108:13,17          128:25 139:14

                    STIREWALT & ASSOCIATES
      MINNEAPOLIS, MN 1-800-553-1953 info@stirewalt.com

                               Thompson Decl. Ex. T
    CASE
     CASE0:24-cv-01097-DTS
          0:24-cv-01097-DTS Doc.
                            Doc. 29-1
                                 83 Filed
                                      Filed 12/26/24
                                            10/01/24 Page
                                                      Page56
                                                           56ofof62
                                                                  62

                                                                                  Page 169

  140:5 142:18        115:1 117:25       60:17            seal 88:16            75:20 111:4
retract 35:12         119:7 120:17     routinely 52:13      153:21            session 147:24
  136:14,17           122:10 123:5     rude 102:19        sec 33:1 36:8       sessions 147:19
retrieve 110:20       131:20 132:2,4   rules 5:9          second 1:18         setting 127:16
retrieved 80:23       133:9,15,20      run 8:6 116:9        111:9 129:23        127:19 138:25
retrospect 114:7      134:20 138:2,2   running 111:15       132:17 135:22     settle 96:20
reveal 137:7          138:21 140:11    runs 116:2         second-year           98:18 106:1
revealing 131:16      141:2 142:19                          122:6,9           settled 98:15
review 27:14,15       144:22 145:14             S         see 25:24,25        setup 92:2,12
  27:18 73:3          146:19 147:12    S 4:1 153:1          26:2 43:16,17     seven 56:22
  112:24 125:16       150:11,24        Saddoughi            65:16,17 66:4       116:8 122:18
  125:19 126:4      ring 31:11,23        148:5              68:8 69:25        seven- 55:6
  143:23            risk 19:6,19,21    safely 84:15         72:15,24 73:1     seventh 122:20
reviews 119:17        19:23 44:1,2     safer 128:22         78:21 80:3        severely 41:21
ridiculous 136:2      58:17,20,21      safety 97:13         81:20 84:7        sew 28:18 33:21
  136:3               61:11 127:21       106:5              95:13,18 100:7    sexual 130:7
right 5:6 6:11,13     129:6            Saint 14:7,9         106:1 111:10      shakes 5:25
  7:18 8:18 9:17    risks 47:21,22       15:8,10 145:17     113:2 115:6,7     shaking 144:1
  11:22 20:2,7        48:1,12 49:16    Salah 26:13          129:25 133:5      shared 52:13
  20:17 24:22         58:1,2,10,18       118:10 123:13      137:16 139:24     Sharing 3:9 52:3
  26:9 27:18,21       58:24 60:24      salary 111:21,22     140:10 142:23     shelf 21:6
  28:3,9 35:8         61:5             save 11:2 18:10    seeing 65:7 77:7    Sheri 2:13
  40:5 41:3,11      risky 128:17       saving 10:22       seen 24:9 52:2      SherpaPak
  42:3,23 43:2      Ritz-Carlton         37:22              74:11 77:3          20:24 21:4,5
  45:9 47:12          15:9 145:17      saw 25:13 52:4       79:4 89:17        shock 75:10 76:5
  49:9,18 54:8      robust 27:7,12       80:4,8             93:22 115:9         129:6
  55:2,8 58:3         27:24            saying 19:20         118:18 119:13     short 102:16
  60:19 61:12,23    Rochester 1:19       23:14 27:6         120:9,12            105:5
  62:8 64:14          8:15,16,17,19      30:17 50:11        121:14,17         shorten 30:4
  66:10 67:18         10:13 16:24        60:25 121:13     selectivity 16:18   shorter 29:7
  69:22 70:23,24      18:25 29:10        127:9 136:2,18     16:25 17:1,9      shorthand 152:3
  71:23,24 74:15      38:11 84:15        136:20,22        send 150:14           152:4,9
  75:10 77:19       Rochester's        says 18:2 25:6     sense 111:14        shortly 82:21
  78:8,8 79:20        21:17              52:12,17 53:1      136:20 146:9      show 24:7 25:1
  82:2,21 83:9      Ron 2:11             69:19 137:11     sensitive 108:23      25:23 72:12,16
  86:25 87:23       room 23:3,5          137:13 140:20    sent 23:7,18          72:17 75:11
  88:3 89:1,6         27:21 28:2,8       141:14 144:4       28:11               129:14
  91:15 92:5          29:11 32:12        144:10           sentence 137:13     shown 52:21
  94:12 96:19         38:12 78:13      scan 66:4 69:12    separated 58:7        127:25 128:7,9
  97:2,4,7,13         85:17,19           81:18,19           91:5              shows 43:8
  99:6 103:14,22      120:10,13        school 124:17,19   separates 121:24    Shulman 2:15
  103:24,24           121:18,21        science 97:13        121:25            Shut 102:21
  104:19 108:21     root 79:6,12       scientific 8:7     septal 67:12,13     sick 76:4
  109:3,6,20          80:11 87:17        98:8             September           side 8:5 13:7
  110:2,5,13,23       94:2 95:7        scientifically       11:14 103:23        19:10 85:22,22
  111:2 112:9         113:9              95:17              104:5,22          sign 67:4 69:11
  113:9 114:9,22    Rosenbaum          scope 122:4        service 19:4,24       69:13,14 76:15

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      MINNEAPOLIS, MN 1-800-553-1953 info@stirewalt.com

                                Thompson Decl. Ex. T
    CASE
     CASE0:24-cv-01097-DTS
          0:24-cv-01097-DTS Doc.
                            Doc. 29-1
                                 83 Filed
                                      Filed 12/26/24
                                            10/01/24 Page
                                                      Page57
                                                           57ofof62
                                                                  62

                                                                                   Page 170

  76:16 144:17      slash 29:1         specifically 10:7   statistics 8:20     stroke 58:19
  151:2             sleeping 26:18       26:7 57:21          16:19 20:5        strokes 43:25
Signature           slogan 18:23         58:23 68:19         80:19 109:16      studies 15:19
  153:19            small 85:24          70:7 95:3 97:5      112:20,25           95:20,20
significance        smaller 86:1         127:10 135:5,7      125:22              139:25
  45:4              smoker 113:19        139:16 140:4      stay 15:8 28:21     study 12:4 31:24
significant 39:18   smoothly 56:7      specificity 58:9      145:17              38:5,22 43:22
  40:5,10,11        sniffing 147:12    specifics 59:2      stayed 15:9           140:19
  43:22,22 44:13    social 42:9          107:9               59:11             stuff 96:24
  53:15,21 80:7     Society 100:6,17   speculate 135:24    stenographic          121:14
  141:8,10,11         109:19 114:13    speculating           152:4             subheader
  142:24 143:8        147:8              135:25            step 32:8             129:24
signify 43:22       soft 5:13          speculation         steps 74:20         subject 132:18
signs 66:5,7 68:8   somebody 25:6        138:20            sternotomy          submitted 44:19
  68:13 69:2          27:11,16 50:12   Spell 149:10          84:18             subscribe 18:12
  72:3,13 76:4        69:9 72:22       Spencer 75:24       stick 10:2 57:21      18:20
Simha 1:3 2:13        82:10 99:13        77:4 89:4           59:13 62:10,11    subside 90:21
  4:4                 100:14 102:18      148:3               62:13 96:22       successful 6:18
simple 123:8          102:18 107:11    spend 73:12           119:20 133:11       39:25
single 46:18          122:14 123:1       89:6                136:13,15         successfully 40:8
sir 6:14 7:19         129:5 131:8      spent 60:13,22      sticking 42:3         95:15
  9:14,22 14:11       133:24 137:3,4   spots 87:8            54:2 60:1         suction 123:14
  14:24 20:8          147:11           spreading 87:15     stipend 109:22        123:16 124:4,5
  21:23 27:5        someday 109:4      squeeze 88:20       stitch 67:22,25       124:9
  42:13 53:9        soon 28:17         squeezing 39:13       122:25            Suctions 121:22
  62:20 64:10       sorry 4:10 7:9     SRTR 16:18          stitched 86:6       sued 131:15
  79:21 98:10         9:2 125:3          17:5 20:5         stitches 72:14,25   suffer 75:16
  112:16 119:22       141:24           stand 112:11          119:2,9 120:12    suggest 23:10
  122:11 139:2      sort 15:1 85:23    standard 20:21        121:20 122:22       24:19
site 28:13            97:1               43:15 61:4,8        122:23 123:3,8    suggesting 25:13
situation 56:14     sorts 65:13          61:19 63:15       stock 16:14           116:25
  56:15 76:19       sound 20:7           66:2              stop 56:8 78:25     suggestion 25:16
  82:12 88:12         30:22            standpoint            89:19 138:9,9     suitable 65:1
situations          sounds 4:20,23       33:16             stopped 91:8          70:4 73:18
  128:20              5:23 94:10,10    start 11:6 28:16    storage 21:2          82:4
six 116:8           South 2:4,8          87:6,7 120:14       127:24 128:10     Suite 2:5,9
Sixth 2:4,8         space 149:11         139:18              128:10 139:5      summary 73:4
size 39:18,20,22    speak 5:15         started 10:16         139:13            support 74:17
  40:2,9,13,17      specialist 116:3     11:14 23:14       story 93:8            76:18 90:18
  66:20 80:25       specialists          93:6              straightforward       92:1
  81:4                112:12 116:15    stated 94:15          63:11,12          suppose 74:24
skill 119:22        specific 48:13     statement 52:23     straights 75:18     supposed 131:25
  120:2               49:17,19 58:10     147:15            strange 102:11      sure 4:14 5:10
skills 119:21,23      58:24 62:21      States 1:1 43:9       102:15              5:16 6:3,8,10
  119:24              63:14 69:20        43:12             Strategies 31:21      9:8,20 11:13
skin 83:22,25         70:16 130:6      static 141:7        Street 1:18 2:4,8     11:14 15:17
  84:1                138:3            statistic 7:2       strive 53:19          19:9 24:25

                    STIREWALT & ASSOCIATES
      MINNEAPOLIS, MN 1-800-553-1953 info@stirewalt.com

                                Thompson Decl. Ex. T
    CASE
     CASE0:24-cv-01097-DTS
          0:24-cv-01097-DTS Doc.
                            Doc. 29-1
                                 83 Filed
                                      Filed 12/26/24
                                            10/01/24 Page
                                                      Page58
                                                           58ofof62
                                                                  62

                                                                                 Page 171

  28:23 30:21         8:4,8,19 9:4      48:11 59:2         82:7 106:9         124:12,15,16
  51:4,25 61:16       42:23 44:10,12    60:17 61:9         107:24 108:8       124:17
  63:25 74:18         141:5             63:6,22 64:15      126:11           term 17:2
  76:12 81:24       survived 74:13      92:24 101:14     tear 80:2          terms 6:22 8:19
  82:20,20 85:1       75:4              101:18 102:4     tears 79:22 88:5     16:25 19:1,3,6
  94:22 104:15      suspect 69:3        102:18,18,22     technical 119:23     19:16 21:19
  105:9 120:8         88:4,7 93:14      103:4,19           119:24 120:2       35:15,16 37:11
  124:23 127:17       105:23,23         104:14,25          128:6              41:19 44:19
  132:1 133:13        106:10 107:7      105:1 107:24     techniques           49:1 76:17
  150:13,22           113:11,12         108:1,7 120:7      30:13              77:20 81:15
surgeon 11:9        suspected 72:11     125:24 127:13    technology           84:10 105:6
  39:23 48:22         88:16 93:9        127:15,17          100:10             149:6
  57:5,16,19          96:6 104:2,4      132:25 133:6,7   tell 6:15 11:4     terrible 24:12
  68:1,2 119:1      suspicion 69:3,4    138:21,25          31:18,25 33:12     26:18,21
  120:24 122:24       79:5              139:1 140:1        34:1,18 37:20    test 66:4 81:22
surgeons 26:18      suture 85:21        144:23 148:19      38:16 43:13        115:6
  26:25 64:15       sutures 85:8,20 talked 28:14,25        47:6,18 48:18    testified 5:2 75:3
  67:24 72:7        SW 1:18             46:3 48:3,6        49:16,19 52:17     116:7 121:8,12
  110:19 111:9      swear 4:8           49:2 54:5,12       53:1 54:9 58:8     147:6,18
surgery 40:12       swelling 86:9       56:24 57:25        58:23 60:23      testifies 150:17
  45:15 58:17,18    sworn 4:9 5:2       59:24,25 60:16     61:5 63:9        testify 41:11,16
  63:22 66:6,7      synthetic 78:18     72:6 100:25        71:23 76:18      testimony 10:12
  66:11 67:1,2,5    system 31:20        101:8 102:24       84:22 91:10        51:21 117:19
  68:8,15,17,20       91:17 113:9,20    150:22             93:2,9,13          118:4,9,14
  68:23 69:2,9        143:14,24       talker 5:13          98:16 100:3        130:24 143:1,3
  69:12,13,15                         talking 7:10,20      101:5,25           152:5
  70:8,16 71:19             T           7:21 8:10,14       102:20 105:18    tests 89:22
  71:25 72:3,4      T 152:1,1 153:1     8:15 9:17 12:7     123:9 126:24     text 23:7,11,14
  72:12,13,14,22    table 92:22         23:1,16 26:24      127:4,6 139:3      23:18,22,24
  92:23 102:25      take 6:2 28:13      40:20 41:1         139:10,14          24:9,19 25:24
  115:16,17,19        29:9 51:2         50:16 59:23,25     140:23 141:4       26:1,23
  117:7,8,12,22       63:24 66:23       60:14,19,22        141:12,20,24     Thank 36:18
  118:20,21,22        83:16,17 84:3     67:8 77:2,12       142:19,21          151:3
  118:25 119:12       84:5,24 85:21     85:12 92:25        143:4,6,12       theory 79:2
  119:19 120:8        85:23,24,25       95:3 108:25        145:7 147:1,6    therapy 146:1
  120:14,20           86:3 90:23        135:21 137:6     telling 24:11      thing 35:18 43:3
  122:4 123:7,21      108:12 126:12     137:25 139:18      26:15,20 27:2      43:4 49:24
  123:24 124:2        128:2             139:21,22          35:3 41:2          50:22 51:5,8
  124:20            taken 1:16 5:7      147:10             50:12 51:7         51:22 63:2
surgical 8:4 31:1     28:8 64:2       tamponade            76:1 97:15         66:1 67:8
  31:3 33:23          68:12 96:21       86:14,15           104:11 117:17      72:20 75:22
  39:24 48:4          108:14          teach 123:5,6        128:17 131:8       83:3,19,20
  53:23 57:12       takes 19:25       team 28:11,12        132:4 133:23       89:17 90:23
  115:14              71:15             28:14 29:16,22     138:10             101:16 111:7
surprise 116:6      talk 4:17 5:17,20   31:1,3 33:23     tells 27:16          117:10 134:6
  118:13              5:21 9:15         48:16 57:13        142:14,21          138:19 141:20
survival 7:21 8:1     25:20,20 47:25    60:8 77:4,8      ten 13:19 123:23     148:8

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      MINNEAPOLIS, MN 1-800-553-1953 info@stirewalt.com

                                Thompson Decl. Ex. T
   CASE
    CASE0:24-cv-01097-DTS
         0:24-cv-01097-DTS Doc.
                           Doc. 29-1
                                83 Filed
                                     Filed 12/26/24
                                           10/01/24 Page
                                                     Page59
                                                          59ofof62
                                                                 62

                                                                                 Page 172

things 16:18         108:12,21          114:18              96:5 122:15,19     48:5,7 52:11
  17:4,25 60:9       109:1,2 124:22   tissues 94:6          123:2 124:20       54:22 58:1,6
  62:23 71:23        125:7 129:9        122:1             tran 51:3            59:20,24 60:11
  86:4 90:10         130:23 132:11    title 43:2,3 44:8   transcript 6:3       60:18 61:12
  92:17 112:5        132:14,20        today 4:3 10:11       34:21 62:6         75:17,19 76:21
  119:5 120:5,9      136:1 138:2,9      64:9                108:20 152:7       76:24 77:1,6
  121:17 133:8       145:3 149:19     today's 4:4,5         153:4,5            77:10,14,24
  145:13             150:10,16,24     told 20:4 26:13     transcription        78:17,19 81:7
think 14:5,17,18   Thompson's           26:18 27:11         152:8 153:6        90:6 95:11,15
  15:23 19:8,10      103:9              32:19,19 38:9     transit 127:24       101:7 102:25
  22:9,22,24       thought 42:4         41:11,17,24       TransMedics          105:13 106:9
  24:1 29:2          44:20 58:12        55:10 57:22,22      11:5,6,12,17       107:20 108:10
  31:10 32:21,25     70:11,13,15        58:9 59:1,7,19      12:2,5,18 13:2     110:18,21
  33:4 34:9,10       78:10 102:14       59:20 60:20         13:12,15 14:3      112:8,9 126:12
  34:15 35:7,9       114:6 133:13       62:4,23 63:2,8      14:9,22,25         127:5 130:19
  35:21 36:16,24   thousand 12:23       63:16,20 89:12      15:18 16:9,14      130:25 132:24
  37:7,8,9,12,16   three 8:8 20:6       93:8,12 96:7        98:12 99:1,13      137:15 143:20
  37:24 40:12        27:1 76:10         97:17,18 99:9       99:18,19 100:9     148:5 149:1,8
  45:24 49:10        77:1               99:10,11            100:14 101:15      149:15
  52:4 56:14,15    tighter 23:7         100:10,12           101:22 102:10    transplantation
  67:3 68:22       time 4:3,7 16:6      101:4,16,16,17      104:25 109:5       10:23 17:3
  70:23 74:4,9       16:13 21:9         101:22 102:23       109:20,22          30:14 40:19
  78:11,14,22        28:7,19,20         103:18 105:25       110:4,19,22        47:24 51:3
  85:3 89:9          29:3,7 30:4        108:6 128:20        113:1 115:9,15     52:7,16 65:2
  101:4,5 102:10     33:5 34:22         131:1 138:23        115:21 117:2       70:5 82:5,9
  103:5 104:9,20     35:10 46:5         140:19 141:24       119:6 121:9        100:7,17
  105:7,14 108:6     48:17 64:11        144:16,18           128:21 140:4       109:11 114:13
  108:11 114:1       66:19 71:10,11     149:5 150:18        141:13 142:4,9     116:22 128:11
  115:16 116:10      73:12,22 79:3    tool 106:8            142:10 144:17      140:1 147:9
  116:11 118:9       82:14 83:5         139:12 142:3        144:18 145:14    transplanted
  130:11,24          84:2,7,20        tools 114:3           145:15,16,25       6:20 40:7
  132:9 138:10       87:20 89:3       top 25:24 26:1        146:4,17           43:10 80:6
  146:4,11,14,16     90:5,25 105:5    topic 129:9           147:11             110:21 129:1
  149:24             107:14 113:5     topics 125:6        TransMedics'       transplanting
thinking 97:12       116:8,23 117:8   total 29:3            15:12 110:12       32:2
Thirty 10:18         128:5 135:16     totality 108:24       111:10 112:19    transplants 7:11
  13:24              138:24 146:19    totally 150:12      transplant 6:12      7:16 10:21
Thirty-percent       152:5            track 132:2           6:16,17 7:12       43:16 146:8
  40:3             times 13:17,18       133:14 150:13       7:13 8:7,20      transport 111:2
Thomas 14:7,10       13:21,23,24      tracking 132:8        9:12 10:8,13     travel 14:8,12
  15:8,10 145:17     19:14 20:6,9     tracks 16:18          11:9 21:11         15:5 109:24
Thompson 2:3         38:6 70:22         17:5                31:22 32:8       traveled 14:2,4
  3:3,5 4:14,20      74:12 92:25      traction 122:1        38:10 39:17,23   treatment 120:6
  4:23 5:5 25:2      135:19             124:10              40:22 42:1,8     trial 11:18,20,21
  34:12 36:11,14   timing 41:19       tragedy 22:25         42:21 43:11        12:1 13:5,7,9
  36:18 51:20        83:2 84:10       trained 115:13        44:8,11,24         13:10 139:15
  63:25 64:6       tissue 113:13      training 79:18        45:18,19,21,25     139:22 140:6

                    STIREWALT & ASSOCIATES
      MINNEAPOLIS, MN 1-800-553-1953 info@stirewalt.com

                               Thompson Decl. Ex. T
   CASE
    CASE0:24-cv-01097-DTS
         0:24-cv-01097-DTS Doc.
                           Doc. 29-1
                                83 Filed
                                     Filed 12/26/24
                                           10/01/24 Page
                                                     Page60
                                                          60ofof62
                                                                 62

                                                                             Page 173

  140:20 141:5     typically 62:23    67:16 68:4        viral 19:6,21    107:19 108:9
trials 11:7                         unsure 103:13       virgin 14:10     108:19 111:7
  139:19,21                U        upset 135:24          16:9 83:8      111:22 116:21
tried 39:17        U 153:1          use 20:17,23          84:21          119:4 120:8
  88:16 90:14,14   U.S 51:3 54:19     21:5 23:21        vivo 30:14       125:6 129:4,7
  90:15 91:7         54:24            27:25 94:25       voice 5:12       134:14
  93:6             UCLA 11:23,24      109:12,15         volume 1:12     wanted 4:18
trip 16:2,4,5      uh-huh 7:15        111:4 113:1         6:24 7:3,11    29:13 30:2
true 57:2,7,18       8:23 10:9        126:19,25           9:15,16,17,21  66:1 67:1 68:7
  70:1 93:21         14:20 18:9       146:13,18           10:14,25 11:2  86:4 96:6
  95:21 97:7         20:16 23:9,15 user 141:14            25:19          98:15 101:18
  121:14 152:7       26:12 28:1     usual 41:9 81:5     vs 1:6           148:7 149:21
  153:5              34:4 57:11,20 usually 51:25                        wants 124:24
trust 29:16          57:24 79:13,17   65:11 71:15              W         141:18
  33:23 64:21,22     82:23 85:11      81:8,14 84:6      Wadiwala 31:16 wasn't 21:8 22:6
  64:22              91:12 125:11     90:10 122:17      wait 26:5 32:11  24:16 25:18
Trustee 1:3          144:6 148:4      127:1 133:8        32:18 34:24     29:18,22 33:25
truth 143:10       uh-huhs 6:1                           35:2,22 36:20   35:1,25 37:1
try 5:12,17,20     ultimate 81:22           V            50:2,7,9 51:10  51:7 54:11
  5:21 18:6 36:4   unable 78:24     V 26:13,18 27:2      51:11,11,12     57:14 61:22
  45:1,1 69:1      unclear 6:7      values 25:9,11       56:1 60:6       62:3,7 63:5,7
  71:13 82:17      understand         25:14              74:23 76:2      66:8 69:3,11
  84:8 89:23         24:16 30:19    vein 91:16 92:5      82:14 96:8      70:14 71:7
  91:6 96:17,18      35:18,18 84:9 veins 91:18,20        106:1 107:1,16  72:4 73:19,20
  117:4 121:6        96:9 111:25    vent 32:9            128:5 148:18    104:2 114:16
trying 35:5          124:14 125:25 ventricle 91:5        150:4           131:11 138:15
  56:10,11,19      understanding    ventricular         waited 29:14    watching 79:20
  89:7,16,19         47:15 53:10      67:12              30:1 33:13     way 6:6,20 14:3
  91:16 112:7        116:24 127:8   Verbal 5:24          34:5 74:5       23:7 28:15
  121:7,16         understands      verbally 6:3         82:12           35:17 62:22
  124:14 136:21      127:2          verbatim 152:3      waiting 34:18    65:23 86:4
tumor 65:16        understood 55:6 verify 65:19,22       35:3 37:16      90:4 99:8
Twenty 66:21         123:11         versa 134:9          38:11 98:17     110:11 113:7
twice 14:5 19:11   UNet 73:6        versus 4:4 43:25    waiting- 129:1   113:10 122:8
  19:25            unexpected         128:10            waiting-list     133:8 137:8
two 14:16 15:6       117:10         viable 28:21         129:5,7        ways 14:25
  19:14 21:16      unfortunate      vice 134:9          walk 65:6 102:5  139:4
  26:24 27:1         22:4,9,24,25   video 1:17 64:4      102:9,23       we'll 4:17 25:20
  43:11 46:1       United 1:1 43:8    108:16            walked 102:8,12  25:20 56:21
  50:23 64:15        43:12          Videographer        want 4:12 22:12  57:14 84:21
  74:22 76:10      UNOS 47:9          2:11 4:2 64:4      25:1 37:15      90:10 104:21
  77:1 90:10         49:20,22 50:14   108:16             48:23 55:20    we're 4:2 6:21
  96:4 111:6         50:18,20,21    view 40:4,10         56:4 65:17      6:24 7:20,21
  116:10,11          51:8,22 66:9   Villavicencio        75:16 96:13     9:16 12:7 37:4
type 43:25           73:13            1:11,16 3:3 4:6    97:9,23,25      60:1 63:10,12
  126:24 128:8     unrelated 130:8    4:17,25 152:5      102:19,22       63:23 64:4,5
types 67:9         unrepaired 67:6    153:2              105:11,18       71:18 77:2

                    STIREWALT & ASSOCIATES
      MINNEAPOLIS, MN 1-800-553-1953 info@stirewalt.com

                                Thompson Decl. Ex. T
    CASE
     CASE0:24-cv-01097-DTS
          0:24-cv-01097-DTS Doc.
                            Doc. 29-1
                                 83 Filed
                                      Filed 12/26/24
                                            10/01/24 Page
                                                      Page61
                                                           61ofof62
                                                                  62

                                                                              Page 174

 98:19 108:16        51:15            x-ray 66:5 69:12   135:20 137:2     13-point-some...
 108:17,24          work 31:2 74:24     72:16            138:5 140:9       43:20
 119:20 133:11       88:18 91:7                          142:1 144:11     130 3:5
 148:13 149:20       115:14 119:18            Y          144:24 148:18    14 1:13,20
we've 5:18 47:7      129:25 145:25    yadda 32:9,9,9     149:9 150:6,8    14th 4:3
 82:24 121:19        149:1            Yazji 31:14        150:8,9          15 29:14 33:13
weakened            working 78:7      yeah 9:10,18     year 6:23,23 8:8   15-year-old
 113:16              118:18             10:22 11:24      9:1 15:23         73:21
website 144:4,5     works 77:21         13:4 14:4        69:21 114:14     1500 2:9
 144:9               135:11,12          15:15 17:7,7     122:20 134:7     151 152:7 153:4
week 74:13,22       world 65:4          17:12,24 18:4 year's 7:2          153 1:12
 75:20               93:21              18:11,18 19:14 years 6:18 11:15   1981 68:20,23
weeks 49:6 75:4     worried 97:19       19:15,17 20:18   15:15 72:22       70:16 71:5
weight 81:11,14     worse 33:5,11       23:6,20 24:1     79:15 122:18
well-designed        34:17 37:17        25:2 26:2,4      122:18,18                2
 146:14,18           38:13,17 42:23     27:16,22 28:10   123:23,23,25     2:16 64:2
went 15:11 21:1      44:9,12            29:23 30:3,16    124:8,12,16,16   2:21 64:2
 42:1 60:13         worsen 75:1         31:8 33:16,16    124:17 139:20    20 54:18,23
 66:18 86:25        worth 43:11         37:14 39:20    years' 43:11         139:25
 88:22 90:18        wouldn't 17:9       40:11,15 43:3 yellow 39:5         2015 11:13,14
 109:18 145:24       63:19 68:12        45:11 47:1,21 yep 16:8 17:8       2016 11:15
 147:5,17 148:8      71:3 74:19         49:14,25 51:6    54:2,9 67:14     2021 7:5
Weren't 74:18        76:15 106:20       52:4 55:9,23     79:21 82:1       2023 7:4 30:8
whatsoever           112:1,11 115:9     57:4,20 59:9     90:8 92:8          103:24 104:6
 65:25 83:12         122:6              60:2 62:2,17     96:20 115:2      2024 1:13,20 4:3
WHITNEY 2:8         wound 58:19         69:23 70:2       149:20             7:4 152:11
who've 29:2         wraps 104:11,24     71:6 73:24     yeses 5:24 74:1      153:22
wires 72:14 73:2     148:8              74:16 75:8     yesterday 116:7    20th 152:10
withholding         write 85:7 96:2     76:16 77:15                       225 2:4
 98:7                97:10 105:12       80:13 82:8             Z          24 76:6,14
withstand            105:19             83:1,10,14     Zoom 2:3,12,13     24-CV-01097-...
 114:19             writing 31:19       85:5 87:22       2:14,14,15         1:5
witness 3:2 4:5,8   written 32:1        89:2,18 92:19                     25074 25:23
                                        93:12,12 94:9          0          29th 49:18 74:22
 4:9 5:1 51:16       96:1 132:19
 51:19 52:20         143:19             95:10 97:8,14
                                                               1                  3
 61:24 95:22        wrong 19:21         99:14 100:15
                                        101:24 104:2   1 1:12 3:8         3:00 46:7 72:5
 108:3 132:12        24:15 25:7                          129:18,19
 137:19 138:6        26:3 27:17         104:14 105:9                      3:11 108:14
                                        108:11 110:14  1:15 1:20 4:3      3:35 108:14
 141:21 144:1        58:5 70:18                        10 123:25
 145:8 153:19        94:11,18           111:21 116:1                      30 13:23 40:8
 153:21              112:18 113:21      119:8,11,13,20 100 1:18             54:18,23 76:25
                                        120:21 121:3   10th 6:24 7:3      30-minute
word 21:20 82:3      114:2,8 115:1                       9:21 10:14
 82:14 132:24        118:17 136:2       125:1 126:6                         126:22 127:6
                                        127:12,14,25   11.9 43:20         30-percent 40:9
 134:3,4,23          141:8,10,11                       12 43:20
 135:4,5            wrote 43:1          131:4 132:12                        40:13
                                        133:11 134:2   125 3:4
words 27:25                                                                      4
 35:8,20 51:14            X             134:21 135:18 129 3:8


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      MINNEAPOLIS, MN 1-800-553-1953 info@stirewalt.com

                               Thompson Decl. Ex. T
   CASE
    CASE0:24-cv-01097-DTS
         0:24-cv-01097-DTS Doc.
                           Doc. 29-1
                                83 Filed
                                     Filed 12/26/24
                                           10/01/24 Page
                                                     Page62
                                                          62ofof62
                                                                 62

                                                                 Page 175

4:17 151:5
40 7:6 10:18
  20:7 72:22
4600 2:5
4844 3:9
        5
5 3:3
50 2:8 76:25
500 20:13,20
55402 2:5,9
        6
6,000 43:9,15
60 20:1
        7
70 55:1 81:13
        8
8 122:17
80 55:1
        9
9 122:17
90 8:25,25 90:6
92 8:25




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